Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 1 of 127


                                                                                APPEAL,CUSTODY,LC−1
                                    U.S. District Court
           U.S. District Court for the Northern District of Oklahoma (Tulsa)
              CRIMINAL DOCKET FOR CASE #: 4:09−cr−00043−SPF−1

    Case title: USA v. Springer et al                              Date Filed: 03/10/2009
    Other court case numbers: 09−5165 10th Circuit Court           Date Terminated: 04/28/2010
                                10−5101 10th Circuit
                                11−10096 US Supreme Court
                                13−5113 10th Circuit
    Related Case: 4:13−cv−00145−SPF−TLW

    Assigned to: Judge Stephen P Friot
    Appeals court case numbers:
    '10−5055 (#340)' '10th Circuit',
    10−5156 (#428) 10th Circuit,
    11−5053 (#447) 10th Circuit,
    13−5062 (#497) 10th Circuit,
    14−5047 (#554) 10th Circuit

    Defendant (1)
    Lindsey Kent Springer                  represented by Lindsey Kent Springer
    TERMINATED: 04/28/2010                                #02580−063
                                                          FCI La Tuna
                                                          PO BOX 6000
                                                          ANTHONY, NM 88021
                                                          PRO SE

                                                            Jerold W Barringer
                                                            P O BOX 213
                                                            NOKOMIS, IL 62075
                                                            217−563−2646
                                                            TERMINATED: 04/21/2011
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: CJA or Other Appointment

                                                            Robert Scott Williams
                                                            Taylor Ryan Minton Van Dalsem &Williams PC
                                                            1437 S BOULDER AVE STE 1080
                                                            TULSA, OK 74119
                                                            918−749−5566
                                                            Fax: 918−749−9531
                                                            Email: law@trsvlaw.com
                                                            TERMINATED: 04/27/2010
                                                            LEAD ATTORNEY
                                                            Designation: Public Defender or Community

                                                                                                         1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 2 of 127


                                                Defender Appointment

    Pending Counts                              Disposition
    18 USC 371: Conspiracy to
                                                BOP 60 months; SR 3 years; Restitution $771,529;
    Defraud the United States
                                                SMA $100
    (1)
    26 USC 7201: Tax Evasion                    BOP 60 months consecutive to Ct 1; SR 3 years;
    (2)                                         SMA $100
    26 USC 7201: Tax Evasion and 18
                                                BOP 60 months consecutive to Ct 12 SR 3 years;
    USC 2
                                                SMA $100
    (3)
    26 USC 7201: Tax Evasion and 18
                                                BOP 60 months concurrent to Ct 1,2,3; SR 3 years;
    USC 2
                                                SMA $100
    (4)
    26 USC 7203: Failure to File Tax
                                                BOP 12 months concurrent to Ct 1,2,3; SR 1 year;
    Return
                                                SMA $25
    (5−6)

    Highest Offense Level (Opening)
    Felony

    Terminated Counts                           Disposition
    None

    Highest Offense Level
    (Terminated)
    None

    Complaints                                  Disposition
    None



    Plaintiff
    USA                                  represented by Charles Anthony O'Reilly
                                                        US Department of Justice (Box 972)
                                                        P O Box 972
                                                        Washington, DC 20044
                                                        202−616−0115
                                                        Email: charles.a.o'reilly@usdoj.gov
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jeffrey Andrew Gallant
                                                        United States Attorney's Office (Tulsa)

                                                                                                    2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 3 of 127


                                                               110 W 7TH ST STE 300
                                                               TULSA, OK 74119−1013
                                                               918−382−2715
                                                               Fax: 918−560−7954
                                                               Email: Jeff.Gallant@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Kenneth P Snoke
                                                               United States Attorney's Office (Tulsa)
                                                               110 W 7TH ST STE 300
                                                               TULSA, OK 74119−1013
                                                               918−382−2700
                                                               Fax: 918−560−7946
                                                               Email: ken.snoke@usdoj.gov
                                                               TERMINATED: 06/08/2010
                                                               LEAD ATTORNEY

     Date Filed    #   Page Docket Text
     03/10/2009    1        DEFENDANT INFORMATION SHEET(S) by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/10/2009) Contains
                            One or More Restricted PDFs
     03/10/2009    2        INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3−4,
                            5−6, Oscar Amos Stilley (2) count(s) 1, 3−4 (pll, Dpty Clk) (Entered:
                            03/10/2009)
     03/10/2009    3        SUMMONS Issued by Court Clerk as to Lindsey Kent Springer (pll, Dpty
                            Clk) (Entered: 03/10/2009) Contains One or More Restricted PDFs
     03/18/2009    5        MOTION for Electronic Access by Lindsey Kent Springer as to Lindsey
                            Kent Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
     03/18/2009    6        MOTION for In Camera Review of Fifth Amendment Proffer by Lindsey
                            Kent Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
     03/18/2009    7        BRIEF in Support of Motion (Re: 6 MOTION for In Camera Review of
                            Fifth Amendment Proffer ) by Lindsey Kent Springer (sjm, Dpty Clk)
                            (Entered: 03/18/2009)
     03/18/2009    8        MOTION for Bill of Particulars by Lindsey Kent Springer (sjm, Dpty Clk)
                            (Entered: 03/18/2009)
     03/18/2009    9        MINUTE ORDER by Judge Payne, due to Court conflict, recusing Judge
                            James H Payne, this case is hereby returned to the Court Clerk for further
                            reassignment, Court Clerk reassigned to case as to Lindsey Kent Springer,
                            Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/18/2009)
     03/18/2009   10        MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                            Initial Appearance held on 3/18/2009, Arraignment held on 3/18/2009,
                            appointing CJA attorney Robert Scott Williams for Lindsey Kent Springer,
                            setting/resetting bond as to Lindsey Kent Springer (Court Reporter: C1) (kjp,
                            Dpty Clk) (Entered: 03/18/2009)

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 4 of 127



     03/18/2009   11       ORDER by Magistrate Judge Paul J Cleary (for purposes of initial
                           appearance only), appointing CJA attorney as to Lindsey Kent Springer
                           (kjp, Dpty Clk) (Entered: 03/18/2009)
     03/18/2009   12       ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as
                           to Lindsey Kent Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
     03/18/2009   13       BOND approved by Magistrate Judge Paul J Cleary as to Lindsey Kent
                           Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
     03/19/2009   18       ORDER by Magistrate Judge Paul J Cleary directing defendants regarding
                           representation, setting/resetting deadline(s)/hearing(s): (copy of Order
                           mailed to both defendants on 3/19/09) ( Miscellaneous Deadline set for
                           3/30/2009) as to Lindsey Kent Springer, Oscar Amos Stilley (kjp, Dpty Clk)
                           (Entered: 03/19/2009)
     03/23/2009   19       RESPONSE (Re: 8 MOTION for Bill of Particulars, 5 MOTION for
                           Electronic Access, 7 Brief in Support of Motion, 6 MOTION for In Camera
                           Review of Fifth Amendment Proffer ) by USA as to Lindsey Kent Springer,
                           Oscar Amos Stilley (Snoke, Kenneth) (Entered: 03/23/2009)
     03/24/2009   20       MOTION to Withdraw Attorney(s) R. Scott Williams by Lindsey Kent
                           Springer as to Lindsey Kent Springer (Williams, Robert) Modified on
                           3/25/2009 to reference to Oscar Stilley (tjc, Dpty Clk). (Entered:
                           03/24/2009)
     03/24/2009   21       MOTION for Hearing (Re: 20 MOTION to Withdraw Attorney(s) ) by
                           Lindsey Kent Springer as to Lindsey Kent Springer (Williams, Robert)
                           Modified on 3/25/2009 to remove reference to Oscar Stilley (tjc, Dpty Clk).
                           (Entered: 03/24/2009)
     03/25/2009            NOTICE of Docket Entry Modification; Error: During e−filing the attorney
                           was prompted to select a case, all defendants were selected; Correction:
                           Edited docket text to remove Oscar Stilley as these pleadings did not name
                           him (Re: 20 MOTION to Withdraw Attorney(s), 21 MOTION for Hearing )
                           as to Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                           03/25/2009)
     03/25/2009   22       MINUTE ORDER by Magistrate Judge Paul J Cleary, setting/resetting
                           deadline(s)/hearing(s): ( Miscellaneous Hearing set for 3/30/2009 at 02:30
                           PM before Magistrate Judge Paul J Cleary) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (kjp, Dpty Clk) (Entered: 03/25/2009)
     03/30/2009   23       MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                           Miscellaneous Hearing held on 3/30/2009 re Representation; Defendants
                           Waive Counsel, ruling on motion(s)/document(s): #5 granted,
                           striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (Re: 5 MOTION for Electronic Access ) (Court
                           Reporter: C1) (kjp, Dpty Clk) (Entered: 03/31/2009)
     03/31/2009   24       MINUTE ORDER by Court Clerk at the direction of Chief Judge Claire V.
                           Eagan, reassigning case to Judge Stephen P Friot. Court Clerk no longer
                           assigned to case, changing case number to 09−CR−43−SPF as to Lindsey
                           Kent Springer, Oscar Amos Stilley (a−hc, Dpty Clk) (Entered: 03/31/2009)
     04/01/2009   25
                                                                                                         4
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 5 of 127



                           MOTION for Protective Order by USA as to Lindsey Kent Springer, Oscar
                           Amos Stilley (O'Reilly, Charles) (Entered: 04/01/2009)
     04/02/2009   26       ORDER by Judge Stephen P Friot (Protective Order), ruling on
                           motion(s)/document(s): #25 Granted (Re: 25 MOTION for Protective Order
                           ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           04/02/2009)
     04/03/2009   27       ORDER by Magistrate Judge Paul J Cleary Appointing Standby Counsel,
                           adding attorney Robert Scott Williams for Lindsey Kent Springer, Charles
                           Robert Burton, IV for Oscar Amos Stilley, ruling on motion(s)/document(s):
                           #20 and #21 moot (Re: 20 MOTION to Withdraw Attorney(s) R. Scott
                           Williams, 21 MOTION for Hearing ) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (kjp, Dpty Clk) (Entered: 04/03/2009)
     04/07/2009   29       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                           Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P
                           Friot, Scheduling Conference set for 4/22/2009 at 10:00 AM before Judge
                           Stephen P Friot) (Re: 8 MOTION for Bill of Particulars, 6 MOTION for In
                           Camera Review of Fifth Amendment Proffer ) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/07/2009)
     04/07/2009   30       MOTION to Clarify appointment of Honorable Judge Stephen P. Friot by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 04/07/2009)
     04/08/2009   32       ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09
                           (Re: 30 MOTION to Clarify appointment of Honorable Judge Stephen P.
                           Friot ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/08/2009)
     04/10/2009   33       MOTION for Bill of Particulars by Oscar Amos Stilley as to Lindsey Kent
                           Springer, Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/10/2009)
     04/10/2009   34       ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09
                           (Re: 33 MOTION for Bill of Particulars, 29 Order,,,, Setting/Resetting
                           Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           04/10/2009)
     04/13/2009   35       MOTION for Protective Order Pending Prospective Franks Hearing by
                           Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                           04/13/2009)
     04/13/2009   36       MOTION to Unseal Document(s) in 03−CR−55E (Re: 35 MOTION for
                           Protective Order Pending Prospective Franks Hearing ) by Lindsey Kent
                           Springer (With attachments) (Springer, Lindsey) (Entered: 04/13/2009)
     04/13/2009   37       MOTION Request for Release of Affidavit and Transcript surrounding
                           issuance of Search Warrant dated 9.15.05 by Lindsey Kent Springer (With
                           attachments) (Springer, Lindsey) (Entered: 04/13/2009)
     04/13/2009   38       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                           Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P
                           Friot) (Re: 37 MOTION Request for Release of Affidavit and Transcript
                           surrounding issuance of Search Warrant dated 9.15.05, 35 MOTION for
                           Protective Order Pending Prospective Franks Hearing, 36 MOTION to
                           Unseal Document(s) in 03−CR−55E ) as to Lindsey Kent Springer (hbo,
                                                                                                         5
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 6 of 127



                           Dpty Clk) (Entered: 04/13/2009)
     04/15/2009   39       MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                           Affidavit and Materials from Case 03−CR−055−CVE by USA as to Lindsey
                           Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 04/15/2009)
     04/15/2009   40       NOTICE NOTICE RE GOVERNMENT MOTION FOR LIMITED
                           UNSEALING OF SEARCH WARRANT AFFIDAVIT AND MATERIALS
                           FROM CASE 03−CR−043−CVE (Re: 39 MOTION Unopposed Motion for
                           Limited Unsealing of Search Warrant and Affidavit and Materials from Case
                           03−CR−055−CVE ) by USA as to Lindsey Kent Springer, Oscar Amos
                           Stilley (With attachments) (O'Reilly, Charles) (Entered: 04/15/2009)
     04/16/2009   41       ORDER by Judge Stephen P Friot setting Motion for Hearing on 4/22/09
                           (Re: 39 MOTION Unopposed Motion for Limited Unsealing of Search
                           Warrant and Affidavit and Materials from Case 03−CR−055−CVE ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           04/16/2009)
     04/16/2009   42       RESPONSE in Opposition to Motion Consolidated (Re: 37 MOTION
                           Request for Release of Affidavit and Transcript surrounding issuance of
                           Search Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8
                           MOTION for Bill of Particulars, 35 MOTION for Protective Order Pending
                           Prospective Franks Hearing, 30 MOTION to Clarify appointment of
                           Honorable Judge Stephen P. Friot, 6 MOTION for In Camera Review of
                           Fifth Amendment Proffer, 36 MOTION to Unseal Document(s) in
                           03−CR−55E ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                           (With attachments) (O'Reilly, Charles) (Entered: 04/16/2009)
     04/22/2009   43       MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                           Hearing held on 4/22/2009, Scheduling Conference held on 4/22/2009,
                           ruling on motion(s)/document(s): #30 Granted, #6, 8, 33 Denied, #36, 37, 39
                           Granted in Part, Denied in part, taking motion(s) under advisement,
                           setting/resetting deadline(s)/hearing(s): ( Motions due by 6/1/2009,
                           Responses due by 6/15/2009, Motion Hearing set for 7/9/2009 at 09:00 AM
                           before Judge Stephen P Friot, Jury Instructions, Voir Dire &Trial Briefs due
                           by 8/3/2009, Pretrial Conference set for 10/21/2009 at 10:00 AM before
                           Judge Stephen P Friot, Jury Trial set for 10/26/2009 at 09:30 AM before
                           Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley
                           (Re: 37 MOTION Request for Release of Affidavit and Transcript
                           surrounding issuance of Search Warrant dated 9.15.05, 33 MOTION for Bill
                           of Particulars, 8 MOTION for Bill of Particulars, 39 MOTION Unopposed
                           Motion for Limited Unsealing of Search Warrant and Affidavit and
                           Materials from Case 03−CR−055−CVE, 35 MOTION for Protective Order
                           Pending Prospective Franks Hearing, 30 MOTION to Clarify appointment
                           of Honorable Judge Stephen P. Friot, 6 MOTION for In Camera Review of
                           Fifth Amendment Proffer, 36 MOTION to Unseal Document(s) in
                           03−CR−55E ) (Court Reporter: Tracy Washbourne) (pll, Dpty Clk)
                           (Entered: 04/22/2009)
     04/27/2009   44       REPLY to Response to Motion (Re: 35 MOTION for Protective Order
                           Pending Prospective Franks Hearing ) by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 04/27/2009)


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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 7 of 127



     04/29/2009   46       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                           Responses due by 5/11/2009) (Re: 44 Reply to Response to Motion ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on
                           5/1/2009 to seal PDF, as ENTERED IN ERROR; duplicate entry see Doc #
                           45 for correct entry (tjc, Dpty Clk). (Entered: 04/30/2009) Contains One or
                           More Restricted PDFs
     04/30/2009   45       ORDER by Judge Stephen P Friot directing surreply (Re: 35 MOTION for
                           Protective Order Pending Prospective Franks Hearing, 44 Reply to
                           Response to Motion ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered:
                           04/30/2009)
     05/01/2009            NOTICE of Docket Entry Modification; Error: Duplicate entry, ENTERED
                           IN ERROR; Correction: Sealed PDF as this was a duplicate entry; see Doc #
                           45 for correct entry (Re: 46 Order,, Setting/Resetting
                           Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),, ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                           05/01/2009)
     05/01/2009   47       NOTICE of Request pursuant to Fed.R.Cr.Pr.Rule 16(a)(1)(G) as to Lindsey
                           Kent Springer (Springer, Lindsey) (Entered: 05/01/2009)
     05/06/2009   48       SURREPLY to Motion (Re: 35 MOTION for Protective Order Pending
                           Prospective Franks Hearing ) by USA as to Lindsey Kent Springer (Snoke,
                           Kenneth) (Entered: 05/06/2009)
     05/08/2009   49       MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) July 9, 2009,
                           Hearing on Motion for Franks Issue and/or Suppress (Re: 43 Minutes of
                           Motion Hearing,,,,,, Minutes of Scheduling Conference,,,,,, Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Taking
                           Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                           Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                           Motion(s) Under Advisement, Taking Motion(s) Under Advisement,
                           Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                           Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                           Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                           Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) by USA
                           as to Lindsey Kent Springer, Oscar Amos Stilley (With attachments)
                           (O'Reilly, Charles) (Entered: 05/08/2009)
     05/12/2009   50       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #49
                           Granted in Part, setting/resetting deadline(s)/hearing(s): ( Motion Hearing
                           set for 7/2/2009 at 09:00 AM before Judge Stephen P Friot) (Re: 49
                           MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 05/12/2009)
     05/15/2009   51       First MOTION to Dismiss Indictment/Information/Complaint for lack of
                           venue (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 05/15/2009)

                                                                                                         7
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 8 of 127



     05/15/2009   52       First BRIEF in Support of Motion (Re: 51 First MOTION to Dismiss
                           Indictment/Information/Complaint for lack of venue ) by Lindsey Kent
                           Springer (With attachments) (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   53       Second MOTION to Dismiss Indictment/Information/Complaint for
                           violations of Paperwork Reduction Act of 1995 (Re: 2 Indictment ) by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   54       Second BRIEF in Support of Motion (Re: 53 Second MOTION to Dismiss
                           Indictment/Information/Complaint for violations of Paperwork Reduction
                           Act of 1995 ) by Lindsey Kent Springer (With attachments) (Springer,
                           Lindsey) (Entered: 05/15/2009)
     05/15/2009   55       Third MOTION to Dismiss Indictment/Information/Complaint pursuant to
                           CIR v. Duberstein (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 05/15/2009)
     05/15/2009   56       Third BRIEF in Support of Motion (Re: 55 Third MOTION to Dismiss
                           Indictment/Information/Complaint pursuant to CIR v. Duberstein ) by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   57       Fourth MOTION to Dismiss Indictment/Information/Complaint for failure
                           to allege tax deficiency element (Re: 2 Indictment ) by Lindsey Kent
                           Springer (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   58       Fourth BRIEF in Support of Motion (Re: 57 Fourth MOTION to Dismiss
                           Indictment/Information/Complaint for failure to allege tax deficiency
                           element ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           05/15/2009)
     05/15/2009   59       Fifth MOTION to Dismiss Indictment/Information/Complaint on Fifth
                           Amendment Grounds (Re: 2 Indictment ) by Lindsey Kent Springer
                           (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   60       Fifth BRIEF in Support of Motion (Re: 59 Fifth MOTION to Dismiss
                           Indictment/Information/Complaint on Fifth Amendment Grounds ) by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   61       Sixth MOTION to Dismiss Count(s) One, Two, Three and Four (Re: 2
                           Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           05/15/2009)
     05/15/2009   62       Sixth BRIEF in Support of Motion (Re: 61 Sixth MOTION to Dismiss
                           Count(s) One, Two, Three and Four ) by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 05/15/2009)
     05/15/2009   63       Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                           to allege certain specific provisions (Re: 2 Indictment ) by Lindsey Kent
                           Springer (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   64       Seventh BRIEF in Support of Motion (Re: 63 Seventh MOTION to Dismiss
                           Indictment/Information/Complaint for failure to allege certain specific
                           provisions ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           05/15/2009)
     05/15/2009   65       Eighth MOTION to Dismiss Indictment/Information/Complaint violation of

                                                                                                       8
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 9 of 127



                           Fourth/Fifth Amendment and Selective Prosecution (Re: 2 Indictment ) by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   66       Eighth BRIEF in Support of Motion (Re: 65 Eighth MOTION to Dismiss
                           Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                           Selective Prosecution ) by Lindsey Kent Springer (With attachments)
                           (Springer, Lindsey) (Entered: 05/15/2009)
     05/15/2009   67       MOTION to Dismiss Indictment/Information/Complaint for fraud and
                           violation of the 5th Amendment (Re: 2 Indictment ) by Oscar Amos Stilley as
                           to Oscar Amos Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove
                           defendant Lindsey Springer from text (lml, Dpty Clk). (Entered: 05/15/2009)
     05/15/2009   68       BRIEF in Support of Motion to dismiss for fraud and violation of the 5th
                           Amendment (Re: 67 MOTION to Dismiss Indictment/Information/Complaint
                           ) by Oscar Amos Stilley as to Oscar Amos Stilley (Stilley, Oscar) Modified
                           on 5/18/2009 to remove Lindsey Springer from text (lml, Dpty Clk).
                           (Entered: 05/15/2009)
     05/15/2009   69       JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                           dispositive filed on May 15, 2009) by Oscar Amos Stilley as to Oscar Amos
                           Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove Lindsey Springer
                           from text (lml, Dpty Clk). (Entered: 05/15/2009)
     05/18/2009            NOTICE of Docket Entry Modification; Error: These documents were filed
                           as to both defendants in error; Correction: Edited docket text and removed
                           Lindsey Kent Springer from text (Re: 67 MOTION to Dismiss
                           Indictment/Information/Complaint for fraud and violation of the 5th
                           Amendment, 69 JOINDER (in [51−66] Generally dispositive filed on May
                           15, 2009), 68 Brief in Support of Motion ) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (lml, Dpty Clk) (Entered: 05/18/2009)
     05/26/2009   70       ORDER by Judge Stephen P Friot vacating the stay entered by the court on
                           4/22/2009 &directing government to turn over materials to defendant
                           Stilley, ruling on motion(s)/document(s): #35 denied (Re: 35 MOTION for
                           Protective Order Pending Prospective Franks Hearing, 42 Response in
                           Opposition to Motion,, 43 Minutes of Motion Hearing,,,,,, Minutes of
                           Scheduling Conference,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Taking Motion(s) Under Advisement, Taking
                           Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                           Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                           Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),
                           Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                           Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                           Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                           Deadline(s)/Hearing(s), 44 Reply to Response to Motion, 48 Surreply to
                           Motion ) as to Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk)
                           (Entered: 05/26/2009)
     05/29/2009   71       RESPONSE in Opposition to Motion Fifty−one through Sixty−seven (Re:
                           67 MOTION to Dismiss Indictment/Information/Complaint for fraud and
                           violation of the 5th Amendment, 59 Fifth MOTION to Dismiss

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 10 of 127



                            Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                            Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                            to allege certain specific provisions, 69 JOINDER (in [51−66] Generally
                            dispositive filed on May 15, 2009), 55 Third MOTION to Dismiss
                            Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                            MOTION to Dismiss Indictment/Information/Complaint for lack of venue,
                            53 Second MOTION to Dismiss Indictment/Information/Complaint for
                            violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                            Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                            Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                            Indictment/Information/Complaint for failure to allege tax deficiency
                            element, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four
                            ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly,
                            Charles) (Entered: 05/29/2009)
      06/01/2009   74       MOTION to Suppress by Lindsey Kent Springer (Springer, Lindsey)
                            Modified on 6/2/2009; This is a multi−part motion, see Doc # 77 for second
                            event (tjc, Dpty Clk). (Entered: 06/01/2009)
      06/01/2009   75       BRIEF in Support of Motion (Re: 74 MOTION to Suppress and For Franks
                            Hearing ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                            Modified on 6/2/2009 to seal parts 22, 23 and 24 (s−srb, Dpty Clk).
                            (Entered: 06/02/2009)
      06/01/2009   77       MOTION for Hearing (submitted as part of Doc # 74 ) by Lindsey Kent
                            Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
      06/02/2009   76       AFFIDAVIT in Support of Motion (Re: 74 MOTION to Suppress and For
                            Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            06/02/2009)
      06/02/2009            NOTICE of Docket Entry Modification; Error: Document # 74 is a two−part
                            motion, but not all parts were filed; Correction: Filed the remaining motion
                            part as Document # 77 (Re: 74 MOTION to Suppress ) as to Lindsey Kent
                            Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
      06/02/2009   78       SEALED MOTION (O'Reilly, Charles) (Entered: 06/02/2009) Contains One
                            or More Restricted PDFs
      06/02/2009   79       SEALED ORDER (s−srb, Dpty Clk) Modified on 6/2/2009 to seal pdf and
                            correct docket text(s−srb, Dpty Clk) (Entered: 06/02/2009) Contains One or
                            More Restricted PDFs
      06/15/2009   80       RESPONSE in Opposition to Motion Consolidated (Re: 77 MOTION for
                            Hearing (submitted as part of Doc # 74 ), 72 MOTION to Suppress Grand
                            Jury testimony and evidence, 74 MOTION to Suppress ) by USA as to
                            Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly,
                            Charles) (Entered: 06/15/2009)
      06/15/2009   81       REPLY to Response to Motion to Dismiss (Re: 59 Fifth MOTION to
                            Dismiss Indictment/Information/Complaint on Fifth Amendment Grounds,
                            63 Seventh MOTION to Dismiss Indictment/Information/Complaint for
                            failure to allege certain specific provisions, 55 Third MOTION to Dismiss
                            Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                            MOTION to Dismiss Indictment/Information/Complaint for lack of venue,

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 11 of 127



                            53 Second MOTION to Dismiss Indictment/Information/Complaint for
                            violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                            Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                            Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                            Indictment/Information/Complaint for failure to allege tax deficiency
                            element, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four
                            ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                            (Entered: 06/15/2009)
      06/15/2009   82       MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 06/15/2009)
      06/17/2009   85       MINUTE ORDER by Judge Stephen P Friot, setting/resetting
                            deadline(s)/hearing(s): ( Motion Hearing set for 7/2/2009 at 09:00 AM
                            before Judge Stephen P Friot), ruling on motion(s)/document(s): #83 Denied
                            (Re: 82 MOTION for Bill of Particulars, 83 MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s)MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 06/17/2009)
      06/17/2009   86       MOTION to Strike Document(s) (Re: 81 Reply to Response to Motion,,, )
                            by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                            06/17/2009)
      06/18/2009   87       ORDER by Judge Stephen P Friot , directing Sur−Reply, ruling on
                            motion(s)/document(s): #86 Denied (Re: 86 MOTION to Strike
                            Document(s), 67 MOTION to Dismiss Indictment/Information/Complaint
                            for fraud and violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                            Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                            Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                            to allege certain specific provisions, 55 Third MOTION to Dismiss
                            Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                            MOTION to Dismiss Indictment/Information/Complaint for lack of venue,
                            53 Second MOTION to Dismiss Indictment/Information/Complaint for
                            violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                            Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                            Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                            Indictment/Information/Complaint for failure to allege tax deficiency
                            element, 69 JOINDER of motions filed by Lindsey Springer (in [51−66]
                            Generally dispositive filed on May 15, 2009), 61 Sixth MOTION to Dismiss
                            Count(s) One, Two, Three and Four ) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (pll, Dpty Clk) (Entered: 06/18/2009)
      06/18/2009   88       SEALED MOTION (s−srb, Dpty Clk) Modified on 6/19/2009 to correct
                            event (s−srb, Dpty Clk). (Entered: 06/19/2009) Contains One or More
                            Restricted PDFs
      06/19/2009   89       SEALED MINUTE ORDER (s−srb, Dpty Clk) (Entered: 06/19/2009)
                            Contains One or More Restricted PDFs
      06/19/2009   90       MOTION for Leave to Exceed Page Limitation by USA as to Lindsey Kent
                            Springer (Snoke, Kenneth) (Entered: 06/19/2009)
      06/23/2009   91       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #90
                            Granted (Re: 90 MOTION for Leave to Exceed Page Limitation, 67
                                                                                                         11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 12 of 127



                            MOTION to Dismiss Indictment/Information/Complaint for fraud and
                            violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                            Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                            Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                            to allege certain specific provisions, 55 Third MOTION to Dismiss
                            Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                            MOTION to Dismiss Indictment/Information/Complaint for lack of venue,
                            53 Second MOTION to Dismiss Indictment/Information/Complaint for
                            violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                            Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                            Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                            Indictment/Information/Complaint for failure to allege tax deficiency
                            element, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four
                            ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            06/23/2009)
      06/25/2009    93      SURREPLY (Re: 51 First MOTION to Dismiss, 53 Second MOTION to
                            Dismiss, 55 Third MOTION to Dismiss, 57 Fourth MOTION to Dismiss, 59
                            Fifth MOTION to Dismiss, 61 Sixth MOTION to Dismiss, 63 Seventh
                            MOTION to Dismiss, 65 Eighth MOTION to Dismiss) by USA as to
                            Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                            6/29/2009 to change text to reflect correct event and to change links to
                            reflect base motions (sac, Dpty Clk). (Entered: 06/25/2009)
      06/29/2009            NOTICE of Docket Entry Modification; Error: wrong event selected
                            (Reply); wrong links made; Correction: changed text to reflect correct event
                            (Surreply); created links to base motions (Re: 93 Reply, ) as to Lindsey Kent
                            Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered: 06/29/2009)
      06/30/2009    94      MOTION to Quash Subpoenas by USA as to Lindsey Kent Springer, Oscar
                            Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 06/30/2009)
      06/30/2009    95      ***Remark: 9 subpoenas returned as to Lindsey Kent Springer (s−srb, Dpty
                            Clk) (Entered: 07/01/2009)
      07/01/2009    96      RESPONSE in Opposition to Motion (Re: 94 MOTION to Quash Subpoenas
                            ) by Lindsey Kent Springer (Springer, Lindsey) (Entered: 07/01/2009)
      07/01/2009    97      RESPONSE in Opposition to Motion (Re: 82 MOTION for Bill of
                            Particulars ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                            (O'Reilly, Charles) (Entered: 07/01/2009)
      07/01/2009    98      Clarification of (Re: 94 MOTION to Quash ) by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 7/2/2009 to
                            correct title of event (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                            (Entered: 07/01/2009)
      07/01/2009    99      MOTION to Quash subpoena by Eddy Lynn Patterson as to Lindsey Kent
                            Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 7/6/2009 to
                            correct file date (lml, Dpty Clk). (Entered: 07/02/2009)
      07/02/2009   100      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                            Hearing held on 7/2/2009, ruling on motion(s)/document(s):
                            #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82 Granted in Part,
                            Denied in part, #94 Moot, striking/terminating deadline(s)/hearing(s) as to

                                                                                                            12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 13 of 127



                            Lindsey Kent Springer, Oscar Amos Stilley (Re: 67 MOTION to Dismiss
                            Indictment/Information/Complaint for fraud and violation of the 5th
                            Amendment, 59 Fifth MOTION to Dismiss
                            Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                            Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                            to allege certain specific provisions, 77 MOTION for Hearing (submitted as
                            part of Doc # 74 ), 92 JOINDER (in [81; 82] Springer's Reply Regarding
                            Opposition to Springer's Motion to Dismiss; Motion for Bill of Particulars
                            filed on 6/15/2009; 6/15/2009), 69 JOINDER (in [51−66] Generally
                            dispositive filed on May 15, 2009), 55 Third MOTION to Dismiss
                            Indictment/Information/Complaint pursuant to CIR v. Duberstein, 94
                            MOTION to Quash, 51 First MOTION to Dismiss
                            Indictment/Information/Complaint for lack of venue, 53 Second MOTION to
                            Dismiss Indictment/Information/Complaint for violations of Paperwork
                            Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                            Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                            Selective Prosecution, 57 Fourth MOTION to Dismiss
                            Indictment/Information/Complaint for failure to allege tax deficiency
                            element, 72 MOTION to Suppress Grand Jury testimony and evidence, 82
                            MOTION for Bill of Particulars, 61 Sixth MOTION to Dismiss Count(s)
                            One, Two, Three and Four, 74 MOTION to Suppress ) (Court Reporter:
                            Tracy Washbourne) (pll, Dpty Clk) Modified on 7/8/2009 to indicate
                            attached PDF has incorrect hearing date. Date hearing held was 7/2/2009
                            (pll, Dpty Clk). (Entered: 07/02/2009)
      07/02/2009   101      MINUTE ORDER by Judge Stephen P Friot : Following the hearing held
                            this date, the Motion to Quash filed by Eddy Lynn Patterson is hereby moot,
                            ruling on motion(s)/document(s): #99 Moot (Re: 99 MOTION to Quash
                            subpoena ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                            (Entered: 07/02/2009)
      07/02/2009   103      SEALED EXHIBIT(S) to Order/Minutes (Re: 100 Minutes of Motion
                            Hearing,,,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),
                            Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                            Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                            Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                            Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                            Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk) (Entered:
                            07/14/2009) Contains One or More Restricted PDFs
      07/08/2009   102      ORDER by Judge Stephen P Friot re: jury instructions as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 07/08/2009)
      07/14/2009   104      BILL OF PARTICULARS (Re: 82 MOTION for Bill of Particulars ) by
                            USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                            (Entered: 07/14/2009)
      07/30/2009   105      Second MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 07/30/2009)

                                                                                                          13
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 14 of 127



      08/03/2009   106      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey
                            Kent Springer (Springer, Lindsey) Modified on 8/4/2009 to correct title of
                            event (lml, Dpty Clk). (Entered: 08/03/2009)
      08/03/2009   107      PROPOSED JURY INSTRUCTIONS by USA as to Lindsey Kent Springer,
                            Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/03/2009)
      08/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                            text to reflect correcte event (Re: 106 MOTION to Accelerate/Extend/Reset
                            Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer (lml, Dpty Clk)
                            (Entered: 08/04/2009)
      08/04/2009   111      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #106
                            Denied (Re: 106 MOTION to Accelerate/Extend/Reset
                            Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley
                            (cds, Dpty Clk) (Entered: 08/04/2009)
      08/05/2009   112      RESPONSE in Opposition to Motion (Re: 109 First MOTION to Dismiss
                            Count(s) 1 Conspiracy charge ) by USA as to Oscar Amos Stilley (O'Reilly,
                            Charles) Modified on 8/6/2009 to delete "as to" defendant Springer (sac,
                            Dpty Clk). (Entered: 08/05/2009)
      08/05/2009   113      MOTION to File Out of Time Proposed Jury Instructions by Lindsey Kent
                            Springer (With attachments) (Springer, Lindsey) Modified on 8/6/2009 to
                            change text to reflect correct event (sac, Dpty Clk). Modified on 8/7/2009 to
                            seal attachment PDF as it was stricken per 117 (sac, Dpty Clk). (Entered:
                            08/05/2009)
      08/06/2009            NOTICE of Docket Entry Modification; Error: wrong event selected
                            (Motion to Accelerate/Extend/Reset Hearings/Deadlines); Correction:
                            changed text to reflect correct event (Motion to File Out of Time) (Re: 113
                            MOTION to File Out of Time ) as to Lindsey Kent Springer (sac, Dpty Clk)
                            (Entered: 08/06/2009)
      08/06/2009   114      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                            04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 132). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            43 Minutes of Motion Hearing, Minutes of Scheduling Conference, Ruling
                            on Motion(s)/Document(s), Taking Motion(s) Under Advisement,
                            Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (sam, Dpty Clk) Modified on 11/5/2009 to remove
                            transcript access restriction (a−hc, Dpty Clk). (Entered: 08/06/2009)
      08/06/2009   115      TRANSCRIPT of Proceedings (Unredacted) of Motions Hearing held on
                            7/2/09 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                            (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party
                            must file a Transcript Redaction Request within 21 calendar days. If a party
                            fails to request redaction, this unredacted transcript may be made
                                                                                                            14
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 15 of 127



                            electronically available to the public without redaction after 90 calendar
                            days. Any party needing a copy of the transcript to review for redaction
                            purposes may view the transcript at the court public terminal at no charge or
                            may purchase a copy from the court reporter. (Re: 100 Minutes of Motion
                            Hearing, Ruling on Motion(s)/Document(s), Striking/Terminating
                            Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley
                            (pll, Dpty Clk) Modified on 11/5/2009 to remove transcript access restriction
                            (a−hc, Dpty Clk). (Entered: 08/06/2009)
      08/06/2009   116      RESPONSE in Opposition to Motion (Re: 105 Second MOTION for Bill of
                            Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                            Modified on 8/7/2009 to delete "as to Oscar Amos Stilley" as this document
                            states it is as to defendant Springer only (sac, Dpty Clk). (Entered:
                            08/06/2009)
      08/06/2009   117      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #113
                            Denied, striking/withdrawing document(s) (Re: 113 MOTION to File Out of
                            Time ) (Documents Terminated: 113 MOTION to File Out of Time ) as to
                            Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/06/2009)
      08/07/2009   118      MOTION to Reconsider (Re: 111 Order, Ruling on Motion(s)/Document(s),
                            117 Order,, Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Striking/Withdrawing Document(s),
                            Striking/Withdrawing Document(s) ) by Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 08/07/2009)
      08/12/2009   119      RESPONSE in Opposition to Motion (Re: 118 MOTION to Reconsider ) by
                            USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 08/12/2009)
      08/12/2009   121      REPLY to Response to Motion (Re: 105 Second MOTION for Bill of
                            Particulars ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            08/12/2009)
      08/12/2009   122      REPLY to Response to Motion (Re: 118 MOTION to Reconsider ) by
                            Lindsey Kent Springer (Springer, Lindsey) (Entered: 08/12/2009)
      08/12/2009   123      Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six
                            (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            08/12/2009)
      08/12/2009   124      Eighth BRIEF in Support of Motion (Re: 123 Eighth MOTION to Dismiss
                            Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                            (Springer, Lindsey) (Entered: 08/12/2009)
      08/13/2009   125      RESPONSE in Opposition to Motion (Re: 123 Eighth MOTION to Dismiss
                            Count(s) One, Two, Three, Four, Five and Six ) by USA as to Lindsey Kent
                            Springer (O'Reilly, Charles) (Entered: 08/13/2009)
      08/13/2009   126      NOTICE of Intent to Use Expert Witness Testimony by USA as to Lindsey
                            Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                            08/13/2009)
      08/17/2009   127      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #118
                            denied (Re: 111 Order, Ruling on Motion, 117 Order, Ruling on Motion);
                            (Re: 118 MOTION to Reconsider ) as to Lindsey Kent Springer (kjp, Dpty
                            Clk) Modified on 8/18/2009 to add links to #111, 117 (kjp, Dpty Clk).
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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 16 of 127



                            (Entered: 08/17/2009)
      08/17/2009   128      OBJECTION to Proposed Jury Instructions (Re: 107 Proposed Jury
                            Instructions ) as to Lindsey Kent Springer (With attachments) (Springer,
                            Lindsey) (Entered: 08/17/2009)
      08/19/2009   130      REPLY to Response to Motion (Re: 123 Eighth MOTION to Dismiss
                            Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                            (With attachments) (Springer, Lindsey) (Entered: 08/19/2009)
      09/10/2009   134      NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to Lindsey
                            Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                            09/10/2009)
      09/16/2009   135      ORDER by Judge Stephen P Friot re: Pretrial Conference as to Lindsey
                            Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/16/2009)
      09/18/2009   136      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #105
                            denied; 109 denied; #123 denied (Re: 105 Second MOTION for Bill of
                            Particulars, 109 First MOTION to Dismiss Count(s) 1 Conspiracy charge,
                            123 Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and
                            Six ) as to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk)
                            (Entered: 09/18/2009)
      09/21/2009   137      MOTION in Limine by USA as to Lindsey Kent Springer, Oscar Amos
                            Stilley (O'Reilly, Charles) (Entered: 09/21/2009)
      09/21/2009   138      TRIAL BRIEF by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                            (Snoke, Kenneth) (Entered: 09/21/2009)
      09/21/2009   139      NOTICE of Government's Proposed Summary of Indictment by USA as to
                            Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                            9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)
      09/21/2009   141      MOTION for Subpoena(s) under Rule 17 by Lindsey Kent Springer
                            (Springer, Lindsey) (Entered: 09/21/2009)
      09/21/2009   142      TRIAL BRIEF as to Lindsey Kent Springer (With attachments) (Springer,
                            Lindsey) (Entered: 09/21/2009)
      09/21/2009   143      NOTICE Summary of Indictment by Lindsey Kent Springer (Springer,
                            Lindsey) Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk).
                            (Entered: 09/21/2009)
      09/21/2009   144      First MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/21/2009)
      09/21/2009   145      Second MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/21/2009)
      09/21/2009   146      Third MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/21/2009)
      09/21/2009   147      Fourth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/21/2009)
      09/21/2009   148      Fifth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)

                                                                                                        16
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 17 of 127



                            (Entered: 09/21/2009)
      09/21/2009   150      Sixth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/21/2009)
      09/21/2009   151      Seventh MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/21/2009)
      09/21/2009   154      OBJECTION to Prosecution 404(b) (Re: 134 Notice (Other) ) by Lindsey
                            Kent Springer (Springer, Lindsey) Modified on 9/22/2009 to reflect correct
                            event (tjc, Dpty Clk). (Entered: 09/21/2009)
      09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                            text to reflect correct event (Notice) (Re: 139 MOTION Government's
                            Proposed Summary of Indictment ) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (tjc, Dpty Clk) (Entered: 09/22/2009)
      09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                            text to reflect correct event (Notice) (Re: 143 MOTION Summary of
                            Indictment ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                            09/22/2009)
      09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                            text to reflect correct event (Objection) (Re: 154 MOTION Opposition to
                            Prosecution 404(b) ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                            09/22/2009)
      09/22/2009   156      ORDER by Judge Stephen P Friot : setting ex parte hearing,
                            setting/resetting deadline(s)/hearing(s): ( Motion Hearing set for 10/9/2009
                            at 01:30 PM before Judge Stephen P Friot) (Re: 152 MOTION for
                            Subpoena(s) pursuant to Rule 17(b), 141 MOTION for Subpoena(s) under
                            Rule 17 ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                            (Entered: 09/22/2009)
      09/22/2009   157      ORDER by Judge Stephen P Friot re: 10/9/09 ex parte hearing (Re: 152
                            MOTION for Subpoena(s) pursuant to Rule 17(b), 156 Order,,
                            Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                            Deadline(s)/Hearing(s),, 141 MOTION for Subpoena(s) under Rule 17 ) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            09/22/2009)
      09/23/2009   158      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                            Motion Hearing set for 10/21/2009 at 09:00 AM before Judge Stephen P
                            Friot) (Re: 145 Second MOTION in Limine, 150 Sixth MOTION in Limine,
                            137 MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION in
                            Limine regarding hearsay and confrontation issues, 148 Fifth MOTION in
                            Limine, 144 First MOTION in Limine, 151 Seventh MOTION in Limine,
                            147 Fourth MOTION in Limine ) as to Lindsey Kent Springer, Oscar Amos
                            Stilley (pll, Dpty Clk) (Entered: 09/23/2009)
      09/24/2009   159      MOTION Emergency Motion Regarding Denny Patridge by Lindsey Kent
                            Springer (Springer, Lindsey) (Entered: 09/24/2009)

                                                                                                           17
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 18 of 127



      09/25/2009   160      SEALED MOTION (O'Reilly, Charles) Modified on 10/9/2009; this
                            document is STRICKEN per 183 (sac, Dpty Clk). (Entered: 09/25/2009)
                            Contains One or More Restricted PDFs
      09/25/2009   161      RESPONSE in Opposition to Motion (Re: 159 MOTION Emergency
                            Motion Regarding Denny Patridge ) by USA as to Lindsey Kent Springer
                            (O'Reilly, Charles) (Entered: 09/25/2009)
      09/25/2009   162      MOTION TAKE RULE 15 DEPOSITION by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                            (Entered: 09/25/2009)
      09/27/2009   163      RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                            DEPOSITION ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            09/27/2009)
      09/28/2009   164      REPLY to Response to Motion (Re: 159 MOTION Emergency Motion
                            Regarding Denny Patridge ) by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/28/2009)
      09/30/2009   165      MINUTE ORDER by Judge Stephen P Friot : Until further notice, all
                            hearings in this case will be held at the Boulder Courthouse, 224 S Boulder,
                            3rd Floor Courtroom, Tulsa, OK as to Lindsey Kent Springer, Oscar Amos
                            Stilley (pll, Dpty Clk) (Entered: 09/30/2009)
      09/30/2009   166      Fourth MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 09/30/2009)
      09/30/2009   167      MOTION to Reconsider (Re: 136 Order,, Ruling on Motion(s)/Document(s),
                            Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer,
                            Lindsey) Modified on 10/1/2009; this is a two−part motion of which only
                            one part was efiled − see 169 for Motion to Clarify (sac, Dpty Clk).
                            (Entered: 09/30/2009)
      09/30/2009   168      MOTION Daubert Hearing by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 09/30/2009)
      09/30/2009   169      MOTION to Clarify (submitted as part of 167 ) (Re: 136 Order,, Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s) ) by Lindsey
                            Kent Springer (sac, Dpty Clk) (Entered: 10/01/2009)
      10/01/2009            NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                            which only one part was efiled; Correction: efiled Motion to Clarify − see
                            169 (Re: 167 MOTION to Reconsider ) as to Lindsey Kent Springer (sac,
                            Dpty Clk) (Entered: 10/01/2009)
      10/01/2009   170      SEALED DOCUMENT (O'Reilly, Charles) Modified on 10/2/2009 to
                            correct title of event (lml, Dpty Clk). (Entered: 10/01/2009) Contains One or
                            More Restricted PDFs
      10/01/2009   171      RESPONSE in Opposition to Motion (Re: 168 MOTION Daubert Hearing )
                            by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                            10/01/2009)
      10/05/2009   172      RESPONSE in Opposition to Motion Supplemental (Re: 170 SEALED
                            DOCUMENT ) by Lindsey Kent Springer (Springer, Lindsey) Modified on

                                                                                                            18
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 19 of 127



                            10/7/2009 to seal pdf pursuant to Court Order # 180 (s−srb, Dpty Clk).
                            (Entered: 10/05/2009) Contains One or More Restricted PDFs
      10/05/2009   173      RESPONSE in Opposition to Motion (Re: 145 Second MOTION in Limine,
                            150 Sixth MOTION in Limine, 146 Third MOTION in Limine, 149
                            MOTION in Limine regarding hearsay and confrontation issues, 155
                            JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151] Motions in
                            Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed on
                            9−21−09), 148 Fifth MOTION in Limine, 144 First MOTION in Limine,
                            151 Seventh MOTION in Limine, 147 Fourth MOTION in Limine ) by USA
                            as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                            (Entered: 10/05/2009)
      10/05/2009   174      SEALED MOTION (O'Reilly, Charles) (Entered: 10/05/2009) Contains One
                            or More Restricted PDFs
      10/05/2009   175      RESPONSE in Opposition to Motion (Re: 152 MOTION for Subpoena(s)
                            pursuant to Rule 17(b), 155 JOINDER (in [141, 142, 144, 145, 146, 147,
                            148, 150, and 151] Motions in Limine, for subpoenas pursuant to Rule
                            17(b), and trial brief filed on 9−21−09), 141 MOTION for Subpoena(s)
                            under Rule 17 ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                            (O'Reilly, Charles) (Entered: 10/05/2009)
      10/05/2009   177      RESPONSE in Opposition to Motion (Re: 137 MOTION in Limine ) by
                            Lindsey Kent Springer (Springer, Lindsey) (Entered: 10/05/2009)
      10/06/2009   178      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #162
                            Granted (Re: 162 MOTION TAKE RULE 15 DEPOSITION ) as to Lindsey
                            Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 10/06/2009)
      10/06/2009   179      MOTION Compel Clerk of Court to Comply with 28 U.S.C. Section 1867(f)
                            and Test v. U.S. by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            10/06/2009)
      10/07/2009   180      SEALED ORDER (s−srb, Dpty Clk) (Entered: 10/07/2009) Contains One or
                            More Restricted PDFs
      10/07/2009   181      SEALED MOTION (O'Reilly, Charles) Modified on 6/4/2010 to unseal per
                            Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
      10/07/2009   182      SEALED DOCUMENT (O'Reilly, Charles) Modified on 6/4/2010 to unseal
                            per Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
      10/08/2009   183      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re:
                            160 SEALED MOTION ) (Documents Terminated: 160 SEALED MOTION
                            ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            10/08/2009)
      10/08/2009   184      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #166
                            granted (Re: 166 Fourth MOTION for Bill of Particulars ) as to Lindsey
                            Kent Springer (pll, Dpty Clk) (Entered: 10/08/2009)
      10/08/2009   185      RESPONSE in Opposition to Motion (Re: 166 Fourth MOTION for Bill of
                            Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                            Modified on 10/9/2009; this document contains two events and that is not
                            allowed with CM/ECF − see 187 for Motion to Accelerate/Extend/Reset

                                                                                                          19
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 20 of 127



                            Hearings/Deadlines (sac, Dpty Clk). (Entered: 10/08/2009)
      10/08/2009   186      SEALED ORDER (s−srb, Dpty Clk) Modified on 6/4/2010 to unseal per
                            Order # 370 (lml, Dpty Clk). (Entered: 10/08/2009)
      10/08/2009   187      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond)
                            (Re: 166 Fourth MOTION for Bill of Particulars ) by USA as to Lindsey
                            Kent Springer (sac, Dpty Clk) (Entered: 10/09/2009)
      10/09/2009            NOTICE of Docket Entry Modification; Error: this document contains two
                            events and combined documents are not allowed in CM/ECF; Correction:
                            efiled Motion to Accelerate/Extend/Reset Hearings/Deadlines − see 187 (Re:
                            185 Response in Opposition to Motion, ) as to Lindsey Kent Springer (sac,
                            Dpty Clk) (Entered: 10/09/2009)
      10/09/2009   188      RESPONSE in Opposition to Motion (Re: 187 MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) ) by Lindsey
                            Kent Springer (Springer, Lindsey) (Entered: 10/09/2009)
      10/09/2009   189      NOTICE with Respect to Court's Order (Dkt#178) by USA as to Lindsey
                            Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 10/09/2009)
      10/09/2009   190      ERRATA/CORRECTION (Re: 189 Notice (Other) ) by USA as to Lindsey
                            Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                            10/13/2009 to correct title of event (lml, Dpty Clk). (Entered: 10/09/2009)
      10/09/2009   191      SEALED MINUTES (pll, Dpty Clk) (Entered: 10/13/2009) Contains One or
                            More Restricted PDFs
      10/13/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Notice−Other); Correction: Edited docket text to reflect
                            correct event (Errata/Correction to Document) (Re: 190 Notice (Other) ) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (lml, Dpty Clk) (Entered:
                            10/13/2009)
      10/13/2009   192      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #187
                            Granted in Part, denied in part (Re: 187 MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond), 185 Response
                            in Opposition to Motion, 166 Fourth MOTION for Bill of Particulars ) as to
                            Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)
      10/13/2009   193      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #168
                            Granted in part, Denied in part (Re: 168 MOTION Daubert Hearing ) as to
                            Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)
      10/13/2009   194      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #167,
                            169 Denied (Re: 169 MOTION to Clarify (submitted as part of 167 ), 167
                            MOTION to Reconsider ) as to Lindsey Kent Springer (pll, Dpty Clk)
                            (Entered: 10/13/2009)
      10/13/2009   195      ***Remark: arrest warrant issued for material witness as to Lindsey Kent
                            Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 10/14/2009 to
                            unseal docket entry (sjm, Dpty Clk). (Entered: 10/14/2009) Contains One or
                            More Restricted PDFs
      10/14/2009   196      Opposed MOTION ToOrder O'Reilly to Comply with this Court's Order on

                                                                                                          20
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 21 of 127



                            Rule 15 Deposition and schedule return flight that is reasonable and on
                            Saturday, October 17, 2009, at 3:35 P.M. by Lindsey Kent Springer (With
                            attachments) (Springer, Lindsey) (Entered: 10/14/2009)
      10/14/2009   197      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #196
                            Denied (Re: 196 Opposed MOTION ToOrder O'Reilly to Comply with this
                            Court's Order on Rule 15 Deposition and schedule return flight that is
                            reasonable and on Saturday, October 17, 2009, at 3:35 P.M. ) as to Lindsey
                            Kent Springer (pll, Dpty Clk) (Entered: 10/14/2009)
      10/14/2009   198      RESPONSE in Opposition to Motion (Re: 179 MOTION Compel Clerk of
                            Court to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) by USA
                            as to Lindsey Kent Springer (Snoke, Kenneth) Modified on 10/15/2009 to
                            delete "as to" Oscar Stilley since this document is only as to Lindsey Kent
                            Springer (sac, Dpty Clk). (Entered: 10/14/2009)
      10/15/2009            NOTICE of Docket Entry Modification; Error: all defendants were selected
                            as to, but document only pertains to Lindsey Springer; Correction: deleted as
                            to defendant Oscar Stilley (Re: 198 Response in Opposition to Motion, ) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                            10/15/2009)
      10/16/2009   200      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #179
                            granted with specific limitations (Re: 179 MOTION Compel Clerk of Court
                            to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) as to Lindsey
                            Kent Springer(djh, Dpty Clk) (Entered: 10/16/2009)
      10/19/2009   201      Second BILL OF PARTICULARS (Re: 184 Order, Ruling on
                            Motion(s)/Document(s), 194 Order, Ruling on Motion(s)/Document(s), 166
                            Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent
                            Springer (O'Reilly, Charles) (Entered: 10/19/2009)
      10/20/2009   202      SEALED MOTION (Snoke, Kenneth) Modified on 6/4/2010 to unseal per
                            Order # 370 (lml, Dpty Clk). (Entered: 10/20/2009)
      10/20/2009   203      SEALED ORDER (pll, Dpty Clk) Modified on 6/4/2010 to unseal per Order
                            # 370 (lml, Dpty Clk). (Entered: 10/20/2009)
      10/20/2009   204      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                            or More Restricted PDFs
      10/20/2009   205      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                            or More Restricted PDFs
      10/21/2009   207      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                            Hearing held on 10/21/2009, Pretrial Conference held on 10/21/2009, ruling
                            on motion(s)/document(s): #137,155 grant in part, deny in part;
                            144,146,147,150,151,159 denied; 148, 204, 205, 206 granted,
                            striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (Re: 204 SEALED MOTION, 145 Second MOTION in
                            Limine, 150 Sixth MOTION in Limine, 137 MOTION in Limine, 146 Third
                            MOTION in Limine, 149 MOTION in Limine regarding hearsay and
                            confrontation issues, 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148,
                            150, and 151] Motions in Limine, for subpoenas pursuant to Rule 17(b), and
                            trial brief filed on 9−21−09), 148 Fifth MOTION in Limine, 159 MOTION

                                                                                                            21
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 22 of 127



                            Emergency Motion Regarding Denny Patridge, 144 First MOTION in
                            Limine, 205 SEALED MOTION, 206 MOTION to Exclude MENTION OF
                            THE TESTIMONY OF VIKKI WIGGINS PRIOR TO A REASONABLE
                            TIME AFTER PRODUCTION OF THE TRANSCRIPT OF HER
                            TESTIMONY, 151 Seventh MOTION in Limine, 147 Fourth MOTION in
                            Limine ) (Court Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered:
                            10/22/2009)
      10/21/2009   208      ***Remark: Deposition Transcript of Vikki Lynn Wiggins received by court
                            as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            10/22/2009)
      10/24/2009   209      PROPOSED VOIR DIRE by USA as to Lindsey Kent Springer, Oscar Amos
                            Stilley (O'Reilly, Charles) (Entered: 10/24/2009)
      10/26/2009   212      RESPONSE in Opposition to Motion (Re: 210 MOTION to Quash
                            Testimony of Vikki Wiggins ) by USA as to Oscar Amos Stilley (O'Reilly,
                            Charles) Modified on 10/27/2009 to remove Lindsey Kent Springer name
                            from text, as his name should not have been selected, as this pleading does
                            not pertain to him (tjc, Dpty Clk). (Entered: 10/26/2009)
      10/26/2009   213      NOTICE Regarding Defendants' Discovery by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/26/2009)
      10/26/2009   214      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 10/26/2009) Contains
                            One or More Restricted PDFs
      10/26/2009   215      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                            Dire/Jury Selection began as to Lindsey Kent Springer, Oscar Amos Stilley
                            (Court Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/26/2009)
      10/26/2009   216      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                            Dire/Jury Selection held on 10/26/2009 as to Lindsey Kent Springer, Oscar
                            Amos Stilley (pll, Dpty Clk) (Entered: 10/26/2009)
      10/26/2009   217      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            began as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                            (Entered: 10/26/2009)
      10/26/2009   218      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held , continued to following day, setting/resetting scheduling order date(s): (
                            Jury Trial set for 10/27/2009 at 09:00 AM before Judge Stephen P Friot) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            10/26/2009)
      10/26/2009   219      JOINDER (in 210 Motion to Quash filed on 10/24/09) as to Lindsey Kent
                            Springer (Springer, Lindsey) (Entered: 10/26/2009)
      10/27/2009   220      ORDER by Judge Stephen P Friot ruling on Government's Oral Motion re:
                            witness Philip Roberts as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                            Dpty Clk) Modified on 10/27/2009 to correct title(pll, Dpty Clk). (Entered:
                            10/27/2009)
      10/27/2009   221      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, ruling on motion(s)/document(s): #210 and 219 denied as to Lindsey
                            Kent Springer, Oscar Amos Stilley (Re: 210 MOTION to Quash Testimony

                                                                                                               22
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 23 of 127



                            of Vikki Wiggins, 219 JOINDER (in 210 Motion to Quash filed on 10/24/09)
                            ) (cds, Dpty Clk) (Entered: 10/27/2009)
      10/28/2009   222      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting deadline(s)/hearing(s): ( Jury Trial set for 10/29/2009
                            at 09:00 AM before Judge Stephen P Friot, Motion Hearing set for
                            11/3/2009 at 05:30 PM before Judge Stephen P Friot) as to Lindsey Kent
                            Springer, Oscar Amos Stilley (cds, Dpty Clk) (Entered: 10/28/2009)
      10/29/2009   223      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, ruling on motion(s)/document(s): #145 and 149 Denied,
                            setting/resetting scheduling order date(s): ( Jury Trial set for 10/30/2009 at
                            09:00 AM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (Re: 145 Second MOTION in Limine, 149 MOTION in
                            Limine regarding hearsay and confrontation issues ) (cds, Dpty Clk)
                            (Entered: 10/30/2009)
      10/30/2009   229      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting scheduling order date(s): ( Jury Trial set for 11/2/2009
                            at 09:00 AM before Judge Stephen P Friot) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (cds, Dpty Clk) (Entered: 11/03/2009)
      11/01/2009   224      MOTION to Reconsider (Re: 100 Minutes of Motion Hearing,,,,,,,, Ruling
                            on Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                            Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                            Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                            Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                            Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                            Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                            Deadline(s)/Hearing(s) ) by Lindsey Kent Springer (With attachments)
                            (Springer, Lindsey) Modified on 11/2/2009 to SEAL pdfs per chambers(sac,
                            Dpty Clk). (Entered: 11/01/2009) Contains One or More Restricted PDFs
      11/02/2009   225      RESPONSE in Opposition to Motion and Motion to Seal Attachments (Re:
                            224 MOTION to Reconsider ) by USA as to Lindsey Kent Springer
                            (O'Reilly, Charles) (Entered: 11/02/2009)
      11/02/2009   226      SEALED ORDER (s−srb, Dpty Clk) (Entered: 11/02/2009) Contains One or
                            More Restricted PDFs
      11/02/2009   230      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting scheduling order date(s): continued to following day (
                            Jury Trial set for 11/3/2009 at 09:00 AM before Judge Stephen P Friot) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy
                            Washbourne) (pll, Dpty Clk) (Entered: 11/03/2009)
      11/03/2009   227      OBJECTION regarding "gift" as to Lindsey Kent Springer (Springer,
                            Lindsey) Modified on 11/4/2009 to correct event (tjc, Dpty Clk). (Entered:
                            11/03/2009)
      11/03/2009   228      NOTICE re: Proposed Jury Instructions by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 11/4/2009 to

                                                                                                               23
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 24 of 127



                            correct event (tjc, Dpty Clk). (Entered: 11/03/2009)
      11/03/2009   231      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting scheduling order date(s): continued to following day (
                            Jury Trial set for 11/4/2009 at 09:00 AM before Judge Stephen P Friot) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            11/03/2009)
      11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Proposed Jury Instructions); Correction: Edited docket text
                            to reflect the correct event (Objection) (Re: 227 Proposed Jury Instructions )
                            as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 11/04/2009)
      11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Proposed Jury Instructions); Correction: Edited docket text
                            to reflect the correct event (Notice) (Re: 228 Proposed Jury Instructions ) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                            11/04/2009)
      11/04/2009   233      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting scheduling order date(s): (continued to following day)
                            ( Jury Trial set for 11/5/2009 at 08:15 AM before Judge Stephen P Friot) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            11/04/2009)
      11/05/2009   234      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held continued to following Monday, setting/resetting scheduling order
                            date(s): ( Jury Trial set for 11/9/2009 at 09:00 AM before Judge Stephen P
                            Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                            (Entered: 11/05/2009)
      11/05/2009   235      ORDER by Judge Stephen P Friot re: USM and witnesses as to Lindsey
                            Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/06/2009)
      11/08/2009   236      PROPOSED JURY INSTRUCTIONS as to Venue, District Director and
                            Materiality as to Lindsey Kent Springer (With attachments) (Springer,
                            Lindsey) (Entered: 11/08/2009)
      11/08/2009   237      PROPOSED JURY INSTRUCTIONS as to Venue by USA as to Lindsey
                            Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 11/08/2009)
      11/09/2009   239      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held , continued to following day, setting/resetting scheduling order date(s): (
                            Jury Trial set for 11/10/2009 at 09:00 AM before Judge Stephen P Friot) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            11/09/2009)
      11/10/2009   240      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting scheduling order date(s): continued to Thursday ( Jury
                            Trial set for 11/12/2009 at 09:00 AM before Judge Stephen P Friot) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            11/10/2009)
      11/12/2009   241      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting scheduling order date(s): continued to following day (
                            Jury Trial set for 11/13/2009 at 09:00 AM before Judge Stephen P Friot) as
                                                                                                               24
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 25 of 127



                            to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            11/12/2009)
      11/13/2009   242      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            held, setting/resetting scheduling order date(s): continued to following
                            Monday ( Jury Trial set for 11/16/2009 at 09:00 AM before Judge Stephen P
                            Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                            (Entered: 11/13/2009)
      11/16/2009   243      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                            completed, striking/terminating deadline(s)/hearing(s) as to Lindsey Kent
                            Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                            attachments) (pll, Dpty Clk) (Entered: 11/17/2009)
      11/16/2009   244      JURY INSTRUCTIONS by Judge Stephen P Friot as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
      11/16/2009   245      JURY VERDICT as to Lindsey Kent Springer (1) Guilty on Count
                            1,2,3−4,5−6 and Oscar Amos Stilley (2) Guilty on Count 1,3−4 (pll, Dpty
                            Clk) (Entered: 11/17/2009)
      11/16/2009   246      SEALED EXHIBIT(S) to Order/Minutes (Re: 243 Minutes of Jury Trial
                            Completed, Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk)
                            (Entered: 11/17/2009) Contains One or More Restricted PDFs
      11/17/2009   247      ORDER by Judge Stephen P Friot setting supplemental conditions following
                            trial, ruling re: modification of conditions of pretrial release as to Lindsey
                            Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
      11/19/2009   248      MOTION Extension to File Motion for New Trial by Lindsey Kent Springer
                            (Springer, Lindsey) Modified on 11/20/2009; This is a two−part motion, see
                            Doc # 249 for second event (tjc, Dpty Clk). (Entered: 11/19/2009)
      11/19/2009   249      MOTION for Judgment of Acquittal (submitted as part of Doc # 248 ) by
                            Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009; ENTERED
                            IN ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)
      11/20/2009            NOTICE of Docket Entry Modification; Error: Document # 248 is a
                            two−part motion, but not all parts were filed; Correction: Filed the
                            remaining motion part as Document # 249 (Re: 248 MOTION Extension to
                            File Motion for New Trial ) as to Lindsey Kent Springer (tjc, Dpty Clk)
                            Modified on 11/20/2009; ENTERED IN ERROR (tjc, Dpty Clk). (Entered:
                            11/20/2009)
      11/20/2009   250      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #248
                            Granted (Re: 248 MOTION Extension to File Motion for New Trial ) as to
                            Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/20/2009)
      11/20/2009   252      RESPONSE in Opposition to Motion (Re: 232 JOINDER in Springer's
                            motion for reconsideration, dismissal, or mistrial (in 224 ), 224 MOTION to
                            Reconsider ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                            (With attachments) (O'Reilly, Charles) (Entered: 11/20/2009)
      11/30/2009            ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                            number 09−5165 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                            11/30/2009)

                                                                                                             25
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 26 of 127



      12/04/2009   256      ORDER from Circuit Court denying petition for writ of mandamus (Re:
                            Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                            12/04/2009)
      12/07/2009   257      REPLY to Response to Motion to Dismiss, Mistrial and Reconsider (Re:
                            224 MOTION to Reconsider ) by Lindsey Kent Springer (With attachments)
                            (Springer, Lindsey) Modified on 12/10/2009 to seal PDF; Document
                            STRICKEN per Order # 264 (tjc, Dpty Clk). (Entered: 12/07/2009) Contains
                            One or More Restricted PDFs
      12/08/2009   259      MOTION to Strike Document(s) (Re: 257 Reply to Response to Motion, 258
                            Reply to Response to Motion ) by USA as to Lindsey Kent Springer, Oscar
                            Amos Stilley (O'Reilly, Charles) (Entered: 12/08/2009)
      12/08/2009   260      MOTION for Judgment of Acquittal by Lindsey Kent Springer (Springer,
                            Lindsey) Modified on 12/10/2009 to seal PDF; Document STRICKEN per
                            Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More
                            Restricted PDFs
      12/08/2009   262      MOTION for New Trial by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 12/08/2009)
      12/09/2009   264      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #259
                            Granted, striking/withdrawing document(s) (Re: 259 MOTION to Strike
                            Document(s), 261 MOTION for Judgment of Acquittal and MOTION for
                            New Trial, 257 Reply to Response to Motion, 258 Reply to Response to
                            Motion, 260 MOTION for Judgment of Acquittal, 262 MOTION for New
                            Trial ) (Documents Terminated: 257 Reply to Response to Motion, 261
                            MOTION for Judgment of Acquittal and MOTION for New Trial, 258
                            Reply to Response to Motion, 260 MOTION for Judgment of Acquittal ) as
                            to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            12/09/2009)
      12/10/2009   265      MOTION to Vacate/Set Aside Order dated December 9, 2009, MOTION
                            Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                            Rules 12.1, MOTION 10 days from date of order to refile docket # 257 and
                            # 260 in accordance with Local Civil Rule 7.2 including extended page
                            number therein (Re: 264 Order,,, Ruling on Motion(s)/Document(s), Ruling
                            on Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                            Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),
                            Striking/Withdrawing Document(s),,, 257 Reply to Response to Motion, 260
                            MOTION for Judgment of Acquittal ) by Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 12/10/2009)
      12/11/2009   266      RESPONSE in Opposition to Motion (Re: 265 MOTION to Vacate/Set
                            Aside Order dated December 9, 2009 MOTION Reinstate Docket # 257 and
                            # 260 as properly filed under Local Criminal Rules 12.1 MOTION 10 days
                            from date of order to refile docket # 257 and # 260 in accordance with Local
                            Civil Rule 7.2 including extended page number therein ) by USA as to
                            Lindsey Kent Springer (With attachments) (O'Reilly, Charles) (Entered:
                            12/11/2009)
      12/28/2009   270      AFFIDAVIT of Lindsey K. Springer pursuant to Title 28, Section 144 as to
                            Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                            12/28/2009)
                                                                                                           26
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 27 of 127



      12/28/2009   271      MOTION Disqualify, Recuse, Removal and for Random Reassignment by
                            Lindsey Kent Springer (Springer, Lindsey) (Entered: 12/28/2009)
      12/28/2009   272      BRIEF in Support of Motion (Re: 271 MOTION Disqualify, Recuse,
                            Removal and for Random Reassignment ) by Lindsey Kent Springer (With
                            attachments) (Springer, Lindsey) (Entered: 12/28/2009)
      12/28/2009   273      MOTION to Strike Document(s) (Re: 266 Response in Opposition to
                            Motion, 259 MOTION to Strike Document(s) ) by Lindsey Kent Springer
                            (Springer, Lindsey) (Entered: 12/28/2009)
      12/28/2009   274      REPLY to Response to Motion (Re: 265 MOTION to Vacate/Set Aside
                            Order dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260
                            as properly filed under Local Criminal Rules 12.1 MOTION 10 days from
                            date of order to refile docket # 257 and # 260 in accordance with Local Civil
                            Rule 7.2 including extended page number therein ) by Lindsey Kent
                            Springer (Springer, Lindsey) (Entered: 12/28/2009)
      12/29/2009   275      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 12/30/2009) Contains
                            One or More Restricted PDFs
      01/07/2010   276      RESPONSE in Opposition to Motion (Re: 262 MOTION for New Trial ) by
                            USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 01/07/2010)
      01/07/2010   277      RESPONSE in Opposition to Motion (Re: 271 MOTION Disqualify,
                            Recuse, Removal and for Random Reassignment ) by USA as to Lindsey
                            Kent Springer (With attachments) (O'Reilly, Charles) (Entered: 01/07/2010)
      01/20/2010   279      MOTION for Leave to Exceed Page Limitation in Reply Regarding
                            Springer's Motion for New Trial, by Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 01/20/2010)
      01/20/2010   280      MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                            Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue (Re: 2
                            Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            01/20/2010)
      01/20/2010   281      BRIEF in Support of Motion (Re: 280 MOTION to Dismiss Count(s) ONE
                            for lack of Article III Subject Matter Jurisdiction, Article III Jurisdiction of
                            the Facts and Article III Venue ) by Lindsey Kent Springer (With
                            attachments) (Springer, Lindsey) (Entered: 01/20/2010)
      01/20/2010   282      MOTION to Dismiss Count(s) Two, Three, Four, Five and Six for Lack of
                            Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts
                            and Article III Venue (Re: 2 Indictment ) by Lindsey Kent Springer
                            (Springer, Lindsey) (Entered: 01/20/2010)
      01/20/2010   283      BRIEF in Support of Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                            Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                            Article III Jurisdiction of the Facts and Article III Venue ) by Lindsey Kent
                            Springer (Springer, Lindsey) (Entered: 01/20/2010)
      01/20/2010   284      MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                            III Standing of United States of America, (2) lack of Article III Case or
                            Controversy, (3) for violation of Title 28, United States Code, Section 547,
                            and accompanying brief in support thereof (Re: 2 Indictment ) by Lindsey

                                                                                                               27
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 28 of 127



                            Kent Springer (Springer, Lindsey) (Entered: 01/20/2010)
      01/21/2010   285      MOTION to Strike Document(s) 276 and 277 (Re: 277 Response in
                            Opposition to Motion, 276 Response in Opposition to Motion ) by Lindsey
                            Kent Springer (Springer, Lindsey) (Entered: 01/21/2010)
      01/21/2010   286      REPLY to Response to Motion (Re: 271 MOTION Disqualify, Recuse,
                            Removal and for Random Reassignment ) by Lindsey Kent Springer
                            (Springer, Lindsey) (Entered: 01/21/2010)
      01/21/2010   287      REPLY (Re: 270 Affidavit ) by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 01/21/2010)
      01/21/2010   288      REPLY to Response to Motion (Re: 262 MOTION for New Trial ) by
                            Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                            01/21/2010)
      01/22/2010   289      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #279
                            Granted (Re: 279 MOTION for Leave to Exceed Page Limitation in Reply
                            Regarding Springer's Motion for New Trial,, 262 MOTION for New Trial )
                            as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 01/22/2010)
      01/22/2010   290      SCHEDULING ORDER by Judge Stephen P Friot, setting/resetting
                            deadline(s)/hearing(s): ( Sentencing set for 4/19/2010 at 10:00 AM before
                            Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                            Dpty Clk) (Entered: 01/22/2010)
      01/25/2010   291      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                            Sentencing set for 4/21/2010 at 10:00 AM before Judge Stephen P Friot)
                            (Re: 290 Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s) ) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            01/25/2010)
      01/27/2010   292      RESPONSE in Opposition to Motion (Re: 282 MOTION to Dismiss
                            Count(s) Two, Three, Four, Five and Six for Lack of Article III Subject
                            Matter Jurisdiction, Article III Jurisdiction of the Facts and Article III
                            Venue, 280 MOTION to Dismiss Count(s) ONE for lack of Article III
                            Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and Article
                            III Venue, 285 MOTION to Strike Document(s) 276 and 277, 284 MOTION
                            to Dismiss Indictment/Information/Complaint for lack of Article III Standing
                            of United States of America, (2) lack of Article III Case or Controversy, (3)
                            for violation of Title 28, United States Code, Section 547, and accompanying
                            brief in MOTION to Dismiss Indictment/Information/Complaint for lack of
                            Article III Standing of United States of America, (2) lack of Article III Case
                            or Controversy, (3) for violation of Title 28, United States Code, Section
                            547, and accompanying brief in ) by USA as to Lindsey Kent Springer
                            (Snoke, Kenneth) (Entered: 01/27/2010)
      01/28/2010   293      OPINION AND ORDER by Judge Stephen P Friot, ruling on
                            motion(s)/document(s): #224,232,262,265,267,271,273,285 Denied (Re: 265
                            MOTION to Vacate/Set Aside Order dated December 9, 2009 MOTION
                            Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                            Rules 12.1 MOTION 10 days from date of order to refile docket # 257 and #
                            260 in accordance with Local Civil Rule 7.2 including extended page
                            number therein, 267 MOTION to Reconsider, 232 JOINDER in Springer's

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 29 of 127



                            motion for reconsideration, dismissal, or mistrial (in 224 ), 262 MOTION
                            for New Trial, 224 MOTION to Reconsider, 273 MOTION to Strike
                            Document(s), 271 MOTION Disqualify, Recuse, Removal and for Random
                            Reassignment, 285 MOTION to Strike Document(s) 276 and 277 ) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                            01/28/2010)
      02/01/2010   295      MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six
                            regarding regulations not in compliance with APA (Re: 2 Indictment ) by
                            Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                            02/01/2010)
      02/03/2010   299      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #296
                            denied (Re: 296 MOTION to Modify Conditions of Pretrial Release ) as to
                            Oscar Amos Stilley (sjm, Dpty Clk) Modified on 2/4/2010 to remove
                            Lindsey Kent Springer from text (lml, Dpty Clk). (Entered: 02/03/2010)
      02/04/2010   302      RESPONSE in Opposition to Motion (Re: 295 MOTION to Dismiss
                            Count(s) One, Two, Three, Four, Five and Six regarding regulations not in
                            compliance with APA ) by USA as to Lindsey Kent Springer (O'Reilly,
                            Charles) (Entered: 02/04/2010)
      02/05/2010   303      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s), Monthly
                            MOTION Stay pending ruling from Supreme Court in 09−8701 and brief by
                            Lindsey Kent Springer (With attachments) (Springer, Lindsey) Modified on
                            2/11/2010 to seal pdf as this document is STRICKEN per 307 (sac, Dpty
                            Clk). (Entered: 02/05/2010) Contains One or More Restricted PDFs
      02/08/2010   304      MOTION to Strike Document(s) (Re: 303 MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                            pending ruling from Supreme Court in 09−8701 and brief ) by USA as to
                            Lindsey Kent Springer (O'Reilly, Charles) Modified on 2/11/2010 to seal pdf
                            as this document is STRICKEN per 307 (sac, Dpty Clk). (Entered:
                            02/08/2010) Contains One or More Restricted PDFs
      02/08/2010   305      MOTION to Withdraw Document(s) (Re: 303 MOTION to
                            Accelerate/Extend/Reset Hearings/Deadlines) as to Lindsey Kent Springer
                            (Springer, Lindsey) Modified on 2/9/2010 to correct title of event (lml, Dpty
                            Clk). (Entered: 02/08/2010)
      02/08/2010   306      MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                            Court in 09−8701 by Lindsey Kent Springer (With attachments) (Springer,
                            Lindsey) (Entered: 02/08/2010)
      02/09/2010            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Notice); Correction: Edited docket text to reflect correct
                            event (Motion to Withdraw Documents) (Re: 305 MOTION to Withdraw
                            Document(s) ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                            02/09/2010)
      02/10/2010   307      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #303
                            Stricken as Moot; #304 Stricken as Moot; #305 Granted,
                            striking/withdrawing document(s) (Re: 304 MOTION to Strike
                            Document(s), 305 MOTION to Withdraw Document(s), 303 MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay

                                                                                                            29
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 30 of 127



                            pending ruling from Supreme Court in 09−8701 and brief ) (Documents
                            Terminated: 303 MOTION to Accelerate/Extend/Reset
                            Hearing(s)/Deadline(s)Monthly MOTION Stay pending ruling from
                            Supreme Court in 09−8701 and brief, 305 MOTION to Withdraw
                            Document(s), 304 MOTION to Strike Document(s) ) as to Lindsey Kent
                            Springer (djh, Dpty Clk) (Entered: 02/10/2010)
      02/10/2010   308      REPLY to Response to Motion (Re: 282 MOTION to Dismiss Count(s)
                            Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                            Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 280
                            MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                            Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 284
                            MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                            III Standing of United States of America, (2) lack of Article III Case or
                            Controversy, (3) for violation of Title 28, United States Code, Section 547,
                            and accompanying brief in MOTION to Dismiss
                            Indictment/Information/Complaint for lack of Article III Standing of United
                            States of America, (2) lack of Article III Case or Controversy, (3) for
                            violation of Title 28, United States Code, Section 547, and accompanying
                            brief in ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            02/10/2010)
      02/12/2010   310      RESPONSE in Opposition to Motion (Re: 306 MOTION Stay all Orders by
                            Judge Friot pending determination by Surpeme Court in 09−8701, 309
                            JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay...,
                            Reply filed on 2/1/10, 2/8/10, 2/10/10) ) by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                            (Entered: 02/12/2010)
      02/18/2010   311      REPLY to Response to Motion (Re: 295 MOTION to Dismiss Count(s)
                            One, Two, Three, Four, Five and Six regarding regulations not in
                            compliance with APA ) by Lindsey Kent Springer (Springer, Lindsey)
                            (Entered: 02/18/2010)
      02/22/2010   312      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #280,
                            282, 284, 306 Denied, #309 Granted (Re: 282 MOTION to Dismiss Count(s)
                            Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                            Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 306
                            MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                            Court in 09−8701, 280 MOTION to Dismiss Count(s) ONE for lack of
                            Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts
                            and Article III Venue, 309 JOINDER (in [295, 306, 308] Motion to
                            dismiss...., Motion for Stay..., Reply filed on 2/1/10, 2/8/10, 2/10/10), 284
                            MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                            III Standing of United States of America, (2) lack of Article III Case or
                            Controversy, (3) for violation of Title 28, United States Code, Section 547,
                            and accompanying brief in MOTION to Dismiss
                            Indictment/Information/Complaint for lack of Article III Standing of United
                            States of America, (2) lack of Article III Case or Controversy, (3) for
                            violation of Title 28, United States Code, Section 547, and accompanying
                            brief in ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                            (Entered: 02/22/2010)


                                                                                                             30
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 31 of 127



      02/23/2010   313      ORDER by Judge Stephen P Friot re: consideration of non−standard
                            conditions of supervised release as to Lindsey Kent Springer, Oscar Amos
                            Stilley (pll, Dpty Clk) (Entered: 02/23/2010)
      02/25/2010   314      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #295
                            Denied (Re: 295 MOTION to Dismiss Count(s) One, Two, Three, Four, Five
                            and Six regarding regulations not in compliance with APA ) as to Lindsey
                            Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 02/25/2010)
      03/16/2010   315      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 03/16/2010) Contains
                            One or More Restricted PDFs
      03/25/2010   316      ORDER by Judge Stephen P Friot, ruling re: modification of conditions of
                            pretrial release as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                            Clk) Modified on 3/25/2010 to add PDF (pll, Dpty Clk). (Entered:
                            03/25/2010)
      03/25/2010   317      NOTICE of Docket Entry Modification; Error: Document not attached;
                            Correction: Attached document and included here (Re: 316 Order, Ruling
                            Re: Modification of Conditions of Pretrial Release ) as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/25/2010)
      03/30/2010   318      NOTICE Regarding Defendants' Reference to Variance in Objections to
                            PSIR by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly,
                            Charles) (Entered: 03/30/2010)
      03/30/2010   319      EXHIBIT LIST and Witness List for Sentencing by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                            (Entered: 03/30/2010)
      03/30/2010   321      SENTENCING MEMORANDUM as to Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 03/31/2010)
      04/04/2010   322      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance
                            of Sentencing (Re: 290 Scheduling Order, Setting/Resetting
                            Deadline(s)/Hearing(s), 291 Order,, Setting/Resetting
                            Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),, ) by
                            Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                            04/04/2010)
      04/05/2010   323      RESPONSE in Opposition to Motion (Re: 322 MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of Sentencing
                            MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance
                            of Sentencing ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                            (Entered: 04/05/2010)
      04/05/2010   324      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #322
                            denied (Re: 322 MOTION to Accelerate/Extend/Reset
                            Hearing(s)/Deadline(s) Continuance of Sentencing MOTION to
                            Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of Sentencing
                            ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 04/05/2010)
      04/06/2010   325      EXHIBIT LIST as to Lindsey Kent Springer (Springer, Lindsey) Modified
                            on 4/7/2010; This is a multi−event document, see Document # 327 for
                            second event (tjc, Dpty Clk). (Entered: 04/06/2010)

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 32 of 127



      04/06/2010   327      WITNESS LIST (submitted as part of Doc # 325 ) as to Lindsey Kent
                            Springer (tjc, Dpty Clk) (Entered: 04/07/2010)
      04/07/2010            NOTICE of Docket Entry Modification; Error: This is a multi−event
                            document, which is not allowed in CM/ECF; Correction: Filed the remaining
                            event (Witness List) as Document # 327 (Re: 325 Exhibit List ) as to
                            Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 04/07/2010)
      04/09/2010   331      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #326
                            Denied (Re: 326 MOTION to Accelerate/Extend/Reset
                            Hearing(s)/Deadline(s) to continue sentencing until proper notice has been
                            given ) as to Oscar Amos Stilley Modified on 4/23/2010 to show Oscar
                            Amos Stilley as single filer(cds, Dpty Clk). (Entered: 04/09/2010)
      04/09/2010   332      REPLY (Re: 321 Sentencing Memorandum ) by USA as to Lindsey Kent
                            Springer (O'Reilly, Charles) (Entered: 04/09/2010)
      04/16/2010   333      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 04/16/2010) Contains
                            One or More Restricted PDFs
      04/23/2010   336      MINUTES of Proceedings − held before Judge Stephen P Friot: Sentencing
                            held on 4/23/2010, striking/terminating deadline(s)/hearing(s) as to Lindsey
                            Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne)
                            (With attachments) (pll, Dpty Clk) (Entered: 04/28/2010)
      04/23/2010   339      MOTION for Stay of Execution of Sentence, MOTION for Release Pending
                            Appeal by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
      04/23/2010   340      NOTICE OF APPEAL to Circuit Court (Re: 337 Judgment and
                            Commitment, Entering Judgment ) as to Lindsey Kent Springer (s−srl, Dpty
                            Clk) (Entered: 04/29/2010)
      04/23/2010   341      APPEAL FEES Paid in Full (Re: 340 Notice of Appeal to Circuit Court ) by
                            Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
      04/23/2010            ***Remark: appeal forms given (Re: 340 Notice of Appeal to Circuit Court )
                            as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
      04/27/2010   334      ORDER by Judge Stephen P Friot entered without prejudice to the right of
                            standby counsel to apply for compensation for their services, terminating
                            attorney Charles Robert Burton, IV and Robert Scott Williams as to Lindsey
                            Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered: 04/27/2010)
      04/27/2010   335      ***Remark: Order [Dkt. #334] mailed to each defendant c/o David L. Moss
                            Correctional Center, 300 N. Denver Ave., Tulsa, OK 74103 (Re: 334 Order,,
                            Adding/Terminating Attorney(s), Adding/Terminating Attorney(s) ) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered:
                            04/27/2010)
      04/28/2010   337      JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                            judgment as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/28/2010)
      04/29/2010   342      PRELIMINARY RECORD Sent to Circuit Court (Re: 340 Notice of Appeal
                            to Circuit Court ) as to Lindsey Kent Springer (With attachments) (s−srl,
                            Dpty Clk) (Entered: 04/29/2010)
      04/29/2010   343
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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 33 of 127



                            MOTION Transcript at Public Expense by Lindsey Kent Springer (With
                            attachments) (Springer, Lindsey) (Entered: 04/29/2010)
      04/29/2010   344      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                            Number 10−5055 (#340) (Re: 340 Notice of Appeal to Circuit Court ) as to
                            Lindsey Kent Springer (sam, Dpty Clk) (Entered: 04/29/2010)
      04/30/2010   345      MOTION Amended Request For Stay of Execution of Sentence and
                            Judgement and Appeal Bond Pending Appeal (Re: 337 Judgment and
                            Commitment, Entering Judgment ) by Lindsey Kent Springer (Springer,
                            Lindsey) Modified on 5/3/2010 to seal PDF; Document STRICKEN per
                            Order # 352 (tjc, Dpty Clk). (Entered: 04/30/2010) Contains One or More
                            Restricted PDFs
      04/30/2010   346      ORDER by Judge Stephen P Friot re: mailing addresses as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/30/2010)
      04/30/2010   347      MOTION to Strike Document(s) (Re: 345 MOTION Amended Request For
                            Stay of Execution of Sentence and Judgement and Appeal Bond Pending
                            Appeal ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                            04/30/2010)
      04/30/2010   350      RESPONSE in Support of Motion (Re: 343 MOTION Transcript at Public
                            Expense ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                            04/30/2010)
      04/30/2010   351      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #343
                            Granted (Re: 343 MOTION Transcript at Public Expense ) as to Lindsey
                            Kent Springer (pll, Dpty Clk) (Entered: 04/30/2010)
      04/30/2010   352      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re:
                            345 MOTION Amended Request For Stay of Execution of Sentence and
                            Judgement and Appeal Bond Pending Appeal ) (Documents Terminated: 345
                            MOTION Amended Request For Stay of Execution of Sentence and
                            Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                            (pll, Dpty Clk) (Entered: 04/30/2010)
      04/30/2010   354      MOTION for Leave to Exceed Page Limitation For Leave by Lindsey Kent
                            Springer (With attachments) (Springer, Lindsey) (Entered: 04/30/2010)
      05/03/2010   356      RESPONSE in Opposition to Motion (Re: 354 MOTION for Leave to
                            Exceed Page Limitation For Leave ) by USA as to Lindsey Kent Springer
                            (O'Reilly, Charles) (Entered: 05/03/2010)
      05/03/2010   357      RESPONSE (Re: 339 MOTION for Stay of Execution of Sentence
                            MOTION for Release Pending Appeal ) by USA as to Lindsey Kent
                            Springer (O'Reilly, Charles) (Entered: 05/03/2010)
      05/03/2010   358      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #354
                            Granted (Re: 354 MOTION for Leave to Exceed Page Limitation For Leave,
                            345 MOTION Amended Request For Stay of Execution of Sentence and
                            Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                            (pll, Dpty Clk) (Entered: 05/03/2010)
      05/03/2010   359      MOTION For Stay Of Judgement (Re: 339 MOTION for Stay of Execution
                            of Sentence MOTION for Release Pending Appeal ) by Lindsey Kent

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 34 of 127



                            Springer (Springer, Lindsey) Modified on 5/4/2010; this is a two−part
                            motion of which only one part was efiled − see 360 for Motion for Release
                            Pending Appeal (sac, Dpty Clk). (Entered: 05/03/2010)
      05/03/2010   360      MOTION for Release Pending Appeal (submitted as part of 359 ) by
                            Lindsey Kent Springer (sac, Dpty Clk) (Entered: 05/04/2010)
      05/04/2010            NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                            which only one part was efiled; Correction: efiled second part of motion −
                            see 360 (Re: 359 MOTION for Stay Of Judgement ) as to Lindsey Kent
                            Springer (sac, Dpty Clk) (Entered: 05/04/2010)
      05/06/2010   361      RESPONSE in Opposition to Motion (Re: 359 MOTION for Stay Of
                            Judgement ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                            (Entered: 05/06/2010)
      05/06/2010   362      ORDER from Circuit Court partially consolidating appeals (Re: 348 Notice
                            of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered:
                            05/06/2010)
      05/07/2010   363      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #359,
                            360 Denied (Re: 360 MOTION for Release Pending Appeal (submitted as
                            part of 359 ), 359 MOTION for Stay Of Judgement ) as to Lindsey Kent
                            Springer (pll, Dpty Clk) (Entered: 05/07/2010)
      05/09/2010   364      MOTION For Delivery of Filed Documents by Lindsey Kent Springer
                            (Springer, Lindsey) (Entered: 05/09/2010)
      05/24/2010   365      TRANSCRIPT ORDER FORM as to Lindsey Kent Springer (With
                            attachments) (Springer, Lindsey) Modified on 5/25/2010 to seal the pdf as it
                            is not fully executed and should have been submitted to the court reporter
                            (sac, Dpty Clk). (Entered: 05/24/2010) Contains One or More Restricted
                            PDFs
      05/25/2010            NOTICE of Docket Entry Modification; Error: this document should have
                            been submitted to the court reporter; Correction: notified Lindsey Springer
                            that this document must first be submitted to the court reporter and that the
                            court reporter will file it of record once it is fully executed (Re: 365
                            Transcript Order Form ) as to Lindsey Kent Springer (sac, Dpty Clk)
                            (Entered: 05/25/2010)
      05/28/2010   366      MOTION to Unseal Document(s) (Re: 203 Sealed Order, 186 Sealed Order,
                            181 SEALED MOTION, 182 Sealed Document, 202 SEALED MOTION )
                            by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                            (Entered: 05/28/2010)
      06/01/2010   367      DESIGNATION of Record on Appeal (Re: 340 Notice of Appeal to Circuit
                            Court ) as to Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                            (Entered: 06/01/2010)
      06/01/2010   368      MOTION to Reconsider Release Pending Appeal (Re: 363 Order, Ruling on
                            Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer, Lindsey)
                            Modified on 6/2/2010; This is two−part motion, see Doc # 369 for second
                            event (tjc, Dpty Clk). (Entered: 06/01/2010)

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 35 of 127



      06/01/2010   369      MOTION for Hearing (submitted as part of Doc # 368 ) by Lindsey Kent
                            Springer (tjc, Dpty Clk) (Entered: 06/02/2010)
      06/02/2010            NOTICE of Docket Entry Modification; Error: Document # 368 is a
                            two−part motion, but not all parts were filed; Correction: Filed the
                            remaining motion part as Document # 369 (Re: 368 MOTION to Reconsider
                            Release Pending Appeal ) as to Lindsey Kent Springer (tjc, Dpty Clk)
                            (Entered: 06/02/2010)
      06/03/2010   370      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #366
                            Granted, unsealing document(s) (Re: 366 MOTION to Unseal Document(s),
                            182 Sealed Document, 186 Sealed Order, 203 Sealed Order, 181 SEALED
                            MOTION, 202 SEALED MOTION ) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (pll, Dpty Clk) (Entered: 06/03/2010)
      06/04/2010   371      Amended MOTION to Reconsider Re: 369 MOTION for Hearing
                            (submitted as part of Doc # 368 ), 368 MOTION to Reconsider Release
                            Pending Appeal ) by Lindsey Kent Springer (Springer, Lindsey) Modified
                            on 6/7/2010 to correct event; also this is two−part motion, see Document #
                            372 for second event (tjc, Dpty Clk). (Entered: 06/04/2010)
      06/04/2010   372      Amended MOTION for Hearing re: Evidentiary (submitted as part of Doc #
                            371 ) by Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 06/07/2010)
      06/07/2010            NOTICE of Docket Entry Modification; Error: This was filed using the
                            incorrect event (Motion to Amend) and Document # 371 is a two−part
                            motion, but not all parts were filed; Correction: Edited docket text to reflect
                            the correct event and filed the remaining motion part as Document # 372
                            (Re: 371 MOTION to Reconsider ) as to Lindsey Kent Springer (tjc, Dpty
                            Clk) (Entered: 06/07/2010)
      06/08/2010   373      MOTION to Withdraw Attorney(s) Kenneth P. Snoke by USA as to Lindsey
                            Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                            06/08/2010)
      06/08/2010   374      ORDER by Judge Stephen P Friot, terminating attorney Kenneth P Snoke,
                            ruling on motion(s)/document(s): #373 Granted (Re: 373 MOTION to
                            Withdraw Attorney(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley
                            (pll, Dpty Clk) (Entered: 06/08/2010)
      06/08/2010   375      RESPONSE in Opposition to Motion (Re: 371 MOTION to Reconsider, 368
                            MOTION to Reconsider Release Pending Appeal ) by USA as to Lindsey
                            Kent Springer (O'Reilly, Charles) (Entered: 06/08/2010)
      06/08/2010   376      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #364
                            moot (Re: 364 MOTION For Delivery of Filed Documents ) as to Lindsey
                            Kent Springer (pll, Dpty Clk) (Entered: 06/08/2010)
      06/08/2010   377      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #368,
                            369, 371, 372 Denied (Re: 369 MOTION for Hearing (submitted as part of
                            Doc # 368 ), 371 MOTION to Reconsider, 372 Amended MOTION for
                            Hearing re: Evidentiary (submitted as part of Doc # 371 ), 368 MOTION to
                            Reconsider Release Pending Appeal ) as to Lindsey Kent Springer (pll, Dpty
                            Clk) (Entered: 06/08/2010)
      06/09/2010   378
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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 36 of 127



                            TRANSCRIPT ORDER FORM (Transcripts ordered from Tracy
                            Washbourne) (Re: 340 Notice of Appeal to Circuit Court ) as to Lindsey
                            Kent Springer (s−srl, Dpty Clk) (Entered: 06/09/2010)
      06/10/2010   379      MINUTE ORDER by Court Clerk, directing Jerold W. Barringer to file by
                            July 1, 2010 a Motion for Admission Pro Hac Vice per Local Civil Rule
                            83.2. Additionally, if you intend to practice in this district in the future and
                            want to become a member of this district, please submit an application for
                            attorney admission. as to Lindsey Kent Springer, Oscar Amos Stilley (lal,
                            Dpty Clk) (Entered: 06/10/2010)
      06/16/2010   380      Supplemental CERTIFICATE of Service Due to Returned Mail (Re: 375
                            Response in Opposition to Motion, 373 MOTION to Withdraw Attorney(s),
                            366 MOTION to Unseal Document(s) ) by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/16/2010)
      06/16/2010            MAIL to Oscar Amos Stilley, David L. Moss Criminal Justice Center, 300 N
                            Denver, Tulsa, OK 74103 Returned − marked Return to Sender − not in
                            custody. Remailed on 06/17/10 to FCI Forrest City Low, PO Box 9000,
                            Forrest City, AR 72336 − New address obtained from BOP Website. (Re:
                            376 Order, Ruling on Motion(s)/Document(s), 377 Order,, Ruling on
                            Motion(s)/Document(s), Ruling on Motion(s)/Document(s), 374 Order,
                            Adding/Terminating Attorney(s), Ruling on Motion(s)/Document(s) ) as to
                            Oscar Amos Stilley (sdc, Dpty Clk) Modified on 6/18/2010 to remove
                            additional Defendant (sdc, Dpty Clk). (Entered: 06/17/2010)
      07/07/2010   381      ORDER by Judge Stephen P Friot − Certificate pursuant to 18 USC
                            3006A(d)(3) re: CJA voucher as to Lindsey Kent Springer (pll, Dpty Clk)
                            (Entered: 07/07/2010)
      07/12/2010   382      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                            04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 132). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal 43 Minutes of Motion Hearing, Minutes of Scheduling
                            Conference, Ruling on Motion(s)/Document(s), Taking Motion(s) Under
                            Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent
                            Springer, Oscar Amos Stilley (sam, Dpty Clk). Modified on 7/13/2010 to
                            create link to 340 (sac, Dpty Clk). Modified on 10/14/2010 to remove
                            transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   383      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                            07/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 159). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 37 of 127



                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 100 Minutes of Motion Hearing,
                            Ruling on Motion(s)/Document(s), Striking/Terminating
                            Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley
                            (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript access
                            restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   384      TRANSCRIPT of Proceedings (Unredacted) of Pretrial Hearing held on
                            10/21/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 139). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 207 Minutes of Motion Hearing,
                            Minutes of Pretrial Conference, Ruling on Motion(s)/Document(s),
                            Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                            transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   385      TRANSCRIPT of Proceedings (Unredacted) of Voir Dire and Jury Trial held
                            on 10/26/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne)(Pages: 1 to 242)(Re: 217 Minutes of Jury Trial Begun, 340
                            Notice of Appeal to Circuit Court, 218 Minutes of Jury Trial Held,
                            Setting/Resetting Scheduling Order Date(s), 216 Minutes of Voir Dire/Jury
                            Selection Held) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty
                            Clk)(See Court Clerk to view this transcript) Modified on 7/13/2010 to
                            include that Voir Dire is included in this transcript (sac, Dpty Clk). (Entered:
                            07/12/2010) Contains One or More Restricted PDFs
      07/12/2010   386      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            10/27/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 243 to 515). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 221 Minutes of Jury Trial Held,
                            Ruling on Motion(s)/Document(s)) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   387      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            10/28/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 516 to 640). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 38 of 127



                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            222 Minutes of Jury Trial Held, Setting/Resetting Deadline(s)/Hearing(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   388      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            10/29/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 641 to 880). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 223 Minutes of Jury Trial Held,
                            Ruling on Motion(s)/Document(s), Setting/Resetting Scheduling Order
                            Date(s)) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk)
                            Modified on 10/15/2010 to remove transcript access restriction (a−hc, Dpty
                            Clk). (Entered: 07/12/2010)
      07/12/2010   389      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            10/30/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 881 to 1130). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            229 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   390      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 1131 to 1327). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            230 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                            340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   391      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/03/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 1328 to 1608). NOTICE RE REDACTION OF

                                                                                                           38
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 39 of 127



                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 231 Minutes of Jury Trial Held,
                            Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                            transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   392      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/04/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 1609 to 1934). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            233 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   393      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/05/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 1935 to 2202). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 234 Minutes of Jury Trial Held,
                            Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                            transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   394      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/09/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 2203 to 2454). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            239 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)


                                                                                                           39
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 40 of 127



      07/12/2010   395      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/10/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 2455 to 2669). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            240 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   396      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/12/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 2670 to 2949). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            241 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   397      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/13/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 2950 to 3056). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 242 Minutes of Jury Trial Held,
                            Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                            transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   398      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                            11/16/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 3057 to 3090). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            340 Notice of Appeal to Circuit Court, 243 Minutes of Jury Trial
                            Completed, Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey
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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 41 of 127



                            Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                            to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                            07/12/2010)
      07/12/2010   399      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                            04/21/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 1 to 210). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            336 Minutes of Sentencing, Striking/Terminating Deadline(s)/Hearing(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   400      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                            04/22/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 211 to 390). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            336 Minutes of Sentencing, Striking/Terminating Deadline(s)/Hearing(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/12/2010   401      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                            04/23/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                            Washbourne) (Pages: 391 to 469). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            336 Minutes of Sentencing, Striking/Terminating Deadline(s)/Hearing(s),
                            340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                            access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
      07/13/2010   402      MOTION for Writ of Error Coram Nobis by Lindsey Kent Springer (s−srt,
                            Dpty Clk) (Entered: 07/14/2010)
      07/13/2010   403      MOTION for Appointment of Counsel Regarding Motion for Writ of Error
                            Coram Nobis by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                            07/14/2010)
      07/13/2010   404
                                                                                                           41
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 42 of 127



                            BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error Coram
                            Nobis ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
      07/13/2010   405      MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                            (s−srt, Dpty Clk) (Entered: 07/14/2010)
      07/13/2010   406      AFFIDAVIT of Lindsey Kent Springer (titled "Declaration") as to Lindsey
                            Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
      07/13/2010   407      CERTIFICATE of Service (Re: 405 MOTION for Leave to Exceed Page
                            Limitation, 402 MOTION for Writ of Error Coram Nobis, 404 Brief in
                            Support of Motion, 403 MOTION for Appointment of Counsel Regarding
                            Motion for Writ of Error Coram Nobis, 406 Affidavit ) as to Lindsey Kent
                            Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
      07/15/2010            MAIL to Oscar Amos Stilley, David L. Moss Criminal Justic Center, 300 N
                            Denver, Tulsa OK 74103 Returned − marked return to sender − not in
                            custody. Remailed on 7/15/10 − FCI Forrest City Low, PO Box 9000,
                            Forrest City, AR 72336. (Re: 379 Order, Directing Attorney to File PHV
                            Motion,, ) as to Oscar Amos Stilley (sdc, Dpty Clk) Modified on 7/16/2010
                            ro remove reference to Lindsey Springer (sdc, Dpty Clk). (Entered:
                            07/15/2010)
      07/16/2010   408      MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                            (sdc, Dpty Clk) (Entered: 07/16/2010)
      07/16/2010   409      Second BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error
                            Coram Nobis ) by Lindsey Kent Springer (With attachments) (sdc, Dpty
                            Clk) (Entered: 07/16/2010)
      07/16/2010   410      CERTIFICATE of Service (Re: 408 MOTION for Leave to Exceed Page
                            Limitation, 409 Brief in Support of Motion ) as to Lindsey Kent Springer
                            (sdc, Dpty Clk) (Entered: 07/16/2010)
      07/16/2010   411      RESPONSE in Opposition to Motion (Re: 405 MOTION for Leave to
                            Exceed Page Limitation, 402 MOTION for Writ of Error Coram Nobis, 403
                            MOTION for Appointment of Counsel Regarding Motion for Writ of Error
                            Coram Nobis, 408 MOTION for Leave to Exceed Page Limitation ) by USA
                            as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 07/16/2010)
      07/26/2010   412      RECORD on Appeal Sent to Circuit Court (Record includes: 4 volumes)
                            (Re: 348 Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit
                            Court ) as to Lindsey Kent Springer, Oscar Amos Stilley (With attachments)
                            (s−srt, Dpty Clk) (Entered: 07/26/2010)
      07/29/2010   413      NOTICE of Change of Address by Lindsey Kent Springer, Lindsey K
                            Springer as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                            07/29/2010)
      07/29/2010   414      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                            transcripts by Lindsey Kent Springer (s−srt, Dpty Clk) Modified on
                            11/9/2010; Document STRICKEN per Order # 427 (tjc, Dpty Clk). (Entered:
                            07/29/2010)
      07/29/2010   415      REPLY to Response to Motion (Re: 402 MOTION for Writ of Error Coram
                            Nobis ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/29/2010)

                                                                                                          42
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 43 of 127



      08/11/2010   416      MOTION for Release, MOTION for Stay of Judgment Pending Ruling on
                            Motion for Writ of Coram Nobis, MOTION for Hearing by Lindsey Kent
                            Springer (s−srt, Dpty Clk) (Entered: 08/13/2010)
      08/13/2010   417      ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                            number 10−5101 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                            08/16/2010)
      08/30/2010   419      RESPONSE in Opposition to Motion (Re: 416 MOTION for Release
                            MOTION for Stay of Judgment Pending Ruling on Motion for Writ of
                            Coram Nobis MOTION for Hearing ) by USA as to Lindsey Kent Springer
                            (O'Reilly, Charles) (Entered: 08/30/2010)
      08/31/2010            ***Remark: rec'd 10th Circuit Entry of Appearance, Motion for Informa
                            Pauperis, and Petition for Writ of Error Coram Nobis of Mandamas −
                            forwarded to 10th Circuit as to Lindsey Kent Springer (s−srt, Dpty Clk)
                            (Entered: 08/31/2010)
      09/09/2010   420      REPLY to Response to Motion (Re: 416 MOTION for Release MOTION
                            for Stay of Judgment Pending Ruling on Motion for Writ of Coram Nobis
                            MOTION for Hearing ) by Lindsey Kent Springer (s−srt, Dpty Clk)
                            (Entered: 09/09/2010)
      09/09/2010   421      ATTORNEY APPEARANCE by Jeffrey Andrew Gallant on behalf of USA
                            (Gallant, Jeffrey) (Entered: 09/09/2010)
      09/13/2010   422      TRANSCRIPT of Proceedings (Unredacted) of Miscellaneous Hearing held
                            on 03/30/2009 before Magistrate Judge Paul J Cleary (Court Reporter: Tracy
                            Washbourne) (Pages: 1−36). NOTICE RE REDACTION OF
                            TRANSCRIPTS: A party must file a Transcript Redaction Request within
                            21 calendar days. If a party fails to request redaction, this unredacted
                            transcript may be made electronically available to the public without
                            redaction after 90 calendar days. Any party needing a copy of the transcript
                            to review for redaction purposes may view the transcript at the court public
                            terminal at no charge or may purchase a copy from the court reporter. (Re:
                            23 Minutes of Miscellaneous Hearing, Ruling on Motion(s)/Document(s),
                            Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                            Oscar Amos Stilley (sam, Dpty Clk) Modified on 12/20/2010 to remove
                            transcript access restriction (a−hc, Dpty Clk). (Entered: 09/13/2010)
      10/22/2010   423      ORDER from Circuit Court denying petition for writ of mandamus (Re: 417
                            Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                            10/25/2010)
      11/01/2010   424      MOTION for Release Pending Appeal, MOTION to Reconsider (Re: 377
                            Order,, Ruling on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), 363 Order, Ruling on Motion(s)/Document(s) ) by
                            Lindsey Kent Springer (s−srt, Dpty Clk) Modified on
                            11/3/2010−STRICKEN PER ORDER # 426 (lml, Dpty Clk). (Entered:
                            11/01/2010)
      11/01/2010   425      BRIEF in Support of Motion (Re: 424 MOTION for Release Pending
                            Appeal MOTION to Reconsider ) by Lindsey Kent Springer (s−srt, Dpty
                            Clk) Modified on 11/3/2010−STRICKEN PER ORDER # 426 (lml, Dpty
                            Clk). (Main Document 425 replaced on 2/11/2011) (lml, Dpty Clk).

                                                                                                           43
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 44 of 127



                            (Entered: 11/01/2010)
      11/02/2010   426      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re:
                            425 Brief in Support of Motion, 424 MOTION for Release Pending Appeal
                            MOTION to Reconsider, 377 Order,, Ruling on Motion(s)/Document(s),
                            Ruling on Motion(s)/Document(s), 363 Order, Ruling on
                            Motion(s)/Document(s) ) (Documents Terminated: 424 MOTION for
                            Release Pending Appeal MOTION to Reconsider, 425 Brief in Support of
                            Motion ) as to Lindsey Kent Springer (cds, Dpty Clk) (Entered: 11/02/2010)
      11/08/2010   427      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #405,
                            408 granted, #402, 403, 416 denied, striking/withdrawing document(s) (Re:
                            405 MOTION for Leave to Exceed Page Limitation, 402 MOTION for Writ
                            of Error Coram Nobis, 403 MOTION for Appointment of Counsel
                            Regarding Motion for Writ of Error Coram Nobis, 408 MOTION for Leave
                            to Exceed Page Limitation, 416 MOTION for Release MOTION for Stay of
                            Judgment Pending Ruling on Motion for Writ of Coram Nobis MOTION for
                            Hearing, 414 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                            to proof transcripts, 409 Brief in Support of Motion ) (Documents
                            Terminated: 414 MOTION to Accelerate/Extend/Reset
                            Hearing(s)/Deadline(s) to proof transcripts ) as to Lindsey Kent Springer
                            (pll, Dpty Clk) (Entered: 11/08/2010)
      11/17/2010   428      NOTICE OF APPEAL to Circuit Court (Re: 426 Order,
                            Striking/Withdrawing Document(s),,, Striking/Withdrawing Document(s),
                            427 Order, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                            Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                            Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                            Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                            Document(s), ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                            11/19/2010)
      11/19/2010            ***Remark: Per 10th Circuit this is new Notice of Appeal (Re: 428 Notice
                            of Appeal to Circuit Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk)
                            (Entered: 11/19/2010)
      11/19/2010            ***Remark: appeal forms mailed (Re: 428 Notice of Appeal to Circuit
                            Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 11/19/2010)
      11/19/2010   429      PRELIMINARY RECORD Sent to Circuit Court (Re: 428 Notice of Appeal
                            to Circuit Court, ) as to Lindsey Kent Springer (With attachments) (s−srt,
                            Dpty Clk) (Entered: 11/19/2010)
      11/19/2010   430      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                            Number 10−5156 (#428) (Re: 428 Notice of Appeal to Circuit Court, ) as to
                            Lindsey Kent Springer (sam, Dpty Clk) (Entered: 11/22/2010)
      12/20/2010   431      TRANSCRIPT ORDER FORM (Transcripts are not necessary or are already
                            on file ) (Re: 428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent
                            Springer (s−srt, Dpty Clk) (Entered: 12/20/2010)
      12/20/2010   432      DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal to Circuit
                            Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 12/20/2010)
      12/21/2010   433      MINUTE ORDER by Court Clerk, Having reviewed the docket entry and/or

                                                                                                           44
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 45 of 127



                            PDF for Dkt # 432, the Court has determined that the designated docket
                            sheet was not attached to the pleading. Attorney Jerold Barringer is hereby
                            directed to re−file an Amended Designation of Record on Appeal with the
                            designated docket sheet attached within 24 hours. (Re: 432 Designation of
                            Record on Appeal ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                            12/21/2010)
      12/28/2010   434      LETTER from Circuit Court regarding 1st request for record (Re: 428
                            Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer (sam, Dpty
                            Clk) (Entered: 12/28/2010)
      01/03/2011   435      Amended DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal
                            to Circuit Court, ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                            01/04/2011)
      01/06/2011   436      RECORD on Appeal Sent to Circuit Court (Record includes: 2 Volumes)
                            (Re: 428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer
                            (With attachments) (sdc, Dpty Clk) (Entered: 01/06/2011)
      02/16/2011   437      MOTION for Leave to Exceed Page Limitation by Lindsey K Springer as to
                            Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)
      02/16/2011   438      MOTION for New Trial by Lindsey K Springer as to Lindsey Kent Springer
                            (sdc, Dpty Clk) (Entered: 02/16/2011)
      02/16/2011   439      MOTION for Hearing (Re: 438 MOTION for New Trial ) by Lindsey K
                            Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)
      02/16/2011   440      BRIEF in Support of Motion (Re: 438 MOTION for New Trial ) by Lindsey
                            K Springer as to Lindsey Kent Springer (With attachments) (sdc, Dpty Clk)
                            Original Electronic Image reflects illegible pages on paper copy provided to
                            the Court (lml, Dpty Clk). (Entered: 02/17/2011)
      02/18/2011   441      RESPONSE in Opposition to Motion (Re: 438 MOTION for New Trial, 439
                            MOTION for Hearing, 437 MOTION for Leave to Exceed Page Limitation )
                            by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                            02/18/2011)
      02/22/2011   442      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #437
                            Granted, setting/resetting deadline(s)/hearing(s): ( Miscellaneous Deadline
                            set for 3/15/2011) (Re: 437 MOTION for Leave to Exceed Page Limitation,
                            438 MOTION for New Trial, 439 MOTION for Hearing ) as to Lindsey
                            Kent Springer (cds, Dpty Clk) (Entered: 02/22/2011)
      03/14/2011   445      REPLY to Response to Motion (Re: 439 MOTION for Hearing ) by Lindsey
                            K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                            03/15/2011)
      03/17/2011   446      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #438
                            denied, #439 denied (Re: 438 MOTION for New Trial, 439 MOTION for
                            Hearing ) as to Lindsey Kent Springer (djh, Dpty Clk) (Entered: 03/17/2011)
      03/28/2011   447      NOTICE OF APPEAL to Circuit Court (Re: 446 Order, Ruling on
                            Motion(s)/Document(s) ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                            (Entered: 03/29/2011)


                                                                                                           45
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 46 of 127



      03/28/2011   448      ***Remark: appeal forms sent (Re: 447 Notice of Appeal to Circuit Court )
                            as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/29/2011)
      03/29/2011   449      PRELIMINARY RECORD Sent to Circuit Court (Re: 447 Notice of Appeal
                            to Circuit Court ) as to Lindsey Kent Springer (With attachments) (sdc, Dpty
                            Clk) (Entered: 03/29/2011)
      04/15/2011   452      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                            Number 11−5053 (#447) (Re: 447 Notice of Appeal to Circuit Court ) as to
                            Lindsey Kent Springer (sam, Dpty Clk) (Entered: 04/18/2011)
      05/16/2011   456      MOTION for Leave to Appeal in Forma Pauperis (Re: 447 Notice of Appeal
                            to Circuit Court ) by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered:
                            05/16/2011)
      05/16/2011   457      SUPPLEMENT (Re: 456 MOTION for Leave to Appeal in Forma Pauperis )
                            as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 05/16/2011)
      05/17/2011   458      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #456
                            Granted (Re: 447 Notice of Appeal to Circuit Court, 456 MOTION for
                            Leave to Appeal in Forma Pauperis ) as to Lindsey Kent Springer (pll, Dpty
                            Clk) (Entered: 05/17/2011)
      06/13/2011   459      RECORD on Appeal Sent to Circuit Court (Record includes: 1 Volume)
                            (Re: 447 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer
                            (With attachments) (sdc, Dpty Clk) (Entered: 06/13/2011)
      10/26/2011   460      DECISION from Circuit Court affirming the Decision of the District Court
                            (awaiting mandate) (Re: 348 Notice of Appeal to Circuit Court, 428 Notice
                            of Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court, 340
                            Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar
                            Amos Stilley (sdc, Dpty Clk) (Entered: 10/26/2011)
      12/06/2011   461      MANDATE from Circuit Court (Re: 460 Decision from Circuit Court, 428
                            Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as
                            to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 12/06/2011)
      12/06/2011   462      MANDATE from Circuit Court (Re: 460 Decision from Circuit Court, 447
                            Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty
                            Clk) (Entered: 12/06/2011)
      05/04/2012   464      LETTER from Circuit Court stating that the Petition for Writ of Certiorari
                            has been filed (U.S. Supreme Court Case Number: 11−10096) (Re: 428
                            Notice of Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court,
                            340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (s−srt,
                            Dpty Clk) (Entered: 05/04/2012)
      06/04/2012   468      LETTER from Circuit Court stating that the Petition for Writ of Certiorari
                            has been denied (U.S. Supreme Court Case Number: 11−10096) (Re: 428
                            Notice of Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court,
                            340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc,
                            Dpty Clk) (Entered: 06/04/2012)
      01/02/2013   469      Letter requesting forms (2255 forms packet and local civil rules sent) by
                            Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                            01/03/2013)

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 47 of 127



      01/02/2013   470       MOTION for Leave to Exceed Page Limitation and Brief to Accompany
                             Motion for Relief Under 2255 by Lindsey K Springer as to Lindsey Kent
                             Springer (sdc, Dpty Clk) (Entered: 01/03/2013)
      01/04/2013   471       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #470
                             Denied (Re: 470 MOTION for Leave to Exceed Page Limitation and Brief to
                             Accompany Motion for Relief Under 2255 ) as to Lindsey Kent Springer (pll,
                             Dpty Clk) (Entered: 01/04/2013)
      03/11/2013   472       MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 by
                             Lindsey K Springer as to Lindsey Kent Springer (s−srt, Dpty Clk)
                             Civil case 4:13−cv−00145 opened. (Entered: 03/12/2013)
      03/11/2013   473       BRIEF in Support of Motion (Re: 472 MOTION to Vacate/Set
                             Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to
                             Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
      03/11/2013   474       AFFIDAVIT in Support of Motion (Re: 472 MOTION to Vacate/Set
                             Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to
                             Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
      03/11/2013   475       CERTIFICATE of Service (Re: 474 Affidavit in Support of Motion, 473
                             Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                             Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to Lindsey Kent
                             Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
      03/11/2013   476   57 MINUTE ORDER by Judge Stephen P Friot (Re: 472 MOTION to
                            Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey
                            Kent Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
      03/13/2013             ***Remark: copy of #472 given to USA (Re: 476 Order, ) as to Lindsey Kent
                             Springer (s−srt, Dpty Clk) (Entered: 03/13/2013)
      03/14/2013   477       ***Remark: copy of #473, #474, #475 given to USA (Re: 476 Order, ) as to
                             Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/14/2013)
      03/15/2013   478   58 ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                            Responses due by 8/9/2013) (Re: 474 Affidavit in Support of Motion, 473
                            Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                            Sentence under 28 U.S.C. 2255 , 475 Certificate of Service, ) as to Lindsey
                            Kent Springer (cds, Dpty Clk) (Entered: 03/15/2013)
      03/25/2013   479       MOTION to Proceed In Forma Pauperis by Lindsey K Springer as to
                             Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/25/2013)
      03/27/2013   480   61 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #479
                            Denied (Re: 479 MOTION to Proceed In Forma Pauperis ) as to Lindsey
                            Kent Springer (cds, Dpty Clk) (Entered: 03/27/2013)
      03/29/2013   481       MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey K
                             Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/29/2013)
      04/01/2013   482       ORDER by Judge Stephen P Friot re: deadline to file motion to disqualify,
                             ruling on motion(s)/document(s): #481 Granted (Re: 481 MOTION to
                             Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent
                             Springer (pll, Dpty Clk) (Entered: 04/01/2013)

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 48 of 127



      04/08/2013   483       MOTION to Clarify by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                             04/08/2013)
      04/09/2013   484   62 ORDER by Judge Stephen P Friot , terminating document(s) (Re: 480 Order,
                            Ruling on Motion(s)/Document(s), 479 MOTION to Proceed In Forma
                            Pauperis , 483 MOTION to Clarify ) (Documents Terminated: 483
                            MOTION to Clarify ) as to Lindsey Kent Springer (cds, Dpty Clk) (Entered:
                            04/09/2013)
      04/29/2013   485       MOTION To Recuse of Disqualify Honorable United States District Judge
                             Stephen P. Friot by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                             04/29/2013)
      04/29/2013   486       AFFIDAVIT in Support of Motion (Re: 485 MOTION To Recuse of
                             Disqualify Honorable United States District Judge Stephen P. Friot ) by
                             Lindsey K Springer as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                             04/29/2013)
      05/03/2013   487       RESPONSE in Opposition to Motion (Re: 485 MOTION To Recuse of
                             Disqualify Honorable United States District Judge Stephen P. Friot ) by
                             USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified on 5/6/2013;
                             this document contains two events and that is not allowed with CM/ECF −
                             see 491 for Motion to Strike Document(s) (sac, Dpty Clk). (Entered:
                             05/03/2013)
      05/03/2013   488       MOTION for Declaratory Judgment Remedy by Lindsey K Springer as to
                             Lindsey Kent Springer (sdc, Dpty Clk) Modified on 5/8/2013 − STRICKEN
                             per 492 (sac, Dpty Clk). (Entered: 05/03/2013)
      05/03/2013   489       BRIEF in Support of Motion (Re: 488 MOTION for Declaratory Judgment
                             Remedy ) by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty
                             Clk) Modified on 5/8/2013 − STRICKEN per 492 (sac, Dpty Clk).
                             (Entered: 05/03/2013)
      05/03/2013   490       ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                             Miscellaneous Deadline set for 5/17/2013) (Re: 487 Response in Opposition
                             to Motion ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered:
                             05/03/2013)
      05/03/2013   491       MOTION to Strike Document(s) (submitted as part of 487 ) (Re: 485
                             MOTION To Recuse of Disqualify Honorable United States District Judge
                             Stephen P. Friot ) by USA as to Lindsey Kent Springer (sac, Dpty Clk)
                             (Entered: 05/06/2013)
      05/06/2013             NOTICE of Docket Entry Modification; Error: this document contains two
                             events and that is not allowed with CM/ECF; Correction: filed Motion to
                             Strike Document(s) − see 491 (Re: 487 Response in Opposition to Motion, )
                             as to Lindsey Kent Springer (sac, Dpty Clk) (Entered: 05/06/2013)
      05/07/2013   492   63 ORDER by Judge Stephen P Friot , striking/withdrawing document(s) (Re:
                            489 Brief in Support of Motion, 488 MOTION for Declaratory Judgment
                            Remedy ) (Documents Terminated: 489 Brief in Support of Motion, 488
                            MOTION for Declaratory Judgment Remedy ) as to Lindsey Kent Springer
                            (cds, Dpty Clk) (Entered: 05/07/2013)
      05/10/2013   493
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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 49 of 127



                             MOTION to Clarify Who is U.S. Attorney by Lindsey K Springer as to
                             Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/10/2013)
      05/10/2013   494       MOTION to Reconsider Determination that Section 2255 is Continuing
                             Criminal Case and Not a New Civil Case by Lindsey K Springer as to
                             Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/13/2013)
      05/13/2013   495       ERRATA/CORRECTION (Re: 487 Response in Opposition to Motion, ) by
                             USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 05/13/2013)
      05/15/2013   496   64 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #493
                            stricken in part, denied in part; #494 denied (Re: 493 MOTION to Clarify
                            Who is U.S. Attorney, 494 MOTION to Reconsider Determination that
                            Section 2255 is Continuing Criminal Case and Not a New Civil Case ) as to
                            Lindsey Kent Springer (pll, Dpty Clk) (Entered: 05/15/2013)
      05/15/2013   497       NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 490 Order,
                             Setting/Resetting Deadline(s)/Hearing(s), 476 Order, 480 Order, Ruling on
                             Motion(s)/Document(s), 484 Order,,,, Terminating Document(s), 478 Order,,
                             Setting/Resetting Deadline(s)/Hearing(s),,, 492 Order,,
                             Striking/Withdrawing Document(s), ) by Lindsey K Springer as to Lindsey
                             Kent Springer (sdc, Dpty Clk) (Entered: 05/15/2013)
      05/15/2013   498       Letter re: appeal by Lindsey K Springer as to Lindsey Kent Springer (sdc,
                             Dpty Clk) (Entered: 05/15/2013)
      05/15/2013   499       PRELIMINARY RECORD Sent to Circuit Court (Re: 497 Notice of Appeal
                             to Circuit Court − Interlocutory, ) as to Lindsey Kent Springer (With
                             attachments) (sdc, Dpty Clk) (Entered: 05/15/2013)
      05/15/2013             ***Remark: appeal forms mailed to Defendant (Re: 497 Notice of Appeal to
                             Circuit Court − Interlocutory, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 05/15/2013)
      05/16/2013   500       APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                             Number 13−5062 (#497) (Re: 497 Notice of Appeal to Circuit Court −
                             Interlocutory, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                             05/16/2013)
      05/16/2013   501       ORDER from Circuit Court tolling briefing on the merits. Jurisdiction
                             challenged (Re: 497 Notice of Appeal to Circuit Court − Interlocutory, ) as
                             to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/16/2013)
      05/20/2013   502       REPLY to Response to Motion (Re: 485 MOTION To Recuse of Disqualify
                             Honorable United States District Judge Stephen P. Friot ) by Lindsey K
                             Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/21/2013)
      05/28/2013   503       Amended NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 490
                             Order, Setting/Resetting Deadline(s)/Hearing(s), 476 Order, 480 Order,
                             Ruling on Motion(s)/Document(s), 484 Order,,,, Terminating Document(s),
                             478 Order,, Setting/Resetting Deadline(s)/Hearing(s),,, 492 Order,,
                             Striking/Withdrawing Document(s), ) by Lindsey K Springer as to Lindsey
                             Kent Springer (sdc, Dpty Clk) Modified on 5/30/2013 to edit event title (sdc,
                             Dpty Clk). Modified on 5/30/2013 to replace incorrect PDF (sdc, Dpty Clk).
                             (Entered: 05/30/2013)

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 50 of 127



      05/30/2013   504       Amended PRELIMINARY RECORD Sent to Circuit Court (Re: 503 Notice
                             of Appeal to Circuit Court − Interlocutory, ) as to Lindsey Kent Springer
                             (With attachments) (sdc, Dpty Clk) (Attachment 1 replaced on 5/30/2013)
                             (sdc, Dpty Clk). (Attachment 1 replaced on 5/30/2013) (sdc, Dpty Clk).
                             (Entered: 05/30/2013)
      05/30/2013   505       NOTICE of Docket Entry Modification; Error: pages missing; Correction:
                             replaced PDF with corrected document (Re: 503 Notice of Appeal to Circuit
                             Court − Interlocutory,, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 05/30/2013)
      05/30/2013   506       NOTICE of Docket Entry Modification; Error: missing pages from
                             Amended Notice of Appeal; Correction: replaced PDF with corrected
                             document (Re: 504 Preliminary Record Sent, ) as to Lindsey Kent Springer
                             (sdc, Dpty Clk) (Entered: 05/30/2013)
      05/31/2013   507       MOTION to Disqualify Charles A. O'Reilly by Lindsey Kent Springer (sdc,
                             Dpty Clk) (Entered: 05/31/2013)
      05/31/2013   508       MOTION to Substitute by Lindsey K Springer as to Lindsey Kent Springer
                             (sdc, Dpty Clk) (Entered: 05/31/2013)
      06/20/2013   509       DECISION from Circuit Court dismissing the Appeal (Re: 503 Notice of
                             Appeal to Circuit Court − Interlocutory,, 497 Notice of Appeal to Circuit
                             Court − Interlocutory, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 06/20/2013)
      06/21/2013   510   66 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #485
                            denied (Re: 485 MOTION To Recuse of Disqualify Honorable United States
                            District Judge Stephen P. Friot ) as to Lindsey Kent Springer (hbo, Dpty
                            Clk) (Entered: 06/21/2013)
      06/25/2013   511   68 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #507
                            &#508 are denied (Re: 508 MOTION to Substitute , 507 MOTION to
                            Disqualify Charles A. O'Reilly ) as to Lindsey Kent Springer (lml, Dpty Clk)
                            (Entered: 06/25/2013)
      07/02/2013   512       MOTION for Conditional Release on Writ of Habeas Corpus as to Count
                             One by Lindsey K Springer as to Lindsey Kent Springer (sc, Dpty Clk)
                             (Entered: 07/02/2013)
      07/02/2013   513       MOTION for Conditional Release on Writ of Habeas Corpus as to Counts
                             Two, Three and Four by Lindsey K Springer as to Lindsey Kent Springer
                             (sc, Dpty Clk) (Entered: 07/02/2013)
      07/03/2013   514   70 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #512
                            and 513 denied (Re: 513 MOTION for Conditional Release on Writ of
                            Habeas Corpus as to Counts Two, Three and Four , 512 MOTION for
                            Conditional Release on Writ of Habeas Corpus as to Count One ) as to
                            Lindsey Kent Springer (pll, Dpty Clk) (Entered: 07/03/2013)
      07/24/2013   515       Letter to Clerk of Court as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                             07/24/2013)
      08/13/2013   516       MOTION for Extension of Time to Respond to Motion (Re: 472 MOTION
                             to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 51 of 127



                             Lindsey Kent Springer (Gallant, Jeffrey) (Entered: 08/13/2013)
      08/15/2013   517       ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                             Responses due by 9/9/2013) (Re: 474 Affidavit in Support of Motion, 473
                             Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                             Sentence under 28 U.S.C. 2255 , 475 Certificate of Service, ) as to Lindsey
                             Kent Springer (hbo, Dpty Clk) (Entered: 08/15/2013)
      08/29/2013             ***Remark: Petition for Writ of Mandamus was filed in the 10th Circuit on
                             08/29/2013 and assigned case no. 13−5113 as to Lindsey Kent Springer
                             (sdc, Dpty Clk) (Entered: 09/18/2013)
      09/09/2013   518       Preliminary RESPONSE in Opposition to Motion (Re: 472 MOTION to
                             Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to
                             Lindsey Kent Springer (With attachments) (O'Reilly, Charles) (Entered:
                             09/09/2013)
      09/16/2013   519       NOTICE of Change of Address as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 09/16/2013)
      09/18/2013   520       ORDER from Circuit Court granting Appellant's motion for leave to proceed
                             in forma pauperis (Re: Remark ) as to Lindsey Kent Springer (sdc, Dpty
                             Clk) (Entered: 09/18/2013)
      09/18/2013   521       ORDER from Circuit Court denying Petition for Writ of Mandamus (Re:
                             Remark ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 09/18/2013)
      10/07/2013   522       MOTION to Strike Document(s) (Re: 518 Response in Opposition to
                             Motion ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 10/07/2013)
      10/07/2013   523       NOTICE of Change of Address by Lindsey K Springer as to Lindsey Kent
                             Springer (sc, Dpty Clk) (Entered: 10/07/2013)
      10/09/2013   524       MOTION for Leave to Conduct Limited Discovery on United States
                             Attorney by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 10/09/2013)
      10/24/2013   525       RESPONSE in Opposition to Motion to Strike (Re: 522 MOTION to Strike
                             Document(s) ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                             (Entered: 10/24/2013)
      10/24/2013   526       RESPONSE in Opposition to Motion to Conduct Limited Discovery (Re:
                             524 MOTION for Leave to Conduct Limited Discovery on United States
                             Attorney ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                             (Entered: 10/24/2013)
      10/31/2013   527       MOTION for Leave to File Reply (Re: 524 MOTION for Leave to Conduct
                             Limited Discovery on United States Attorney , 522 MOTION to Strike
                             Document(s) ) by Lindsey K Springer as to Lindsey Kent Springer (sdc,
                             Dpty Clk) (Entered: 11/01/2013)
      01/06/2014   528   71 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #522,
                            524 &527 denied (Re: 527 MOTION for Leave to File Reply , 524
                            MOTION for Leave to Conduct Limited Discovery on United States
                            Attorney , 522 MOTION to Strike Document(s) ) as to Lindsey Kent
                            Springer (hbo, Dpty Clk) (Entered: 01/06/2014)

                                                                                                            51
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 52 of 127



      01/08/2014   529       MOTION to Clarify Reply (Re: 478 Order, Setting/Resetting
                             Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sc, Dpty Clk)
                             (Entered: 01/08/2014)
      01/10/2014   530   74 ORDER by Judge Stephen P Friot (Copy of this order and Order #528
                            mailed to defendant), ruling on motion(s)/document(s): #529 granted (Re:
                            529 MOTION to Clarify Reply ) as to Lindsey Kent Springer (hbo, Dpty
                            Clk) (Entered: 01/10/2014)
      01/21/2014   531       MOTION to Reconsider (Re: 528 Order, Ruling on Motion(s)/Document(s),,
                             ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 01/21/2014)
      01/31/2014   532       MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                             (sdc, Dpty Clk) (Entered: 01/31/2014)
      02/03/2014   533       ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #532
                             granted (Re: 532 MOTION for Leave to Exceed Page Limitation ) as to
                             Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 02/03/2014)
      02/10/2014   534       RESPONSE (Re: 478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, )
                             by Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/11/2014)
      02/13/2014   535       Letter from Defendant re: receipt of Motion as to Lindsey Kent Springer
                             (sdc, Dpty Clk) (Entered: 02/13/2014)
      02/13/2014   536   76 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #531
                            denied (Re: 531 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,
                            Dpty Clk) (Entered: 02/13/2014)
      03/03/2014   538       MOTION to Disqualify Judge by Lindsey Kent Springer (sc, Dpty Clk)
                             (Entered: 03/04/2014)
      03/04/2014   537   77 ORDER by Judge Stephen P Friot Second stage schedule − Government
                            response 5/5/14, Defendant reply 7/7/14; Briefs 25 pages limitation;
                            Dismissal of certain grounds for relief., setting/resetting
                            deadline(s)/hearing(s): ( Responses due by 5/5/2014) (Re: 472 MOTION to
                            Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey
                            Kent Springer (hbo, Dpty Clk) (Entered: 03/04/2014)
      03/05/2014   539   89 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #538
                            denied (Re: 538 MOTION to Disqualify Judge ) as to Lindsey Kent Springer
                            (hbo, Dpty Clk) (Entered: 03/05/2014)
      03/19/2014   540       MOTION for Return/Release Property by Lindsey Kent Springer (sc, Dpty
                             Clk) (Entered: 03/20/2014)
      03/19/2014   541       EXHIBIT(S) in Support of Motion for Return of Property (Re: 540
                             MOTION for Return/Release Property ) as to Lindsey Kent Springer (sc,
                             Dpty Clk) (Entered: 03/20/2014)
      03/24/2014   542       ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                             Responses due by 4/9/2014) (Re: 540 MOTION for Return/Release Property
                             ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 03/24/2014)
      03/27/2014   543       MOTION for Identity of Statutory Authority of Honorable Stephen P. Friot
                             by Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/27/2014)

                                                                                                            52
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 53 of 127



      03/27/2014   544       MOTION to Reconsider (Re: 537 Order, Setting/Resetting
                             Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 03/27/2014)
      03/27/2014   545       MOTION for Appointment of Counsel by Lindsey Kent Springer (sdc, Dpty
                             Clk) (Entered: 03/27/2014)
      03/27/2014   546       MOTION for Leave to Proceed Informa Pauperis by Lindsey Kent Springer
                             (sdc, Dpty Clk) (Entered: 03/27/2014)
      03/31/2014   547   90 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #543,
                            544 &545 denied, terminating document(s) (Re: 545 MOTION for
                            Appointment of Counsel , 544 MOTION to Reconsider , 543 MOTION for
                            Identity of Statutory Authority of Honorable Stephen P. Friot , 546
                            MOTION for Leave to Proceed Informa Pauperis ) (Documents Terminated:
                            546 MOTION for Leave to Proceed Informa Pauperis ) as to Lindsey Kent
                            Springer (hbo, Dpty Clk) (Entered: 03/31/2014)
      04/07/2014   548       RESPONSE in Opposition to Motion (Re: 540 MOTION for Return/Release
                             Property ) by USA as to Lindsey Kent Springer (With attachments)
                             (O'Reilly, Charles) (Entered: 04/07/2014)
      04/07/2014   549       MOTION for an Order Directing Mr. Springer to Retrieve Search Warrant
                             Records by USA as to Lindsey Kent Springer (With attachments) (O'Reilly,
                             Charles) (Entered: 04/07/2014)
      04/07/2014   550       ERRATA/CORRECTION Attachment A (Re: 548 Response in Opposition
                             to Motion ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                             (Entered: 04/07/2014)
      04/07/2014   551       MOTION for Rule 41(i) Papers by Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 04/07/2014)
      04/10/2014   552   92 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #540
                            &551 denied (Re: 551 MOTION for Rule 41(i) Papers , 540 MOTION for
                            Return/Release Property ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                            (Entered: 04/10/2014)
      04/24/2014   553       MOTION to Reconsider (Re: 537 Order, Setting/Resetting
                             Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 04/24/2014)
      04/25/2014   554       NOTICE OF APPEAL to Circuit Court (Re: 552 Order, Ruling on
                             Motion(s)/Document(s),, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 04/25/2014)
      04/25/2014   555       NOTICE of Matters Alleged in Another Action, Case No.
                             14−CV−71−JHP−TLW as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 04/28/2014)
      04/28/2014   556       PRELIMINARY RECORD Sent to Circuit Court (Re: 554 Notice of Appeal
                             to Circuit Court ) as to Lindsey Kent Springer (With attachments) (sdc, Dpty
                             Clk) (Entered: 04/28/2014)
      04/28/2014   557   95 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #553
                            denied (Re: 553 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 54 of 127



                             Dpty Clk) (Entered: 04/28/2014)
      04/28/2014   558       RESPONSE in Opposition to Motion to Government Lawyer's Motion (Re:
                             549 MOTION for an Order Directing Mr. Springer to Retrieve Search
                             Warrant Records ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                             04/28/2014)
      04/28/2014   559       MOTION for Leave to Appeal in Forma Pauperis (Re: 554 Notice of Appeal
                             to Circuit Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                             04/28/2014)
      04/28/2014   560       MOTION for Leave to Appeal in Forma Pauperis (Re: 554 Notice of Appeal
                             to Circuit Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                             04/28/2014)
      04/28/2014   561       APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                             Number 14−5047 (#554) (Re: 554 Notice of Appeal to Circuit Court ) as to
                             Lindsey Kent Springer (sc, Dpty Clk) (Modified on 4/28/2014 to attach PDF
                             (sc, Dpty Clk). (Entered: 04/28/2014)
      04/30/2014   562       RESPONSE in Opposition to Motion (Re: 472 MOTION to Vacate/Set
                             Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to Lindsey Kent
                             Springer (O'Reilly, Charles) (Entered: 04/30/2014)
      05/01/2014   574       MAIL to Martha Durossette Returned − address has been changed to address
                             unknown. (Re: 557 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey
                             Kent Springer (sc, Dpty Clk) (Entered: 07/09/2014)
      05/02/2014   563       ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #559
                             &560 denied (Re: 560 MOTION for Leave to Appeal in Forma Pauperis ,
                             559 MOTION for Leave to Appeal in Forma Pauperis ) as to Lindsey Kent
                             Springer (hbo, Dpty Clk) (Entered: 05/02/2014)
      06/04/2014   564       DECISION from Circuit Court dismissing the Appeal (Re: 554 Notice of
                             Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 06/04/2014)
      06/04/2014   565       MANDATE from Circuit Court (Re: 554 Notice of Appeal to Circuit Court,
                             564 Decision from Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty
                             Clk) (Entered: 06/04/2014)
      06/11/2014   566   96 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #549
                            granted (Re: 549 MOTION for an Order Directing Mr. Springer to Retrieve
                            Search Warrant Records ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                            (Entered: 06/11/2014)
      06/16/2014   569       MAIL to Martha Durossette Returned − address has been changed to address
                             unknown. (Re: 566 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey
                             Kent Springer (sdc, Dpty Clk) (Entered: 06/26/2014)
      06/20/2014   567       RESPONSE Merits Brief by Lindsey Kent Springer (sdc, Dpty Clk)
                             (Entered: 06/24/2014)
      06/20/2014   568       AFFIDAVIT in Support of Motion (Re: 472 MOTION to Vacate/Set
                             Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey Kent Springer
                             (sdc, Dpty Clk) (Entered: 06/24/2014)

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 55 of 127



      06/27/2014   570        MOTION to Amend 2255 (Re: 472 MOTION to Vacate/Set Aside/Correct
                              Sentence under 28 U.S.C. 2255 ) by Lindsey Kent Springer (sc, Dpty Clk)
                              (Entered: 06/27/2014)
      07/01/2014   571        ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                              Responses due by 7/18/2014) (Re: 570 MOTION to Amend 2255 ) as to
                              Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 07/01/2014)
      07/07/2014   572        MOTION to Reconsider and Allow Discovery by Lindsey Kent Springer (sc,
                              Dpty Clk) (Entered: 07/07/2014)
      07/07/2014   573        AFFIDAVIT (titled as Declaration of Lindsey Kent Springer in Support of
                              Motion to Reconsider and Allow Discovery) (Re: 572 MOTION to
                              Reconsider and Allow Discovery ) by Lindsey Kent Springer (sc, Dpty Clk)
                              Modified on 7/8/2014 to reflect correct event (sc, Dpty Clk). (Entered:
                              07/07/2014)
      07/08/2014              NOTICE of Docket Entry Modification; Error: docketed using incorrect
                              event title; Correction: edited docket text to reflect correct event title (Re:
                              573 Brief in Support of Motion, ) as to Lindsey Kent Springer (sc, Dpty Clk)
                              (Entered: 07/08/2014)
      07/09/2014   575   100 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #572
                             denied (Re: 572 MOTION to Reconsider and Allow Discovery ) as to
                             Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 07/09/2014)
      07/10/2014   576        RESPONSE in Opposition to Motion (Re: 570 MOTION to Amend 2255 )
                              by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                              07/10/2014)
      07/11/2014   577        MOTION for Release Pending Disposition of 2255 Proceeding (Re: 472
                              MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by
                              Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
      07/11/2014   578        AFFIDAVIT in Support of Motion (titled as Declaration of Lindsey Kent
                              Springer in Support of Motion for Release Pending Disposition of 2255
                              Proceeding) (Re: 577 MOTION for Release Pending Disposition of 2255
                              Proceeding ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
      07/15/2014   579   101 ORDER by Judge Stephen P Friot Documents #577 &578 are transferred to
                             the U.S. District Court for the District of New Mexico, further any claims for
                             relief brought under 28USC Sec 2255 are dismissed without prejudice for
                             lack of jurisdiction. (Re: 578 Affidavit in Support of Motion, 577 MOTION
                             for Release Pending Disposition of 2255 Proceeding ) as to Lindsey Kent
                             Springer (hbo, Dpty Clk) (Entered: 07/15/2014)
      07/16/2014   580        Letter to United States District Court for the District of New Mexico re:
                              transferring dkt #s 577 &578 as to Lindsey Kent Springer (srt, Dpty Clk)
                              (Entered: 07/16/2014)
      07/25/2014   581        ***Remark: acknowledgment of receipt of letter to United States District
                              Court for the District of New Mexico re: transferring dkt #s 577 &578 (Re:
                              580 Letter ) as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                              07/28/2014)
      07/25/2014   582

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Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 56 of 127



                              REPLY to Response to Motion (Re: 570 MOTION to Amend 2255 ) by
                              Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/28/2014)
      07/30/2014   583   104 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #570
                             denied (Re: 570 MOTION to Amend 2255 ) as to Lindsey Kent Springer
                             (hbo, Dpty Clk) (Entered: 07/30/2014)
      08/22/2014   584   109 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #472
                             denied, denying certificate of appealability (Re: 472 MOTION to Vacate/Set
                             Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                             (pll, Dpty Clk) (Entered: 08/22/2014)
      08/22/2014   585   120 JUDGMENT by Judge Stephen P Friot (Re: 472 MOTION to Vacate/Set
                             Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                             (pll, Dpty Clk) (Entered: 08/22/2014)
      08/25/2014   586        MOTION For Order Finding Charles A. O'Reilly Is Not Authorized And
                              Was Never Authorized To Represent The United States Of America by
                              Lindsey Kent Springer (jla, Dpty Clk) (Entered: 08/25/2014)
      08/26/2014   587   121 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #586
                             Denied (Re: 586 MOTION For Order Finding Charles A. O'Reilly Is Not
                             Authorized And Was Never Authorized To Represent The United States Of
                             America ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/26/2014)
      09/12/2014   588   122 NOTICE OF APPEAL to Circuit Court (Re: 476 Order, 566 Order, Ruling
                             on Motion(s)/Document(s), 530 Order, Ruling on Motion(s)/Document(s),
                             587 Order, Ruling on Motion(s)/Document(s),, 536 Order, Ruling on
                             Motion(s)/Document(s), 480 Order, Ruling on Motion(s)/Document(s), 528
                             Order, Ruling on Motion(s)/Document(s),, 484 Order,, Terminating
                             Document(s),,, 478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, 537
                             Order, Setting/Resetting Deadline(s)/Hearing(s),,,, 492 Order,
                             Striking/Withdrawing Document(s),, 585 Judgment, 584 Order, Ruling on
                             Motion(s)/Document(s), Re: Ruling on 2255, 3582 or Rule 35 Motion,
                             Denying Certificate of Appealability,,,, 575 Order, Ruling on
                             Motion(s)/Document(s), 557 Order, Ruling on Motion(s)/Document(s), 496
                             Order, Ruling on Motion(s)/Document(s),, 547 Order, Ruling on
                             Motion(s)/Document(s), Terminating Document(s),,,,,, 511 Order, Ruling on
                             Motion(s)/Document(s),, 552 Order, Ruling on Motion(s)/Document(s),, 579
                             Order,,, 514 Order, Ruling on Motion(s)/Document(s),, 510 Order, Ruling
                             on Motion(s)/Document(s),, 539 Order, Ruling on Motion(s)/Document(s),,
                             583 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey Kent Springer
                             (sc, Dpty Clk) Modified on 9/16/2014 to create link for document #539 (sc,
                             Dpty Clk). (Entered: 09/16/2014)




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           Case 4:09-cr-00043-SPF Document 476 Filed 03/11/13 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 57 of 127




                           UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OKLAHOMA

   United States of America,
                                             Plaintiff,

   vs.                                                         Criminal Court Case No. 09-cr43-SPF
                                                               Civil Court Case No. 13-CV-145-SPF-TLW
   Lindsey Kent Springer,
                                        Defendant(s).



                                                MINUTE ORDER



            At the direction of Stephen P. Friot, U.S. District Judge, it is hereby ordered that:

   The Clerk is directed to provide a copy of the MOTION to Vacate/Set Aside/Correct Sentence under 28
   U.S.C. 2255 filed on 3-11-2013 in the referenced case to Counsel for the United States of America. This
   notification is made pursuant to the Rules of the United States Supreme Court and this Court. No answer or
   other responsive pleading is required unless the Court orders otherwise.



                                                          Phil Lombardi,
                                                          Clerk of Court, United States District Court


                                                                S/ S. Turner
                                                          By: S. Turner, Deputy Clerk




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   Rule 2255 Order                                                                                   CR-13 (04/09)
           Case 4:09-cr-00043-SPF Document 478 Filed 03/15/13 Page 1 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 58 of 127




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                   )
                                               )
         Plaintiff/Respondent,                 )
                                               )
   vs.                                         )   Case No. 09-CR-0043-SPF
                                               )
   LINDSEY KENT SPRINGER,                      )
                                               )
         Defendant/Movant.                     )

                                          ORDER
         Defendant/movant Lindsey Kent Springer (movant) moves under 28 U.S.C.
   § 2255, seeking to vacate, set aside, or correct movant’s sentence. Doc. nos. 472 -
   475. The motion asserts 76 separate grounds for relief. The moving papers, taken
   together, present 271 pages of material.
         The court has preliminarily reviewed doc. nos. 472 - 475. The court notes that
   movant asserts numerous matters which would appear to have been previously
   litigated and adjudicated in the underlying criminal proceedings, or which could have
   been asserted in those proceedings. The court intends to address movant’s § 2255
   claims in two steps. The first step, not directed to the substantive merits of any of the
   grounds asserted by movant for § 2255 relief, will be to identify those grounds for
   relief which the court need not, and should not, address in these § 2255 proceedings
   because they were, or could have been, asserted in the proceedings in the underlying
   criminal prosecution. Any such grounds will be stricken or dismissed without merits
   briefing from the government and without merits consideration from the court. The
   second step will be consideration of the merits of any remaining grounds asserted by
   movant for § 2255 relief.




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           Case 4:09-cr-00043-SPF Document 478 Filed 03/15/13 Page 2 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 59 of 127




         Accordingly, the government is DIRECTED to file a preliminary response to
   Mr. Springer’s motion not later than August 19, 2013, as follows. The government’s
   preliminary response shall concisely list (with supporting record citations) those
   grounds for relief, if any, which the government contends should be stricken or
   dismissed because it is clear that they are procedurally barred, for example, because
   they were raised and resolved in the proceedings in the underlying criminal
   prosecution, or because they could have been, but were not, raised in those
   proceedings.
         See generally, United States v. Frady, 456 U.S. 152, 165 (1982) (“we have long
   and consistently affirmed that a collateral challenge may not do service for an
   appeal”); United States v. Warner, 23 F.3d 287, 291 (10th Cir. 1994) (“2255 motions
   are not available to test the legality of matters which should have been raised on direct
   appeal”; “[a] defendant’s failure to present an issue on direct appeal bars him from
   raising the issue in his § 2255 motion, unless he can show cause excusing his
   procedural default and actual prejudice resulting from the errors of which he
   complains, or can show that a fundamental miscarriage of justice will occur if his
   claim is not addressed”; district court did not err in dismissing § 2255 motion as to
   claims previously considered and disposed of on direct appeal, citing United States
   v. Prichard, 875 F.2d 789, 791 (10th Cir. 1989), for the proposition that “absent
   intervening change in law of circuit, issues disposed of on direct appeal generally will
   not be considered in a §2255 collateral attack”).
         Movant’s reply to the government’s preliminary response shall pertain only to
   the issues raised in the government’s preliminary response (e.g., shall not address the
   merits of any asserted grounds for relief), and shall be due not later than five months
   from the date the government’s preliminary response is filed.



                                             -2-

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           Case 4:09-cr-00043-SPF Document 478 Filed 03/15/13 Page 3 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 60 of 127




            Absent leave of court, the court’s rules limiting briefs to twenty-five pages
   shall apply.
            After the court has, with the benefit of the filings called for above, determined
   which grounds for relief, if any, should be stricken or dismissed, the court will
   establish a briefing schedule as to the merits of any remaining grounds for relief.
            Dated this 15th day of March, 2013.




   09-0043p099.wpd




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           Case 4:09-cr-00043-SPF Document 480 Filed 03/27/13 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 61 of 127




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                  )
                                              )
            Plaintiff/Respondent,             )
                                              )
   vs.                                        )   Case No. 09-cr-0043-SPF
                                              )
   LINDSEY KENT SPRINGER,                     )
                                              )
            Defendant/Movant.                 )

                                          ORDER
            Mr. Springer has filed an application to proceed without prepayment of fees,
   with respect to his pending motion for relief under 28 U.S.C. § 2255. Doc. no. 479.
   A § 2255 motion is a continuation of the criminal case whose judgment is under
   attack, and no filing fee is required. See, Rule 3, Rules Governing Section 2255
   Proceedings, Adv. Comm. Notes accompanying 1976 adoption. The application is
   STRICKEN as moot.
            Dated this 27th day of March, 2013.




   09-0043p0100.wpd




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           Case 4:09-cr-00043-SPF Document 484 Filed 04/09/13 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 62 of 127




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                     )
                                                 )
            Plaintiff/Respondent,                )
                                                 )
   vs.                                           )   Case No. 09-cr-0043-SPF
                                                 )
   LINDSEY KENT SPRINGER,                        )
                                                 )
            Defendant/Movant.                    )

                                           ORDER
            In response to the four questions in Mr. Springer’s “Motion to Clarify
   Specifically,” doc. no. 483, the court states as follows. 1). Motions brought under 28
   U.S.C. § 2255 receive a civil case number when filed, but all documents filed in such
   matters are filed in the underlying criminal case. All documents are filed in the
   criminal case regardless of whether the caption shows the criminal case number or
   both the criminal and civil case numbers. 2) Previously addressed; see doc. no. 480,
   citing language from the 1976 Adv. Comm. Notes to Rule 3, Rules Governing Section
   2255 Proceedings. 3). Mr. Springer’s motion for pauper status has been previously
   addressed. Doc. no. 480. 4). Document no. 479 is Mr. Springer’s “Application to
   Proceed without Prepayment of Fees and Affidavit,” so there is no need to provide a
   copy of this document to Mr. Springer. The motion at doc. no. 483 is TERMED.
            Dated this 9th day of April, 2013.




   09-0043p102.wpd




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           Case 4:09-cr-00043-SPF Document 492 Filed 05/07/13 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 63 of 127




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                   )
                                               )
         Plaintiff/Respondent,                 )
                                               )
   vs.                                         )   Case No. 09-cr-0043-SPF
                                               )
   LINDSEY KENT SPRINGER,                      )
                                               )
         Defendant/Movant.                     )

                                          ORDER
         Movant-defendant Lindsey Springer has filed a document entitled “Motion for
   Declaratory Judgment Remedy.” Doc. no. 488. The motion, supported with a 34-page
   brief, purports to set out forty-four issues for declaratory relief in his pending § 2255
   matter. The pending § 2255 motion is a 90-page document with a 148-page
   supporting declaration. With the goal of adjudicating the lengthy § 2255 motion in
   an efficient and orderly manner, the court, in its order at doc. no. 478, established a
   two-step briefing schedule for addressing the numerous issues raised by Mr. Springer
   in his § 2255 motion. Mr. Springer has no leave to amend or to modify the briefing
   schedule established by the court. The motion at doc. no. 488 is STRICKEN.
         Dated May 7, 2013.




   09-0043p105.wpd




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           Case 4:09-cr-00043-SPF Document 496 Filed 05/15/13 Page 1 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 64 of 127




               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                 )
                                             )
         Plaintiff/Respondent,               )
                                             )
   vs.                                       )    Case No. 09-cr-043-SPF
                                             )
   LINDSEY KENT SPRINGER,                    )
                                             )
         Defendant/Movant.                   )

                                         ORDER
                                             1.
         Mr. Springer “moves this Court for an order to clarify who is the U.S. Attorney
   for the Northern District of Oklahoma from June 29, 2009 through May 3, 2012.”
   Doc. no. 493.
         In part, the motion seeks to have Thomas Scott Woodward, Kenneth P. Snoke,
   and Charles A. O’Reilly (the stated filers of the government’s response, at doc. no.
   487, to Mr. Springer’s pending motion to disqualify) explain their authority to act in
   this matter from June 29, 2009 through May 3, 2013. The government has now filed
   a corrected version of its response to Mr. Springer’s pending motion to disqualify.
   Errata at doc. no. 495, correcting document at 487. The corrected version of the
   government’s response clarifies that the response is filed by the United States acting
   by and through its attorneys Danny C. Williams, United States Attorney for the
   Northern District of Oklahoma, and Charles A. O’Reilly, Special Assistant United
   States Attorney. Accordingly, at least some of the clarification requested in Mr.
   Springer’s motion appears to have been provided, and the motion is moot to this
   extent.



                                                                                            64
           Case 4:09-cr-00043-SPF Document 496 Filed 05/15/13 Page 2 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 65 of 127




            To the extent the motion seeks broader relief (such as a list of U.S. Attorneys
   over a period of years and a memorandum from the government regarding these
   individuals’ authority) the motion will be denied; whatever issues are raised by the §
   2255 motion will be briefed in accordance with the schedule previously established
   by the court.
            The motion to clarify, doc. no. 493, is STRICKEN IN PART as moot and
   DENIED IN PART.
                                                2.
            Mr. Springer has also filed a motion entitled “Motion to Reconsider
   Determination That Section 2255 is Continuing Criminal Case, and not New Civil
   Case,” doc. no. 494. The motion continues to complain about the manner in which
   certain administrative matters, such as way in which § 2255 filings are docketed, are
   handled by the court clerk. The motion to reconsider is DENIED.
            Dated this 15th day of May, 2013.




   09-0043p106.wpd




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           Case 4:09-cr-00043-SPF Document 510 Filed 06/21/13 Page 1 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 66 of 127




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                  )
                                              )
         Plaintiff/Respondent,                )
                                              )
   vs.                                        )   Case No. 09-cr-0043-SPF
                                              )
   LINDSEY KENT SPRINGER,                     )
                                              )
         Defendant/Movant.                    )

                                         ORDER
         Mr. Springer, movant in this § 2255 matter, has filed a “Motion to Recuse and
   Disqualify Honorable United States District Judge Stephen P. Friot.” Doc. no. 485.
   The motion, which includes a lengthy supporting brief, asks the undersigned to recuse
   pursuant to 28 U.S.C. §§ 455(a), (b)(1), (b)(5)(iv), and 28 U.S.C. § 144. To the extent
   the motion is urged under 28 U.S.C. § 144, Mr. Springer has also filed a 76-page
   affidavit in support. Doc. no. 486. The government has filed a response brief, and the
   motion is ready to be determined.
         To sustain disqualification, bias and prejudice must arise from an extrajudicial
   source. Davis v. Cities Service Oil Co., 420 F.2d 1278, 1282 (10th Cir. 1970).
   Adverse legal rulings are not in themselves grounds for recusal. Glass v. Pfeffer, 849
   F.2d 1261, 1268 (10th Cir. 1988). Furthermore, a trial judge has as much obligation
   not to recuse himself when there is no reason to do so as he does to recuse himself
   with the converse is true. United States v. Bray, 546 F.2d 851, 857 (10th Cir. 1976).
         Mr. Springer’s arguments depend on challenges to legal rulings which were
   adverse to him and contentions that such adverse rulings show favoritism to the
   government. Mr. Springer’s has shown no bias or prejudice of a type which would
   cause recusal here. Nor have any other grounds for relief been shown.


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           Case 4:09-cr-00043-SPF Document 510 Filed 06/21/13 Page 2 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 67 of 127




            The motion is DENIED.
            Dated this 21st day of June, 2013.




   09-0043p107.wpd




                                                 -2-

                                                                                   67
           Case 4:09-cr-00043-SPF Document 511 Filed 06/25/13 Page 1 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 68 of 127




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                  )
                                              )
         Plaintiff/Respondent,                )
                                              )
   vs.                                        )   Case No. 09-cr-0043-SPF
                                              )
   LINDSEY KENT SPRINGER,                     )
                                              )
         Defendant/Movant.                    )


                                          ORDER
         Movant Lindsey Kent Springer seeks an order disqualifying Charles A.
   O’Reilly from representing the United States in this § 2255 matter. Doc. no. 507. Mr.
   Springer argues that Mr. O’Reilly “deserves disqualification” because “his word
   cannot be trusted as an officer of the court,” he is not a United States Attorney, he is
   a witness and a central reason for movant’s civil rights claims in this § 2255 matter
   (this particular argument is presented in three sentences which offer no developed
   argument or details), and because he has no statutory authority to conduct or argue on
   behalf of the United States in this matter. Doc. no. 507, p. 30 (court’s as-filed
   pagination).
         Mr. Springer has also filed a motion asking the court to substitute United States
   Attorney Danny C. Williams for the respondent, the United States of America, on the
   theory that Mr. Williams is the real party in interest. Doc. no. 508.
         The government has not responded to either motion although the time for a
   response is past due.




                                                                                              68
           Case 4:09-cr-00043-SPF Document 511 Filed 06/25/13 Page 2 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 69 of 127




            Upon review, the court finds that no basis has been shown for the relief
   requested. Both motions (doc. nos 507 and 508) are DENIED.
            Dated this 25th day of June, 2013.




   09-0043p108.wpd




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           Case 4:09-cr-00043-SPF Document 514 Filed 07/03/13 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 70 of 127




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                    )
                                                )
            Plaintiff/Respondent,               )
                                                )
   vs.                                          )   Case No. 09-cr-0043-SPF
                                                )
   LINDSEY KENT SPRINGER,                       )
                                                )
            Defendant/Movant.                   )


                                            ORDER
            No basis for conditional release (the relief requested in Lindsey Kent Springer’s
   motions at doc. nos. 512 and 513) has been shown. The motions are DENIED.
            Dated this 3rd day of July, 2013.




   09-0043p109.wpd




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           Case 4:09-cr-00043-SPF Document 528 Filed 01/06/14 Page 1 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 71 of 127




               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                        )
                                                    )
          Plaintiff/Respondent,                     )
                                                    )
   vs.                                              )   Case No. 09-CR-0043-1-SPF
                                                    )
   LINDSEY KENT SPRINGER,                           )
                                                    )
          Defendant/Movant.                         )

                                               ORDER
          This order addresses three motions filed by defendant/movant Lindsey Kent
   Springer, all related to Mr. Springer’s pending motion for relief under 28 U.S.C.
   §2255. Mr. Springer appears pro se and his pleadings are liberally construed.
              1. Motion for Leave to File a Reply Brief to Doc. Nos. 524, 525.
                                            (Doc. no. 527)
          Mr. Springer “moves this Court for Leave to file a reply to what Mr. O’Reilly
   filed, Doc. 524 and 525.” Doc. no. 527, p. 1. Doc. no. 524 is Mr. Springer’s own
   filing (the motion for leave to conduct limited discovery on the United States
   Attorney, addressed later in this order).1 The other document with respect to which
   Mr. Springer seeks leave to file a reply, doc. no. 525, is the government’s response to
   Mr. Springer’s motion to strike.
          The court has reviewed the matters which Mr. Springer proposes to address in
   reply briefs. No purpose would be served by the proposed briefing. Reply briefs are


          1
            Rather than seeking leave to reply to doc. no. 524, Mr. Springer may have intended to seek
   leave to file a reply to the government’s filing at doc. no. 526, which is the government’s response
   to Mr. Springer’s motion to conduct discovery. If so, the result stated in this order would be the
   same.



                                                                                                          71
           Case 4:09-cr-00043-SPF Document 528 Filed 01/06/14 Page 2 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 72 of 127




   not encouraged, and permitting reply briefs in these circumstances would be a waste
   of the parties’ and the court’s resources. Mr. Springer’s motion for leave to file reply
   briefs is DENIED.
                                    2. Motion to Strike.
                                       (Doc. no. 522)
         Mr. Springer asks the court to strike the United States’ filing at doc. no. 518,
   on two grounds.
         First, Mr. Springer argues that the government’s pleading is not presented by
   an authorized representative of the government. The challenged pleading is the
   “United States’ Preliminary Response Regarding Lindsey Springer’s Motion for
   Relief under 28 U.S.C. § 2255 (Doc. nos. 472-475) Concisely Listing Those Grounds
   for Relief that Should be Stricken or Dismissed.” The pleading is submitted to the
   court on behalf of Danny Williams, United States Attorney, and is electronically
   signed by Charles A. O’Reilly, Special Assistant United States Attorney. The name
   of Jeffrey Gallant, Assistant United States Attorney, also appears on the signature
   block under the signature of Mr. O’Reilly. The basis of Mr. O’Reilly’s authorization
   to sign the pleading on behalf of the United States is set out in the government’s
   response to the motion to strike, doc. no. 525, pp. 1-2. There is no reason to further
   address Mr. Springer’s frivolous argument that doc. no. 518 is not presented by an
   authorized representative of the government.
         Second, Mr. Springer argues that doc. no. 518 should be stricken because it
   does not comply with the undersigned’s order of March 15, 2013. That order, doc. no.
   522, establishes a two-stage briefing schedule in this § 2255 matter. The pleading at
   doc. no. 518 complies with the order of March 15, 2013.
         The motion to strike is DENIED.


                                             -2-


                                                                                              72
           Case 4:09-cr-00043-SPF Document 528 Filed 01/06/14 Page 3 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 73 of 127




                     3. Motion for Leave to Conduct Limited Discovery
                                On United States Attorney.
                                      (Doc. no. 524)
          Mr. Springer seeks leave to conduct discovery from the United States Attorney
   in support of Mr. Springer’s contention that the government could not prosecute Mr.
   Springer because there was no United States Attorney for the Northen District of
   Oklahoma during the time in question, and his similar contention that Assistant U.S.
   Attorneys Kenneth P. Snoke (now retired) and Jeffrey A. Gallant, as well as Special
   Assistant U.S. Attorney Charles A. O’Reilly, were not authorized to represent the
   United States in the underlying criminal matter. No discovery is warranted at this
   time with respect to these contentions. The motion is DENIED.
          Dated this 6th day of January, 2014.




   09-0043p111.wpd




                                            -3-


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           Case 4:09-cr-00043-SPF Document 530 Filed 01/10/14 Page 1 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 74 of 127




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                  )
                                              )
         Plaintiff/Respondent,                )
                                              )
   vs.                                        )   Case No. 09-CR-0043-1-SPF
                                              )
   LINDSEY KENT SPRINGER,                     )
                                              )
         Defendant/Movant.                    )

                                          ORDER
         Mr. Springer moves for clarification of the court’s scheduling order of
   March 15, 2013. Doc. no. 478. He appears to seek clarification regarding the
   permitted contents of his reply brief, which is currently due February 10, 2014.
         The court’s scheduling order of March 15, 2013 is clear, and all of the
   information contained in the next paragraph of this order is plainly set out there.
   Nevertheless, Mr. Springer proceeds pro se and his pleadings are liberally construed.
   For whatever benefit it may be to Mr. Springer, his motion (doc. no. 529) is
   GRANTED to the extent that his requests for clarification, and his other questions,
   are responded to as follows.
         At this stage, a reply brief is permitted from Mr. Springer to explain to what
   extent, if any, Mr. Springer takes issue with the government’s identification of claims
   (as set forth in the government’s preliminary response brief) which the government
   contends need not be addressed by the court on their merits because they were, or
   could have been, asserted in the proceedings in the underlying prosecution. Mr.
   Springer’s reply brief shall not address the merits of any of his asserted grounds for
   relief. After the reply brief is filed, the court will determine which of Mr. Springer’s
   grounds for relief should be stricken or dismissed because they were, or could have


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           Case 4:09-cr-00043-SPF Document 530 Filed 01/10/14 Page 2 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 75 of 127




   been, asserted in the proceedings in the underlying prosecution. After that ruling,
   dates for a second stage of briefing will be established. The government will be given
   a date for filing its second-stage response brief regarding the merits of the then-
   remaining claims, and Mr. Springer will be given a date by which to file a second-
   stage reply brief.
            Mr. Springer’s motion next expresses concern that he may be again moved to
   another facility, impacting his ability to file a timely reply. Mr. Springer may move
   for an extension, if necessary. As of now, however, his reply is due February 10,
   2014.
            Mr. Springer also inquires regarding the status of other motions he has filed.
   These motions were recently denied. See, doc. no. 528, dated January 6, 2014. The
   court presumes Mr. Springer’s copy of this ruling crossed the instant motion in the
   mail. Regardless, the clerk is DIRECTED to include another copy of the January 6,
   2014 rulings with Mr. Springer’s copy of this order.
            Lastly, Mr. Springer asks whether he is required to attach record documents to
   his reply brief. At this stage, clear and detailed citations to the record are sufficient,
   although exhibits are not precluded.
            Dated this 10th day of January, 2014.




   09-0043p112.wpd




                                              -2-

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           Case 4:09-cr-00043-SPF Document 536 Filed 02/13/14 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 76 of 127




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                    )
                                                )
            Plaintiff/Respondent,               )
                                                )
   vs.                                          )   Case No. 09-CR-0043-SPF
                                                )
   LINDSEY KENT SPRINGER,                       )
                                                )
            Defendant/Movant.                   )

                                           ORDER
            Mr. Springer moves the court for reconsideration of certain aspects of its order
   of January 6, 2014. Motion at doc. no. 531. In his motion, Mr. Springer also asks the
   court to require the United States to produce certain documentation regarding Special
   Assistant United States Attorney Charles A. O’Reilly’s authority to represent the
   United States in this matter. The motion is DENIED.
            Dated this 13th day of January, 2014.




   09-0043p114.wpd




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           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 1 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 77 of 127




               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                        )
                                                    )
          Plaintiff/Respondent,                     )
                                                    )
   vs.                                              )   Case No. 09-CR-0043-SPF
                                                    )
   LINDSEY K. SPRINGER,                             )
                                                    )
          Defendant/Movant.                         )

                                               ORDER
          Defendant Lindsey K. Springer moves to vacate, set aside, or correct his
   sentence under 28 U.S.C. § 2255. Doc. nos. 472-475. At this point, the court has
   before it the parties’ first-stage arguments concerning which of Mr. Springer’s 761
   grounds for relief are procedurally barred and should therefore be dismissed without
   further consideration of the merits. Order, doc. no. 478. As a pro se plaintiff, Mr.
   Springer’s pleadings are liberally construed.
                                    I. General Considerations.
          When the court established the two-stage briefing process, it set out authorities
   for the proposition that certain grounds raised in support of § 2255 relief are
   procedurally barred. See generally, United States v. Frady, 456 U.S. 152, 165 (1982)
   (“we have long and consistently affirmed that a collateral challenge may not do
   service for an appeal”); United States v. Warner, 23 F.3d 287, 291 (10th Cir. 1994)
   (“2255 motions are not available to test the legality of matters which should have been


          1
             Although the government has grouped Mr. Springer’s grounds into twenty categories, Mr.
   Springer objects to this grouping and the court has at all times considered Mr. Springer’s grounds
   for relief individually. When this order refers to a ground for relief by number, it uses the number
   assigned in the § 2255 motion, doc. no. 472.



                                                                                                          77
           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 2 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 78 of 127




   raised on direct appeal”; “[a] defendant’s failure to present an issue on direct appeal
   bars him from raising the issue in his § 2255 motion, unless he can show cause
   excusing his procedural default and actual prejudice resulting from the errors of which
   he complains, or can show that a fundamental miscarriage of justice will occur if his
   claim is not addressed”; district court did not err in dismissing § 2255 motion as to
   claims previously considered and disposed of on direct appeal, citing United States
   v. Prichard, 875 F.2d 789, 791 (10th Cir. 1989), for the proposition that “absent
   intervening change in law of circuit, issues disposed of on direct appeal generally will
   not be considered in a §2255 collateral attack”).
         As the above authorities establish, the are exceptions to the procedural bar. See,
    United States v. Cervini, 379 F.3d 987, 990-91 (10th Cir. 2004) (failure to raise an
   issue either at trial or on direct appeal imposes a procedural bar to habeas review; the
   exceptions are if a defendant can show both good cause for failing to raise the issue
   earlier, and that the court’s failure to consider the claim would result in actual
   prejudice to his defense; alternatively, if a defendant can demonstrate that failure to
   consider the federal claims will result in a fundamental miscarriage of justice, for
   example due to actual innocence, then the court may reach the merits of the claimed
   constitutional deficiencies despite the procedural bar). Mr. Springer argues that these
   exceptions apply to his § 2255 claims; before finding any grounds barred, the court
   has taken into consideration the argued-for exceptions.
                                 II. The Parties’ Positions.
         Applying the above-described doctrines, the government contends that the only
   grounds for §2255 relief which should survive to the second stage are Mr. Springer’s
   challenge to the Tenth Circuit’s page restrictions on the length of his appellate brief,
   and Mr. Springer’s claims of ineffective assistance of appellate counsel.



                                             -2-

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           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 3 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 79 of 127




          Mr. Springer, on the other hand, contends that all 76 grounds should survive to
   the second stage. This order next addresses some of Mr. Springer’s arguments.
                                A. What Mr. Springer Refers to as
                                The “Raised and Resolved” Issue.
          Mr. Springer contends he raised a number of issues in his appeal but that the
   Tenth Circuit did not address them. Grounds raised in an appeal are not procedurally
   barred unless they were addressed and disposed of by the Tenth Circuit in the direct
   appeal. See, e.g., United States v. Cook, 997 F.2d 1312, 1318 at n.6 (10th Cir. 1993)
   (court had “fully addressed” the allegation on direct appeal, deciding that issue
   adversely to the defendant; therefore, the issue was “not cognizable” under §2255).2
   Accordingly, one of Mr. Springer’s primary arguments is that the government has not
   identified where the Tenth Circuit purportedly resolved certain grounds now asserted
   by Mr. Springer in support of §2255 relief, although the government identifies these
   grounds as having been raised by Mr. Springer in his direct appeal and argues that
   these grounds are procedurally barred on that basis.
           The court has reviewed Mr. Springer’s briefs filed in the direct appeal of his
   underlying criminal conviction, as well as the issues which the Tenth Circuit
   addressed and decided when it affirmed Mr. Springer’s conviction in United States v.
   Springer, 444 Fed. Appx. 256 (10th Cir. 2011).3 In that decision the Tenth Circuit
   stated that potential issues which were referenced in Mr. Springer’s appellate briefs


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            Cook cites United States v. Prichard, 875 F.2d 789, 791 (10th Cir. 1989), which Cook
   paraphrases as holding that “absent intervening change in law of circuit, issues disposed of on direct
   appeal will not be considered on § 2255 collateral attack.” To the extent that Mr. Springer argues
   there was an intervening change in the law of the circuit which would save grounds disposed of in
   the direct appeal, the court rejects that argument.
          3
           United States v. Springer denies defendants’ appeals numbered 10-5055 and 10-5057 in
   which Mr. Springer and defendant Oscar Amos Stilley, respectively, challenged their convictions
   and sentences.

                                                    -3-

                                                                                                            79
           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 4 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 80 of 127




   in a passing, perfunctory or scattered way were “insufficient to invoke appellate
   review and, accordingly, those issues are deemed waived.” Id. at n.4. The Tenth
   Circuit went on to individually treat and decide eight categories of issues which the
   court distilled from the issues that had been adequately raised by the defendants. See,
   id. at 260 (listing issues distilled from defendants’ briefs). The Tenth Circuit also
   addressed and disposed of appeal number 10-5156, id. at 266-67 (Mr. Springer’s
   challenge to the district court’s denial of his petition for a writ of error corum noblis);
   and appeal number 11-5053, id. at 267 (Mr. Springer’s motion for a new trial and
   evidentiary hearing based on claims of newly discovered evidence to support his
   motion to suppress). United States v. Springer resolved all adequately raised issues
   in the direct appeal, and all post-trial motions, against the defendants.
          Given the above-described background, this court is not presented with a
   situation in which a defendant adequately raised arguments for purposes of a direct
   appeal but the Tenth Circuit left those arguments unaddressed. The only arguments
   which were referenced by Mr. Springer in his appeal briefs but which the Tenth
   Circuit did not separately dispose of on their merits were arguments raised so
   inadequately that, in effect, they were not raised at all for purposes of the appeal. The
   result is that the grounds which Mr. Springer argues he raised but the Tenth Circuit
   did not address are barred not because they were raised and resolved, but because they
   could have been effectively raised in the appeal but were not. In this situation, Mr.
   Springer’s complaint that the government has failed to show where each ground for
   relief was resolved in the direct appeal does not save any of his claims.




                                              -4-

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           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 5 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 81 of 127




                        B. Mr. Springer’s Attempt to Save Issues
                          Which Were Not Raised In the Appeal
                      On Grounds that Such Issues “Evolved From”
                                 United States v. Springer.
         Mr. Springer also argues that certain grounds for § 2255 relief could not have
   been raised in his direct appeal because United States v. Springer had not yet been
   decided. He contends such grounds for relief “evolved” from the decision in United
   States v. Springer, or that he lacked prior notice regarding how the Tenth Circuit
   would explicate the law until United States v. Springer was decided. As a result, he
   contends he was misled or judicially entrapped, making him unable to raise such
   grounds for relief earlier. These types of arguments are made most noticeably with
   respect to Mr. Springer’s grounds involving the Tenth Circuit’s treatment of Form
   1040. For example, he contends that until United States v. Springer was decided, he
   was not on notice that “Form 1040 was divorced from the Six Counts offense conduct
   so I was misled.” Doc. no. 472, p. 78, ground 68.
         The court rejects Mr. Springer’s contention that such grounds are not barred in
   these § 2255 proceedings. Such grounds were either raised and resolved against Mr.
   Springer in the direct appeal (his contention that these grounds “evolved from” the
   substantive rulings in United States v. Springer suggests as much), or they could have
   been raised in the direct appeal. Furthermore, virtually all circuit decisions nudge the
   development of the law in one respect or another; Mr. Springer’s argument, were it
   to be adopted, would subject all issues addressed in a direct appeal to potential
   redetermination in § 2255 proceedings. United States v. Springer does not change the
   law in a manner which would suggest that any re-examination of these grounds for
   relief should be undertaken in these § 2255 proceedings.



                                             -5-

                                                                                              81
           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 6 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 82 of 127




                           C. Jurisdictional Grounds for Relief.
         Mr. Springer appears to argue that the court cannot dismiss any grounds which
   challenge the jurisdiction of the court. He argues that jurisdiction is an issue which
   cannot be waived, and that jurisdiction may be raised in a collateral attack.
         Many of Mr. Springer’s jurisdictional arguments were raised and resolved in
   the direct appeal. For example, to the extent that his § 2255 jurisdictional arguments
   arise out of his appellate challenge to the Internal Revenue Service’s collection and
   enforcement authority, these types of “spurious delegation arguments” were
   determined to be frivolous in United States v. Springer. Id. at 261. The fact that
   jurisdictional grounds may be raised in a § 2255 proceeding does not mean that
   jurisdictional grounds previously determined in the appeal of the underlying criminal
   prosecution must be determined again in §2255 proceedings.          And there are no
   considerations in this case which suggest it would be necessary or appropriate to
   reconsider any previously rejected jurisdictional arguments. Cf., Tooisgah v. United
   States, 186 F.2d 93, 96 (10th Cir. 1950) (motion involved no new facts, involved a
   possible conflict between state and federal jurisdiction, involved human liberties, and
   the issue had not been presented or painstakingly considered in the direct appeal).
         As for Mr. Springer’s jurisdictional grounds which were not resolved in the
   direct appeal, all such grounds could have been raised (or adequately raised) in the
   appeal and they are now barred for this reason. An example of one such jurisdictional
   argument is that President Obama is not entitled to serve as President. Based on this
   premise, Mr. Springer argues that government officials cannot enforce the laws
   against him. Arguments regarding the President’s law enforcement authority could
   have been made in the direct appeal, although the argument is patently frivolous.
         On that last point – frivolousness – the court also finds that Mr. Springer’s
   jurisdictional grounds for relief are so lacking in merit that as an alternative to

                                            -6-

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           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 7 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 83 of 127




   dismissal, they should be denied on their merits even at this first stage. Although the
   court has previously reserved merits arguments for the second stage, the court takes
   this step, at this time, for several reasons. First, it would be a waste of the parties’ and
   the courts’ time and resources to entertain these grounds further or to dignify them by
   according them further treatment. Second, the Tenth Circuit previously denied Mr.
   Springer’s request for mandamus relief, stating that Mr. Springer had an adequate
   alternative remedy because his § 2255 motion (the instant motion) was then pending,
   in which he had raised the same jurisdictional arguments. See, Appellate Case
   Number 13-5113, doc. no. 01019126981. Third, there is always the possibility that
   a reviewing court may determine that certain jurisdictional arguments should not have
   been dismissed as procedurally barred. For all of these reasons, this court wishes to
   leave no doubt that it has considered Mr. Springer’s jurisdictional grounds for relief
   on their merits.
           Mr. Springer’s jurisdictional arguments which are dismissed as procedurally
   barred and which are alternatively denied on their merits, include the following.
           – Arguments that only the Secretary of the Treasury or the Treasury Department
   have jurisdiction over matters pertinent to Mr. Springer’s prosecution.
           – Challenges to the authority of the grand jury including issues regarding the
   nature or scope of, or limitations on, the Justice Department’s referral to the grand
   jury.
           – Challenges to the authority or jurisdiction of the United States Attorney or
   any Assistant (or any Acting or Special Assistant) United States Attorneys involved
   in this prosecution including Mr. Springer’s arguments that without a properly
   appointed United States Attorney there can be no properly appointed assistants.
           – Challenges to the judicial authority of the federal courts, including challenges
   to federal judicial power over the crime of evasion of payment of taxes, and including

                                               -7-

                                                                                                  83
           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 8 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 84 of 127




   challenges to the judicial authority of the United States District Court for the Northern
   District of Oklahoma.
         – Challenges to the authority and jurisdiction of Magistrate Judge McCarthy,
   or to the authority and jurisdiction of Judges Eagan, Kern or Friot.
         – Arguments that the court has no authority to order restitution.
         – Arguments that the federal government has no authority over these matters
   because such powers are not within the enumerated powers of the national
   government.
         – Arguments that Mr. Springer’s prosecution was unlawful because President
   Obama is ineligible to hold office.
         – Any grounds for relief arguably not resolved in the direct appeal which are
   premised on the contention that the Internal Revenue Service and its agents,
   employees and officials had no authority in matters pertinent to Mr. Springer’s
   criminal prosecution, including arguments premised on the abolition of internal
   revenue districts or district director offices, and arguments that the IRS had no person
   authorized to make ministry audits.
                D. Other Objections to Dismissal Raised by Mr. Springer.
         Whether or not expressly addressed in this order, all other issues raised by Mr.
   Springer in his first-stage briefing papers have been carefully considered by the court.
                 III. The Dismissed Grounds and the Surviving Grounds
                     A. Grounds Raised and Disposed of on Appeal.
         Grounds barred because they are fairly encompassed within the issues raised
   and disposed of in Mr. Springer’s direct appeal include the following grounds for
   relief raised in Mr. Springer’s § 2255 motion.




                                             -8-

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           Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 9 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 85 of 127




          – Grounds based on or arising out of Mr. Springer’s challenge to the Internal
   Revenue Service’s collection and enforcement authority, addressed at United States
   v. Springer, 444 Fed. Appx. 256, 260-61.
          – Grounds based on Mr. Springer’s Form 1040-related arguments, such as
   arguments that he would have proceeded differently in district court if he had known
   that the Tenth Circuit was (in his words) going to hold that Form 1040 was “divorced”
   from the offense conduct, addressed in the Tenth Circuit’s discussion of the
   Paperwork Reduction Act. Id. at 261-62. These grounds include those in which Mr.
   Springer alleges “judicial entrapment by estoppel” as a result of the Tenth Circuit’s
   discussion of Form 1040.
          – Grounds related to the suppression of evidence obtained after the case was
   transferred to the Department of Justice for criminal investigation. See, id. at 262.
          – Grounds based on the trial court’s handling of “gift” and “income” in the
   jury instructions. See, id. at 263.
           – Grounds based on Mr. Springer’s claim that he did not knowingly,
   intelligently and voluntarily waive trial counsel. See, id. at 264.
          – Grounds relating to the reasonableness of his sentence. See, id. at 264-65.
          – Grounds relating to the manner in which the court calculated the tax loss,
   including arguments concerning which years should or should not have been included
   in those calculations. See, id. at 265.
         – Other arguments raised by Mr. Springer in appeal no. 11-503 in support of
   the suppression issue, rejected by the Tenth Circuit for substantially the same reasons
   as those articulated by the district court. See, id. at 267.




                                              -9-

                                                                                             85
          Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 10 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 86 of 127




                      B. Grounds Which Could Have Been Raised
                               In the Appeal But Were Not.
         This second category of barred grounds – grounds which could have been
   raised in the appeal but were not raised in the appeal – includes all other grounds
   raised by Mr. Springer in support of § 2255 relief, except grounds listed below as
   “surviving grounds.” This second category of barred grounds also includes any
   grounds covered in the preceding section A, which Mr. Springer might contend are
   not a close enough fit to be considered resolved in the direct appeal.
                                 C. Duplicative Grounds.
         This order also dismisses grounds, or parts of grounds, which are merely
   duplicative of other grounds for relief. (Numerous grounds are duplicative in part and
   ground 76, for example, is entirely duplicative.)
                         D. Identification of Dismissed Grounds.
         Eliminating all grounds for relief which fall into one or more of categories A,
   B or C above, leaves the grounds which are identified below in section E as “surviving
   grounds.” All other grounds for relief described in Mr. Springer’s § 2255 motion are
   hereby DISMISSED for the reasons previously stated.
                         E. Identification of Surviving Grounds.
         The following grounds for § 2255 relief survive this order for consideration at
   the second stage of these proceedings.
         – Ground 49 to the extent that it challenges the Tenth Circuit’s page limitation
   on Mr. Springer’s appellate briefing.




                                            -10-

                                                                                            86
          Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 11 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 87 of 127




          – Ground 50 to the extent that it challenges the undersigned’s refusal to permit
   an extension of the page limitation applicable to Mr. Springer’s memorandum brief
   filed in support of his § 2255 motion.4
          – Ground 66 to the extent that it argues the cumulative effect of other
   meritorious grounds entitles Mr. Springer to relief under § 2255.5
          – Ground 73 to the extent that it challenges the one-year window of time within
   which to seek relief under § 2255 as “not enough time to ascertain all the
   jurisdictional, and non-jurisdictional grounds, that warrant relief.” Doc. no. 472, p.
   83.
          – To the extent that Mr. Springer asserts ineffective assistance of his appellate
   counsel, that particular aspect of each such ground survives. The parties do not
   always agree regarding in which grounds Mr. Springer alleges ineffective assistance
   of appellate counsel.6 Therefore, to avoid any confusion at the second stage, the court
   finds that ineffective assistance of appellate counsel is alleged in only the following
   grounds: grounds 1 - 14, 28-30, 32-37, 39, 41-44, 46, 48-49, 51, 53-67 and 75. The
   listed grounds include Mr. Springer’s arguments that the Tenth Circuit should have


          4
           Ground 50 also challenges the Tenth Circuit’s page limitation but it is, to that extent,
   duplicative.
          5
           Ground 66 also restates grounds 1 through 75, and argues that the district court and
   appellate process was fundamentally unfair, but these arguments are duplicative of other grounds.
   Mr. Springer’s cumulative effect argument is not, strictly speaking, a duplicative argument.
   Moreover, the cumulative effect cannot be addressed until the court determines which, if any, of the
   surviving grounds have merit, after which it can consider the cumulative effect of all meritorious
   grounds.
          6
           For example, the court notes Mr. Springer’s argument within ground number 49, that “I
   claim for purpose of this Ground that all the Grounds raised 1 through 76 are Grounds that either
   should have been raised or were not evolved yet due to the Tenth Circuit’s decision changing so
   many issues below.” Doc. no. 472, p. 59. These types of conclusory arguments are insufficient and
   do not expand Mr. Springer’s ineffective assistance of appellate counsel arguments to all 76
   grounds.

                                                  -11-

                                                                                                          87
          Case 4:09-cr-00043-SPF Document 537 Filed 03/04/14 Page 12 of 12
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 88 of 127




   appointed new appellate counsel after his counsel was suspended, and that the Tenth
   Circuit should have started the appellate process over at that point.
                                       IV. The Second Stage.
            Within sixty days of the date of this order the government shall file its response
   brief addressing the merits of the surviving grounds. Mr. Springer shall file his reply
   brief within sixty days of the government’s filing of its response brief.
            Primarily to give Mr. Springer as much early notice as possible, the court now
   advises that it is highly unlikely to permit briefs with more than 25 pages of text.7
            Lastly, the parties are advised that although this order sets out the court’s
   determinations regarding which claims survive to the second stage, it is not a final,
   appealable order. At the end of the second stage, the court will enter a judgment.
            Dated this 4th day of March, 2014.




   09-0043p116.wpd




            7
           Although the court allowed Mr. Springer to file a lengthy reply brief at the first stage, a
   smaller number of issues now remain. Also, Mr. Springer’s lengthy filings have unnecessarily
   multiplied these proceedings. For example, although the court permitted Mr. Springer to file a sixty-
   page reply brief in the first stage, that brief, including the appendix, totaled 176 pages, much of
   which was duplicative or frivolous.


                                                  -12-

                                                                                                           88
           Case 4:09-cr-00043-SPF Document 539 Filed 03/05/14 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 89 of 127




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                     )
                                                 )
            Plaintiff/Respondent,                )
                                                 )
   vs.                                           )   Case No. 09-CR-0043-SPF
                                                 )
   LINDSEY KENT SPRINGER,                        )
                                                 )
            Defendant/Movant.                    )

                                          ORDER
            Mr. Springer moves to disqualify the undersigned. Doc. no. 538. He makes
   various arguments which challenge the undersigned’s authority in this § 2255 matter
   and in the underlying criminal proceedings. See summary of arguments, doc. no. 538,
   p. 15. This court’s order of March 4, 2014 has already rejected various jurisdictional
   arguments in which Mr. Springer challenges the undersigned’s authority and the
   jurisdiction of the court. See, doc. no. 537, p. 8. Regardless, all of Mr. Springer’s
   arguments for disqualification, whether construed as previously made or as made for
   the first time in this motion, are rejected on their merits. The motion is DENIED.
            Dated this 5th day of March, 2014.




   09-0043p117.wpd




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           Case 4:09-cr-00043-SPF Document 547 Filed 03/31/14 Page 1 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 90 of 127




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,                  )
                                              )
         Plaintiff/Respondent,                )
                                              )
   vs.                                        )   Case No. 09-CR-0043-SPF
                                              )
   LINDSEY KENT SPRINGER,                     )
                                              )
         Defendant/Movant.                    )

                                          ORDER
         Mr. Springer has filed four new motions in this proceeding under 28 U.S.C.
   §2255. No response briefs are required in order for the court to rule.
                                     1. Doc. No. 543.
         Mr. Springer’s “Motion for Identity of Statutory Authority of Honorable
   Stephen P. Friot,” doc. no. 543, raises an issue regarding the authority of the
   undersigned. This issue has been raised previously by Mr. Springer and has been
   ruled on. The motion is DENIED.
                                     2. Doc. No. 544.
         Mr. Springer’s “Motion to Reconsider Order Dated March 4, 2014,” doc. no.
   544, complains about the court’s order of that date. Mr. Springer argues, among other
   things, that the order addressed some issues on their merits although the court had
   previously made clear that merits-based issues would be addressed at the next stage.
   Regardless, the court is not required to allow further briefing on issues which it would
   be a waste of the parties’ and the court’s resources to further entertain. Mr. Springer
   also complains that the court’s March 4 order did not adequately specify the basis
   upon which certain grounds for relief were dismissed. The court has considered this




                                                                                              90
           Case 4:09-cr-00043-SPF Document 547 Filed 03/31/14 Page 2 of 2
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 91 of 127




   contention but, having done so, finds no reason for further reconsideration of this or
   any other issue raised in Mr. Springer’s motion. The motion is DENIED.
                                       3. Doc. no. 545.
            Mr. Springer’s “Motion for Appointment of Sixth Amendment Counsel,” doc.
   no. 545, asks the court to appoint counsel to Mr. Springer for purposes of Mr.
   Springer’s ineffective assistance of counsel grounds for relief. There is no reason to
   appoint counsel at this stage, and the motion is DENIED.
                                       4. Doc. no. 546.
            The above-described motion for appointment of counsel states that Mr. Springer
   has “also attached his original application to proceed [without prepayment of fees and
   affidavit] struck by the Court in the event it becomes necessary to show movant’s
   ability to afford counsel is wanting.” Doc. no. 545, p. 5. The referred to in forma
   pauperis application was incorrectly docketed as a separate motion, at doc. no. 546.
   The clerk is DIRECTED to terminate doc. no. 546 as a motion.
            Dated this 31st day of March, 2014.




   09-0043p120.wpd




                                              -2-

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           Case 4:09-cr-00043-SPF Document 552 Filed 04/10/14 Page 1 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 92 of 127




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                 )
                                             )
         Plaintiff/Respondent,               )
                                             )
                v.                           )       Case No. 09-CR-043-SPF
                                             )
   LINDSEY KENT SPRINGER,                    )
                                             )
         Defendant/Movant.                   )


                                           ORDER

                                     Doc. Nos. 540, 551

         Defendant Lindsey Kent Springer’s Motion to Return Property, brought under
   Rule 41(g), Fed. R. Crim. P., is before the court. Doc. no. 540. The government has
   responded by objecting to Mr. Springer’s motion, and the government has also filed
   its own motion, doc. no. 549, asking the court to take steps to assist in the return of
   Mr. Springer’s property.
         Mr. Springer’s motion is brought under Rule 41(g), which applies “to a person
   aggrieved by an unlawful search and seizure of property or by the deprivation of
   property.” Mr. Springer argues that the search and seizure in question was unlawful,
   that Rule 41(b) is unconstitutional, and that his home was not within the exclusive
   territorial jurisdiction of the United States.
         The search and seizure have previously been determined to be lawful. Doc. no.
   100. And Mr. Springer’s constitutional and jurisdictional arguments are frivolous.
         The United States advises the court in its response brief that it wants to return
   Mr. Springer’s property, to the extent the property is not contraband. By its own


                                                                                             92
           Case 4:09-cr-00043-SPF Document 552 Filed 04/10/14 Page 2 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 93 of 127




   motion at doc. no. 549, as to which the briefing has not yet concluded, the United
   States seeks the court’s assistance to that end.
          Finally, the court notes that, within his papers, Mr. Springer asks that the court
   return $2,000 to him. His motion, at doc. no. 540, p. 10 of 27, refers to Mr. Springer’s
   contention that there was a “theft” of this money, which Mr. Springer litigated in
   Springer v. Horn, et al,, CIV-06-156. Judgment was entered against Mr. Springer and
   in favor of the defendants in that action. CIV-06-156, doc. no. 206. Mr. Springer’s
   appeal was dismissed. CIV-06-156, doc. no. 221 (Tenth Circuit Order). Moreover,
   the United States has filed a response brief indicating that all money seized from Mr.
   Springer, consisting of $17,000 in currency, was previously returned to Mr. Springer.
   The government has submitted an “Internal Revenue Service Release of Claim,”
   verified by Mr. Springer, showing that the $17,000 was returned to Mr. Springer.
   Doc. no. 548-2, p. 4 of 5. The government has also submitted a “Release and Receipt
   of Property” form signed by Mr. Springer, acknowledging receipt of $17,000 from the
   IRS. Doc. no. 548-2, p. 5 of 5. No basis has been shown by Mr. Springer for the
   return of $2,000.
          Mr. Springer’s motion asks the court for the following relief. “Movant request
   [sic] this Court issue an order pursuant to FRCr.P. 41(g) finding (1) Shern was not a
   federal law enforcement officer... (2) Judge McCarthy was not authorized to issue a
   search warrant to Shern on September 15, 2005.... (3) FRCrP Rule 41(b) is
   unconstitutional and as applied; (4) Movant’s home was not within the exclusive
   territorial jurisdiction of the district; and (5) all property taken must be returned to the
   Movant, including all copies, not yet returned, and the $2,000.00. Movant requests
   an evidentiary hearing.” Doc. no. 540, p. 25.
          Mr. Springer has not shown grounds for the type of relief he requests in doc.
   no. 540, and his motion is DENIED.

                                                2

                                                                                                  93
           Case 4:09-cr-00043-SPF Document 552 Filed 04/10/14 Page 3 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 94 of 127




            Mr. Springer has filed a related motion entitled “Motion for Rule 41(i) Papers.”
   Doc. no. 551. No response has yet been filed to that motion, but no response is
   necessary in order for the court to rule. Mr. Springer asks the court to provide papers
   “delivered to the clerk by Magistrate McCarthy involving his September 15, 2005
   search warrant at issue in Movant’s Rule 41(g) motion.” Mr. Springer states that “a
   dispute of fact exists regarding the property taken which movant needs to show the
   facts are in Movant’s favor.” The search warrant has previously been upheld, and
   Mr. Springer’s motion to return property has been denied. The motion at doc. no. 551
   is DENIED.
            Dated this 10th day of April, 2014.




   09-0043p121.wpd




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           Case 4:09-cr-00043-SPF Document 557 Filed 04/28/14 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 95 of 127




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                      )
                                                  )
            Plaintiff/Respondent,                 )
                                                  )
   vs.                                            )   Case No. 09-cr-0043-SPF
                                                  )
   LINDSEY KENT SPRINGER,                         )
                                                  )
            Defendant/Movant.                     )

                                           ORDER
            Mr. Springer has filed another motion to reconsider the court’s order of
   March 4, 2014. Doc. no. 553. The motion appears to complain about some purported
   lack of clarity with regard to the court’s ruling concerning grounds for relief 59 and
   37. The March 4, 2014 order lists the grounds which survive to the second stage of
   these proceedings. Grounds 59 and 37 are listed there as surviving to the second stage
   but only to the extent that Mr. Springer asserts ineffective assistance of his appellate
   counsel in these grounds. Doc. no. 537, p. 11. The court cannot state it more clearly
   than that. The motion for reconsideration is DENIED.
            Dated this 28th day of April, 2014.




   09-0043p123.wpd




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           Case 4:09-cr-00043-SPF Document 566 Filed 06/11/14 Page 1 of 4
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 96 of 127



             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                )
                                            )
         Plaintiff,                         )
                                            )
                v.                          )         Case No. 09-CR-043-SPF
                                            )
   LINDSEY KENT SPRINGER,                   )
                                            )
         Defendant.                         )


                                         ORDER
                                     (on doc. no. 549)

         The United States moves for an order directing defendant Lindsey Kent
   Springer to retrieve records and other documents seized from him, and authorizing the
   destruction of $10.00 in counterfeit currency also seized from him. Doc. no. 549. Mr.
   Springer objects.
         The government states that it wants to return the seized property (other than the
   counterfeit money), provided Mr. Springer, who is incarcerated, follows certain
   procedures. The government seeks an order requiring Mr. Springer to retrieve the
   seized materials by a date certain, after designating an agent for that purpose. The
   government’s proposed order submitted with the motion would direct Mr. Springer
   to arrange for Mr. Springer’s agent to retrieve the materials before a certain deadline,
   and would direct Mr. Springer to personally sign a notarized statement specifically
   identifying the person who will pick up the materials, requiring that such statement
   be provided to the Internal Revenue Service when the materials are retrieved by Mr.
   Springer’s designated agent. The government’s proposed order would also authorize


                                                -1-

                                                                                              96
           Case 4:09-cr-00043-SPF Document 566 Filed 06/11/14 Page 2 of 4
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 97 of 127



   the United States to destroy any materials which might remain in the government’s
   possession after the deadline for the retrieval.
          Mr. Springer makes various arguments regarding the contended unlawfulness
   of the search, despite the fact that search has previously been upheld. He also objects
   to the government’s procedures for effecting the return of his property. He states that
   the government can deliver the four boxes of materials to an address which he will
   provide, a delivery which he will authorize by his signature. He states, however, that
   he will not permit the government to contend everything has been returned until he
   has been provided with an opportunity to inspect the boxes’ content or has viewed an
   itemized list of the contents of each box, and until he is provided with a custody report
   of the items in the boxes through the time of their return.1
          Mr. Springer previously sought the return of seized property under Fed. R.
   Crim. P., Rule 41(g). That motion, which made a variety of arguments and sought
   other relief, was denied as frivolous. Doc. no. 552. At the time the court denied that
   motion, it noted that the United States was attempting to return the property and that
   there was a pending motion by the government not yet at issue, which sought the
   court’s assistance in that regard. The referred to motion is the instant motion.
          Under both Rule 41(g) and the case law, the court is given discretion to
   determine appropriate conditions for effecting the transfer of seized property back to
   a criminal defendant. For example, Rule 41(g) provides that if a court grants a motion
   for return of property, the court may impose reasonable conditions to protect access
   to the property and its use in later proceedings.2 And see generally, United States v.
   Rodriguez-Aguirre, 264 F.3d 1195, 1213, and n.13 (10th Cir. 2001) (non-contraband


          1
          The court notes that the motion includes an inventory identification of the items seized
   pursuant to the warrant. Doc. no. 549-3.
          2
           The government states that if the United States needs materials from the seized records,
   retained copies will suffice.

                                                  -2-

                                                                                                      97
           Case 4:09-cr-00043-SPF Document 566 Filed 06/11/14 Page 3 of 4
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 98 of 127



   property of the accused, seized by officers and used as evidence, generally will be
   returned to him “on proper application,” emphasis added; there is no right to return
   of contraband per se, which consists of objects which are intrinsically illegal, the
   possession of which, without more, constitutes a crime).
          In this case, the government proposes reasonable steps to ensure proper
   retrieval of the property in question, to memorialize Mr. Springer’s authority for that
   transaction to occur, and to ensure that the transfer is made to Mr. Springer’s
   designated agent. Mr. Springer should not be allowed to thwart the government’s
   attempts to return the property by objecting to the government’s reasonable
   procedures. Nor, by his refusal to cooperate with those procedures, should Mr.
   Springer be able to effectively require the government to hold the property
   indefinitely. Accordingly, while the court will not force Mr. Springer to comply with
   the government’s procedures, the court will direct that if Mr. Springer does not
   comply with the procedures proposed by the government for effecting the return of
   the property, the government is then authorized to destroy the property in question.
         The motion is GRANTED to the following extent. If Mr. Springer still seeks
   the return of his property, he shall arrange for an agent to contact Mr. Jeffrey Gallant,
   an Assistant United States Attorney located in Tulsa who signed the motion, or Mr.
   Gallant’s representative for that purpose, within thirty days of the date of this order,
   for the purpose of making more specific arrangements with the government regarding
   retrieval of the materials in question.          Retrieval of the documents from the
   government, by the agent designated by Mr. Springer, shall occur no later than sixty
   days from the date of this order. Mr. Springer shall personally sign a notarized
   statement specifically identifying the person who will pick up his materials. That
   signed notarized statement must be provided to the Internal Revenue Service when the
   materials are retrieved by the agent on Mr. Springer’s behalf. If Mr. Springer does not
   timely comply with these procedures (or reach an agreement with the government

                                              -3-

                                                                                               98
           Case 4:09-cr-00043-SPF Document 566 Filed 06/11/14 Page 4 of 4
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 99 of 127



   through his agent or otherwise regarding additional time to comply, an agreement
   which need not involve the court), the United States is authorized to destroy any of
   the materials which then remain in the government’s possession. In addition, the
   United States is authorized to immediately destroy the single United States
   $10 counterfeit bill seized during the execution of the search warrant.
            Dated this 11th day of June, 2014.




   09-0043p122.PO.wpd




                                                 -4-

                                                                                          99
            Case 4:09-cr-00043-SPF Document 575 Filed 07/09/14 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 100 of 127




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA,                    )
                                                 )
             Plaintiff/Respondent,               )
                                                 )
    vs.                                          )   Case No. 09-CR-0043-SPF
                                                 )
    LINDSEY K. SPRINGER,                         )
                                                 )
             Defendant/Movant.                   )

                                            ORDER
             Mr. Springer has filed a motion in this § 2255 matter, entitled “Motion to
    Reconsider and Allow Discovery.” Doc. no. 572. There is no need for a response
    from the government in order for the court to rule. The motion asks the court to allow
    discovery involving certain documents which Mr. Springer contends relate to Thomas
    Scott Woodward’s and to Charles A. O’Reilly’s authorization to represent the United
    States. Mr. Springer states that the request is based on newly discovered evidence.
    The court has previously dismissed as procedurally barred, and alternatively as barred
    on their merits, Mr. Springer’s arguments based on challenges to the authority or
    jurisdiction of the United States Attorney or any Assistant (or any Acting or Special
    Assistant) United States Attorneys involved in this prosecution. Doc. no. 537, p. 7.
    There is no need to re-examine this finding or for any further discovery on this
    frivolous issue. The motion (doc. no. 572) is DENIED.
             Dated this 9th day of July, 2014.




    09-0043p126.wpd


                                                                                             100
            Case 4:09-cr-00043-SPF Document 579 Filed 07/15/14 Page 1 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 101 of 127




              IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF OKLAHOMA


    UNITED STATES OF AMERICA,                   )
                                                )
          Plaintiff/Respondent,                 )
                                                )
    vs.                                         )   Case No.09-cr-0043-SPF
                                                )
    LINDSEY KENT SPRINGER,                      )
                                                )
          Defendant/Movant.                     )

                                            ORDER
          Mr. Springer has filed a “Motion for Release Pending Disposition of 2255
    Proceeding,” doc. no. 577, with a supporting affidavit, doc. no. 578. The motion
    states that it is brought pursuant to 28 U.S.C. § 1651, § 2241, § 2255, and the court’s
    inherent power. Doc. no. 577, p. 6.
          28 U.S.C. § 1651. Section 1651 grants the Supreme Court and federal courts
    the power to issue writs. Absent some other basis for relief, § 1651 is of no help to
    movant here.
          28 U.S.C. § 2241. A petition brought under § 2241 attacks the execution of a
    sentence rather than its validity, and must be filed in the district where the prisoner is
    confined. Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir. 1996). Mr. Springer
    requests release “due to having served all the sentence of counts 1, 4, 5 and 6,” and
    he makes various arguments as to why his sentence, as it is being imposed, is illegal
    and unconstitutional. Doc. no. 577, p. 30. His supporting affidavit states that “Based
    upon 60 month maximum and having to serve 87% equals 52 months and 6 days of
    the 60 months. I have served 50 months and 9 days minus 1-day equals 50 months 8-




                                                                                                 101
            Case 4:09-cr-00043-SPF Document 579 Filed 07/15/14 Page 2 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 102 of 127




    days. Based upon the errors shown in my motion I should be in a halfway house at
    present if my arguments are correct.” Doc. no. 578, p. 2. The court finds that Mr.
    Springer’s filings should primarily be construed as a petition attacking the calculation
    and execution of Mr. Springer’s sentence, pursuant to § 2241.
           As previously stated, a petition for relief under § 2241 must be filed in the
    district where the prisoner is confined. Jurisdictional defects which arise when a suit
    is filed in the wrong federal district may be cured by transfer under the federal transfer
    statute, 28 U.S.C. § 1631; United States v. Tamayo, 162 Fed. Appx. 813, 815 (10th
    Cir. 2006), not published, cited here pursuant to the limitations stated in the Tenth
    Circuit Rules for citing unpublished decisions. Accordingly, construed as a petition
    for relief under § 2241, this court has no jurisdiction over such a motion and his
    filings will be transferred to the custodial court.
           28 U.S.C. § 2255. As he cites § 2255, it appears Mr. Springer asserts that
    §2255 provides authority for his filings. Mr. Springer has previously presented
    grounds for relief under § 2255. Indeed, that action is currently pending before the
    undersigned. All second or successive motions for relief under §2255 must be
    certified by a panel of the appropriate court of appeals. 28 U.S.C. § 2255(h). That has
    not occurred here. When a second or successive §2255 claim is filed in the district
    court without the required authorization from the circuit, the district court may transfer
    to the circuit if it determines it is in the interest of justice to do so, or the district court
    may dismiss the motion or petition for lack of jurisdiction. United States v. Cline, 531
    F.3d 1249, 1252 (10th Cir. 2008). Transfer to the circuit of any grounds for relief
    raised under §2255 is not in the interest of justice, and any such grounds are dismissed
    without prejudice for lack of jurisdiction.

                                                  -2-




                                                                                                       102
            Case 4:09-cr-00043-SPF Document 579 Filed 07/15/14 Page 3 of 3
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 103 of 127




             Inherent power. No basis has been shown for the court to exercise any inherent
    power to grant the relief requested by Mr. Springer.
                                             Rulings
             To the extent that the filings at doc. nos. 577 and 578 challenge the calculation
    of and execution of Mr. Springer’s sentence, those filings are construed as a petition
    for relief under 28 U.S.C. § 2241, over which this court has no jurisdiction as it is not
    the custodial court. The filings at doc. nos. 577 and 578 are TRANSFERRED to the
    United States District Court for the District of New Mexico, the federal judicial
    district in which the institution where Mr. Springer is in custody (FCI La Tuna,
    Anthony, New Mexico, 88021) is located. The clerk is DIRECTED to effect the
    transfer. Any claims for relief brought under 28 U.S.C. § 2255 are DISMISSED
    without prejudice for lack of jurisdiction.
             Dated this 15th day of July, 2014.




    09-0043p127.wpd




                                                  -3-




                                                                                                 103
            Case 4:09-cr-00043-SPF Document 583 Filed 07/30/14 Page 1 of 5
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 104 of 127




               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA


    UNITED STATES OF AMERICA,                      )
                                                   )
           Plaintiff/Respondent,                   )
                                                   )
    vs.                                            )    Case No. 09-CR-0043-SPF
                                                   )
    LINDSEY KENT SPRINGER,                         )
                                                   )
           Defendant/Movant.                       )


                                              ORDER
                                          (re doc. no. 570)


           Defendant/movant Lindsey Kent Springer seeks leave to amend his pending
    §2255 motion. Doc. no. 570. Moving under Rule 15, Fed. R. Civ. P., he asks
    permission to add two additional grounds for relief to the approximately seventy-six
    grounds for relief stated in his original § 2255 motion.1 The government has filed a
    response brief objecting to the proposed amendments. Doc. no. 576. The response
    brief argues that the motion should be stricken for non-compliance with various
    aspects of the local rules, and also because the proposed grounds would fail on their
    merits if the court were to reach the merits. Mr. Springer has filed a reply, arguing
    that the rules cited by the government do not apply and that the proposed grounds are



           1
             The proposed grounds relate to 1) whether 18 U.S.C. § 3584(a) prohibits the court from
    imposing consecutive terms of imprisonment, making the maximum term for which Mr. Springer
    could have been imprisoned five years; and 2) whether the “sentence imposed is multiplicitous and
    violates the Fifth Amendment’s due process and double jeopardy clause exceeding the statutory
    maximum.” Doc. no. 570, pp. 5, 6.



                                                                                                        104
            Case 4:09-cr-00043-SPF Document 583 Filed 07/30/14 Page 2 of 5
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 105 of 127




    meritorious. Doc. no. 582. Mr. Springer is a very experienced litigant. He proceeds
    pro se and his pleadings are liberally construed.
                                  Procedural Background
          Mr. Springer’s original motion for § 2255 relief was received by the court on
    March 11, 2013. On March 15, 2013, the court established a briefing schedule
    tailored to these complex proceedings, dividing the briefing on Mr. Springer’s
    seventy-six grounds for relief into two stages. After the first-stage briefing was
    complete, the court entered a twelve-page ruling, on March 4, 2014, determining
    numerous issues. Doc. no. 537. Mr. Springer then filed numerous motions, all of
    which (other than the instant motion to amend) have now been disposed of. The only
    matters which remain to be determined at this point are the second-stage issues which
    survived the court’s order of March 4, 2014, and the instant motion to amend which
    was received by the court on June 27, 2014. The government and Mr. Springer have
    already filed briefs with regard to the surviving second-stage issues. To date, many
    hundreds of pages of arguments and materials have been filed by Mr. Springer in these
    proceedings.
                                         Discussion
          A motion to amend § 2255 grounds for relief may be denied as untimely. See,
    e.g., United States v. Burbage, 280 Fed. Appx. 777 (10th Cir. 2008) (§ 2255 case in
    which movant sought to amend after objections to magistrate judge’s findings were
    due but before district court had accepted the magistrate judge’s recommendations to
    dismiss the case; district court’s second reason for denying the motion to amend,
    untimeliness, was adequate standing alone where district court stated that movant
    could not raise new claims at this late date, as they occurred to the movant); United
    States v. Johnson, 162 F.3d 1174 (10th Cir. 1998) (§ 2255 case in which district court


                                             -2-


                                                                                             105
            Case 4:09-cr-00043-SPF Document 583 Filed 07/30/14 Page 3 of 5
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 106 of 127




    denied leave to amend filed seven months after original claim and two months after
    district court decided the case; motion offered no facts or law that could not have been
    offered earlier; court noted that untimeliness alone is a sufficient reason to deny leave
    to amend).2
               A litigant cannot propose new claims whenever they occur to him. All the
    more so here, due to circumstances unique to this case such as the following.
           1. This is complex litigation in which Mr. Springer has already raised
    approximately seventy-six grounds for relief.
           2. The court long ago organized the issues into a two-part briefing schedule and
    ruling schedule, which the proposed amendments, if allowed at this late date, would
    decimate.
           3. Mr. Springer’s motion to amend was filed more than a year after he filed his
    original motion for § 2255 relief, and more than three months after the court entered
    a number of dispositive rulings on those grounds for relief in the court’s first-stage
    ruling.
           4. Mr. Springer’s motion suggests no reason why his proposed grounds for
    relief could not have been included in his original § 2255 motion. Instead, his motion
    focuses only on the purported merits of the additional grounds for relief.3 He offers
    no explanation for his delay.




           2
             Both of these decisions are unpublished and are cited in compliance with the Tenth Circuit’s
    rules regarding citations to unpublished decisions.
           3
            Although this order does not reach the merits of the proposed new grounds for relief, the
    court has reviewed the proposed grounds and finds nothing there to suggest the amendments should
    be permitted despite the motion’s belatedness.


                                                    -3-


                                                                                                            106
            Case 4:09-cr-00043-SPF Document 583 Filed 07/30/14 Page 4 of 5
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 107 of 127




           5. These proceedings have reached the final stage. The court has already
    entered a number of dispositive rulings. Moreover, the briefing of the surviving
    grounds for relief was completed on June 20, 2014, when the court received Mr.
    Springer’s brief on the merits of the surviving grounds. Other than ruling on the
    instant motion, all that remains to be done is for the court to adjudicate the surviving
    grounds.
           6. The timing of the motion suggests the possibility of bad faith on Mr.
    Springer’s part.
           7. Introducing new grounds for § 2255 relief at this stage would prejudice the
    United States by requiring it to respond to the proposed claims once the original
    claims were amended.
           For all of these reasons, the court finds that the proposed amendment comes too
    late even measured by the liberal standards of Rule 15(a)(2), Fed. R. Civ. P.4 It will
    be denied as untimely.
           Alternatively, the motion does not comply with LCvR9.2(c). Mr. Springer
    argues that subsection (c) does not apply. Rule 9.2, however, is entitled “Actions
    Brought by Incarcerated Persons.” Sections (a) and (b) of Rule 9.2 specifically
    address § 2255 proceedings. Although section (c) does not refer to § 2255 motions,
    read in context, it is clear that section (c), which is entitled “Amended Pleadings,”
    applies to § 2255 proceedings. Section (c) provides that “Original proposed amended
    pleadings shall be signed and attached to any motion for leave to amend the pleading.”



           4
             The Tenth Circuit has applied Rule 15, Fed. R. Civ. P., to motions to amend § 2255
    proceedings. See, e.g., United States v. Espinoza-Saenz, 235 F.3d 501, 503 (10th Cir. 2000)
    (applying Rule 15, Fed. R. Civ. P., to motion to amend § 2255 proceedings). Rule 15(a)(2) provides
    that the court should freely give leave when justice so requires. Justice does not require permitting
    the amendments proposed by Mr. Springer.

                                                    -4-


                                                                                                            107
            Case 4:09-cr-00043-SPF Document 583 Filed 07/30/14 Page 5 of 5
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 108 of 127




    No such attachment was included with Mr. Springer’s motion to amend. Lack of
    compliance with the court’s local rules is an alternative basis for denying the motion.
                                             Ruling
             Mr. Springer’s motion to amend (doc. no. 570) is DENIED.
             Dated this 30th day of July, 2014.




    09-0043p128.wpd




                                                  -5-


                                                                                              108
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 1 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 109 of 127




              IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA,                   )
                                                )
          Plaintiff/Respondent,                 )
                                                )
    vs.                                         )   Case Nos. 09-cr-0043-SPF and
                                                )             13-cv-0145-SPF-TLW
    LINDSEY KENT SPRINGER,                      )
                                                )
          Defendant/Movant.                     )



                                           ORDER
          On March 11, 2013, Mr. Springer moved to vacate, set aside or correct his
    sentence under 28 U.S.C. § 2255. Doc. no. 472, filed with doc. nos. 473-475. In that
    motion, he stated approximately seventy-six separate grounds for relief. On March
    15, 2013, the court established a two-stage briefing schedule. Doc. no. 478. After
    briefing of the first-stage issues, the court entered an order on March 4, 2014, doc. no.
    537, disposing of many of the seventy-six grounds for relief urged by Mr. Springer.
    The order dismissed all procedurally barred grounds for relief, and as an alternative
    basis for disposing of the jurisdictional grounds for relief it also found those grounds
    lacked merit. The order also identified all grounds which survived for second-stage
    consideration. Per the briefing schedule, the government then responded to Mr.
    Springer’s arguments regarding the remaining grounds for relief. Doc. no. 562. Mr.
    Springer filed a reply brief. Doc. no. 567. Accordingly, the second-stage briefing is
    now complete.
          Mr. Springer is an experienced litigant. He appears pro se and his pleadings are
    liberally construed.




                                                                                                109
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 2 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 110 of 127




                                    Remaining Grounds
          The following grounds for relief remain for consideration on their merits.
    (These are the surviving grounds as stated in the March 4 order, doc. no. 537, pp.
    10-12, footnotes deleted.)
                 – Ground 49 to the extent that it challenges the Tenth Circuit’s
          page limitation on Mr. Springer’s appellate briefing.

                – Ground 50 to the extent that it challenges the undersigned’s
          refusal to permit an extension of the page limitation applicable to Mr.
          Springer’s memorandum brief filed in support of his § 2255 motion.

                – Ground 66 to the extent that it argues the cumulative effect of
          other meritorious grounds entitles Mr. Springer to relief under § 2255.

                 – Ground 73 to the extent that it challenges the one-year window
          of time within which to seek relief under § 2255 as “not enough time to
          ascertain all the jurisdictional, and non-jurisdictional grounds, that
          warrant relief.” Doc. no. 472, p. 83.

                 – To the extent that Mr. Springer asserts ineffective assistance of
          his appellate counsel, that particular aspect of each such ground survives.
          The parties do not always agree regarding in which grounds Mr. Springer
          alleges ineffective assistance of appellate counsel. Therefore, to avoid
          any confusion at the second stage, the court finds that ineffective
          assistance of appellate counsel is alleged in only the following grounds:
          Grounds 1 - 14, 28-30, 32-37, 39, 41-44, 46, 48-49, 51, 53-67 and 75.
          The listed grounds include Mr. Springer’s arguments that the Tenth
          Circuit should have appointed new appellate counsel after his counsel
          was suspended, and that the Tenth Circuit should have started the
          appellate process over at that point.

          This order addresses each of these remaining grounds, leaving Ground 66 for
    last because it involves the cumulative effect of Mr. Springer’s arguments.




                                             -2-

                                                                                         110
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 3 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 111 of 127




                                         Ground 49
          The surviving aspect of Ground 49 contends that the Tenth Circuit’s page
    limitation on Mr. Springer’s appellate briefing supports relief under §2255.
          Mr. Springer cites no authority which indicates that he may attack his sentence
    under § 2255 on a ground such as this, which does not directly challenge his trial,
    judgment or conviction. Moreover, appellate courts have stated that page limitations
    merely limit the manner in which a petitioner can present his arguments; they do not
    wholly prevent a petitioner from presenting those arguments. See, e.g., Mueller v.
    Angelone, 181 F.3d 557, 582-83 (4th Cir. 1999). The Tenth Circuit has referred to
    page limitations on appellate briefs as a means by which to avoid unnecessarily
    complicating the task of appellate judges. See, United States v. Patterson, 713 F.3d
    1237, 1250 (10th Cir. 2013), and cases cited there. Without page limitations, parties
    would be encouraged to include frivolous and duplicative arguments.
          Additionally, Mr. Springer states that without the benefit of counsel, he is
    unable to say at this time what issues he would have raised on appeal but for the Tenth
    Circuit’s enforcement of its page limitation. Doc. no. 472, p. 59. Mr. Springer has
    shown no prejudice as a result of the Tenth Circuit’s page limitations on appellate
    briefing.
          This ground for relief has no merit and is rejected as a basis for relief under
    §2255.
                                         Ground 50
          The surviving aspect of Ground 50 contends that the undersigned’s refusal to
    permit an extension of the twenty-five-page limit applicable to Mr. Springer’s




                                             -3-

                                                                                              111
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 4 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 112 of 127




    memorandum brief filed in support of his § 2255 motion, constitutes grounds for relief
    under § 2255.1
           Mr. Springer cites no authority which indicates that he may attack his sentence
    under § 2255 on a ground such as this, which does not directly challenge his trial,
    judgment or conviction. Moreover, despite Mr. Springer’s complaint that his brief
    was not allowed to exceed twenty-five pages of text (the length permitted by the
    court’s local rules), his § 2255 motion raised seventy-six grounds for relief. Mr.
    springer also presented hundreds of pages of material in support of his § 2255 motion.
    Like page limits on appellate briefing, page limits on briefing filed with a district court
    are a necessary case management tool without which there would be no check on
    frivolous or duplicative arguments. In its first-stage ruling the court held that
    numerous grounds raised by Mr. Springer were procedurally barred, and that all of his
    jurisdictional arguments were also frivolous. If Mr. Springer had deleted such
    arguments, he would have had many more pages available to devote to other
    arguments. Courts have stated that when a pro se party files pleadings which are
    consistently verbose and confusing, the imposition of a page limitation is a
    permissible and reasonable exercise of discretion. Murphy v. Colorado Dept. of
    Corrections, 2008 WL 496307 at *2 (D. Colo. 2008).
           Additionally, Mr. Springer’s second-stage memorandum, doc. no. 567, pp.
    30-31 (addressing Ground 50), does not identify any arguments which Mr. Springer
    would have made but for this court’s enforcement of the page limit. Mr. Springer has
    shown no prejudice as a result of the enforced page limit.




           1
            As stated within Ground 50, doc. no. 472, p. 60 (facts portion), the undersigned denied Mr.
    Springer’s motion to file an over-length brief in support of his § 2255 motion, on January 4, 2013.
    The order of denial is at doc. no. 471.

                                                   -4-

                                                                                                          112
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 5 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 113 of 127




          This ground for relief has no merit and is rejected as a basis for relief under
    §2255.
                                           Ground 73
          The surviving aspect of Ground 73 argues that the one-year window within
    which to seek relief under § 2255 does not allow enough time to ascertain all grounds
    that warrant relief, thereby entitling Mr. Springer to § 2255 relief.
          In Miller v. Marr, 141 F.3d 976 (10th Cir. 1998), the Tenth Circuit found that
    as applied in that case, the one-year limitation on filing a habeas petition did not
    violate petitioner’s rights under the Suspension Clause (U.S. Const. art. I, § 9 cl. 2, the
    Constitution’s prohibition on suspending the writ). Id. at 977. The court stated that
    “Whether the one-year limitation period violates the Suspension Clause depends upon
    whether the limitation period renders the habeas remedy inadequate or ineffective to
    test the legality of detention.” Id.
          Mr. Springer filed a timely motion for § 2255 relief, including seventy-six
    grounds for relief. Mr. Springer identifies no grounds which he would have presented
    but for the one-year limit, and he presents no arguments which would support
    equitable tolling of the one-year period. It is Mr. Springer’s burden to show that the
    one year period was inadequate or ineffective. Id. He has not carried that burden.
          This ground has no merit and is rejected as a basis for relief under § 2255.
              Grounds for Relief Based on Ineffective Assistance of Counsel
          As stated in the court’s order at the conclusion of the first stage, grounds for
    relief which assert that Mr. Springer had ineffective assistance of counsel on appeal
    survived to the second stage and are included within the following grounds: Grounds
    1 - 14, 28-30, 32-37, 39, 41-44, 46, 48-49, 51, 53-67 and 75. As noted in the first-
    stage order, among these ineffective assistance grounds are complaints by Mr.
    Springer that the Tenth Circuit should have appointed new appellate counsel after his

                                               -5-

                                                                                                  113
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 6 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 114 of 127




    counsel was suspended (due to conduct in another matter) from practicing before the
    Tenth Circuit, and that the Tenth Circuit should have started Mr. Springer’s appellate
    proceedings over at that point.2
           Mr. Springer contends his appellate counsel was ineffective for failure to raise
    grounds for relief which he now argues are meritorious and should have been asserted
    on appeal.3 To establish a claim of ineffective assistance of counsel, a defendant must
    show that his counsel’s performance was deficient and that the deficient performance
    was prejudicial. Strickland v. Washington,466 U.S. 668, 687 (1984). A court
    deciding an ineffective assistance claim need not determine whether counsel’s
    performance was deficient before examining the prejudice suffered by the defendant
    as a result of the alleged deficiencies. Strickland, 466 U.S. at 697. In other words, the
    court may examine the Strickland requirements in any sequence, and a finding that
    either requirement is not met ends the discussion.
            The court has carefully reviewed each ground for relief based on purported
    ineffective assistance of appellate counsel. Having done so, the court concludes that
    all such grounds for relief fall into one or more of the following categories.


           2
             Mr. Jerold W. Berringer represented Mr. Springer on appeal. By order of September 2,
    2011, the Tenth Circuit suspended Mr. Barringer from practicing before that court, for making
    frivolous arguments in a federal tax lien foreclosure appeal involving Mr. Springer. See, suspension
    order, In re: Jerold W. Barringer, 2011 WL 10657459 (10th Cir. 2011). The suspension occurred
    after Mr. Barringer had filed Mr. Springer’s opening and reply briefs in the direct appeal which
    underlies this § 2255 matter, but before the Tenth Circuit affirmed the judgment and sentence in that
    direct appeal.
           3
             In a few instances (see, e.g., Grounds 28, 29, 30, and 57, all of which involve the Paperwork
    Reduction Act and/or Form 1040), Mr. Springer claims not that his appellate counsel failed to raise
    issues, but that appellate counsel failed to “properly raise” issues. Mr. Springer presumably makes
    this distinction because he recognizes that these grounds were, in fact, raised by his appellate
    counsel. The Tenth Circuit found that the Paperwork Reduction Act and Form 1040 issues had been
    sufficiently raised in the appeal, and it addressed and rejected those issues in the direct appeal.
    Grounds which were sufficiently raised, but rejected, in the direct appeal, merit no relief under
    §2255 for purported ineffective assistance of counsel during the appeal.

                                                     -6-

                                                                                                             114
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 7 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 115 of 127




            1. They are grounds which come within the scope of issues which were
            sufficiently raised by appellate counsel in the direct appeal, which were
            addressed by the Tenth Circuit in that appeal, and which were rejected
            by the Tenth Circuit in the direct appeal. See, Springer, 444 Fed. Appx.
            256, 260 (identifying eight categories of arguments advanced by Mr.
            Springer on appeal; each of those eight sets of issues was addressed and
            rejected).4


            2. They are grounds which either expressly or by implication challenge
            the federal courts’ jurisdiction over the underlying crimes. Some of
            these types of jurisdictional grounds come within the scope of
            jurisdictional issues rejected on their merits by the Tenth Circuit in the
            direct appeal. For example, in Springer, the Tenth Circuit discussed and
            rejected Mr. Springer’s arguments regarding the “Delegation of IRS
            Collection and Enforcement Authority.” Id. at 260-61. Additionally, all
            of Mr. Springer’s jurisdictional grounds for relief were rejected on their
            merits by the undersigned in the first-stage order. That order stated that
            Mr. Springer’s jurisdictional grounds for relief were so lacking in merit
            that “it would be a waste of the parties’ and the courts’ time and

            4
              The Tenth Circuit stated as follows. “Defendants' opening brief can be distilled to advance
    the following eight arguments: 1) defendants committed no crimes because there is no government
    entity outside of Washington, D.C. with the lawfully delegated power to collect taxes or enforce the
    internal revenue laws; 2) the Paperwork Reduction Act precludes imposition of all penalties arising
    from their convictions; 3) the district court erred in denying their motion to suppress; 4) the district
    court erroneously instructed the jury as to the definitions of “gift” and “income”; 5) the district court
    should have allowed defendants to subpoena employees of the Justice Department and the IRS; 6)
    defendants did not waive their right to counsel voluntarily, knowingly, and intelligently; 7) the
    district court did not properly calculate their attributable tax losses under the sentencing guidelines
    or properly apply their respective sentencing enhancements; and 8) Mr. Stilley's conspiracy
    conviction cannot be classified as a felony.” Springer, 444 Fed. Appx. at 260.

                                                      -7-

                                                                                                                115
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 8 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 116 of 127




           resources to entertain these grounds further or to dignify them by
           according them further treatment.” Doc. no. 537, p. 7.


           3. They are grounds which arguably could be described as new grounds
           for relief not previously presented by Mr. Springer’s appellate counsel,
           which Mr. Springer now contends his counsel should have raised on
           appeal. Having examined each ground which arguably falls into this
           category, the court has determined that each such ground lacks merit.5
           As stated in n.5, supra, among the arguably new arguments raised by Mr.
    Springer (i.e. the third set of grounds identified above) are grounds which contend
    that after his counsel was suspended, the Tenth Circuit should have appointed new

           5
             Arguments which are arguably new include the following. Mr. Springer contends the
    crimes he was indicted for did not match the crimes on which the jury was instructed. See, e.g.,
    Grounds 33, 34, 36, 43. For example, Mr. Springer contends he was indicted in counts two, three
    and four for evading required tax filings, whereas the jury was instructed regarding evading taxes.
    These counts, however, charge that Mr. Springer willfully attempted to evade and defeat the
    individual income taxes due and owing by him. These counts further allege that Mr. Springer
    attempted to evade and defeat the taxes due not only by failing to file tax returns as required by law,
    but also by committing various other affirmative acts of evasion. Accordingly, there is no merit to
    these grounds for relief. Mr. Springer also contends that due to various improprieties he has not yet
    had a proper trial, in violation of the Speedy Trial Act. See, e.g., Grounds 64, 65. These arguments
    are also frivolous. Other arguably new but frivolous grounds for relief include contentions that
    appellate counsel failed to argue: that summary testimony by an agent regarding the amount of
    financial transactions violated Mr. Springer’s rights, see, e.g. Ground 53; that the jury instruction
    about avoiding deadlock violated Mr. Springer’s rights, see, e.g., Ground 54; that Mr. Springer was
    selectively prosecuted, see, e.g. Ground 37; that Mr. Springer’s sentence was ten times as long as
    the sentence given to Mr. McGinness of the HOW Foundation, see, e.g., Ground 55; that Mr.
    Springer’s counsel should have raised page limits arguments (rejected in this order), see, e.g.,
    Ground 49; and that Mr. Springer’s sentence violates the Oklahoma Constitution and the United
    States Constitution because Mr. Springer has been imprisoned for a debt, see, e.g., Ground 67. Mr.
    Springer also contends the Tenth Circuit should have started his appeal over after his appellate
    counsel was suspended from practicing. These “should have started over” types of arguments are
    new arguments, see grounds 59, 60 and 61, whose lack of merit is addressed next in the text of this
    order. Whether or not specifically addressed in this order, the court has considered all ineffective
    assistance grounds which could arguably be characterized as new arguments, and has concluded that
    all such arguments lack merit.

                                                     -8-

                                                                                                              116
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 9 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 117 of 127




    counsel for Mr. Springer and should have started the appellate proceedings over. See,
    e.g. Grounds 59, 60, 61.6 In its first-stage order, the court characterized these grounds
    as “ineffective assistance” grounds because, in each of them, Mr. Springer states that
    they “evolved from Appellate Counsel and Court conduct during appeal process.”
    The court also grouped these complaints with the “ineffective assistance” grounds
    because, by their nature, they obviously challenge the effectiveness of Mr. Springer’s
    representation during the appeal. Whether considered as arguments presented by Mr.
    Springer under the rubric of ineffective assistance, or whether characterized in some
    other manner, the court now finds that these grounds lack merit for the reasons stated
    below.
           Mr. Barringer was not suspended until after the briefing was complete on Mr.
    Springer’s appeal. See, n.2, supra. In its detailed order affirming the judgment and
    conviction, the Tenth Circuit stated the panel had unanimously determined that oral
    argument would not materially assist the determination of the appeals before it.
    Springer, 444 Fed. Appx. 256, 259 at unnumbered footnote. This indicates the
    panel’s conclusion that better-presented argument was not necessary for the panel to
    determine the issues. Mr. Springer has not identified any meritorious grounds which
    were not raised but which, if raised, would have led to a different result in his appeal
    if the Tenth Circuit had appointed new counsel or started his appeal over after Mr.
    Barringer was suspended.7 Mr. Springer has shown no prejudice as a result of his



           6
            Ground 60 includes an argument that Mr. Barringer had a conflict of interest with Mr.
    Springer due to Mr. Barringer’s own tax problems involving failure to file tax returns for years 2001
    and 2007. Failure to file tax returns does not create a conflict with Mr. Springer’s positions or
    defenses.
           7
            In Ground 59, Mr. Springer lists grounds which he contends should have been raised or
    more fully developed by Mr. Barringer. All of these grounds have been rejected for various reasons,
    under this order or the court’s prior order at the first stage.

                                                    -9-

                                                                                                            117
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 10 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 118 of 127




    complaints regarding the manner in which the Tenth Circuit handled his appeal after
    Mr. Barringer was suspended.
           Because all of Mr. Springer’s ineffective assistance of appellate counsel
    arguments fall into one or more of the three categories identified earlier in this order,
    it is clear that all such arguments lack merit. There can be no prejudice as a result of
    counsel’s failure to raise meritless arguments. United States v. Orange, 447 F.3d 792,
    797 (10th Cir. 2006) (“If the omitted issue is without merit, then counsel’s failure to
    raise it is not prejudicial, and thus is not ineffective assistance.”). Thus, the prejudice
    requirement of Strickland is not met. Additionally, deficient performance of counsel,
    the other requirement under Strickland, cannot be premised on counsel’s failure to
    make a patently meritless argument. All of the issues which Mr. Springer complains
    that his appellate counsel did not raise are patently meritless. Accordingly, neither
    prong of the Strickland test is met.
           The court rejects Mr. Springer’s ineffective assistance grounds as a basis for
    relief under § 2255.
                                           Ground 66
           Ground 66 argues that the cumulative effect of all of Mr. Springer’s grounds
    for relief entitles him to relief. This court has now found that none of the grounds for
    relief presented by Mr. Springer supports § 2255 relief. Mr. Springer’s grounds also
    lack merit, considered together. See, Bunton v. Atherton, 613 F.3d 973, 990 (10th Cir.
    2010) (cumulative error doctrine does not apply where court has not found the
    existence of two or more actual errors).
                                Ruling On Second Stage Issues
           All grounds for relief which survived the first stage to be considered at the
    second stage are DENIED on their merits. They are rejected on their merits as
    grounds for relief under §2255.

                                               -10-

                                                                                                  118
           Case 4:09-cr-00043-SPF Document 584 Filed 08/22/14 Page 11 of 11
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 119 of 127




             This order and the court’s first-stage order dispose of all grounds for relief
    presented by Mr. Springer in these § 2255 proceedings.
                                  Certificate of Appealability
             A movant in a § 2255 matter is entitled to a certificate of appealability only
    upon making a substantial showing of the denial of a constitutional right. 28 U.S.C.
    § 2253(c)(2). This standard is satisfied by demonstrating that the issues movant seeks
    to raise are deserving of further proceedings, debatable among jurists of reasons, or
    subject to different resolution on appeal. See, Slack v. McDaniel, 529 U.S. 473, 484
    (2000) ("[W]e give the language found in §2253(c) the meaning ascribed it in
    [Barefoot v. Estelle, 463 U.S. 880, 893 (1983)], with due note for the substitution of
    the word ‘constitutional.’”). “Where a district court has rejected the constitutional
    claims on the merits, ... [t]he petitioner must demonstrate that reasonable jurists would
    find the district court’s assessment of the constitutional claims debatable or wrong.”
    Id. When a prisoner’s habeas petition is dismissed on procedural grounds without
    reaching the merits of the prisoner’s claims, “a COA should issue when the prisoner
    shows, at least, that jurists of reason would find it debatable whether the petition
    states a valid claim of the denial of a constitutional right and that jurists of reason
    would find it debatable whether the district court was correct in its procedural ruling.”
    Id.
             Movant has not made the required showing and a certificate of appealability is
    DENIED.
             Dated this 22nd day of August, 2014.




    09-0043p129.wpd


                                              -11-

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            Case 4:09-cr-00043-SPF Document 585 Filed 08/22/14 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 120 of 127

                                                                           F I L E D
                  IN THE UNITED STATES DISTRICT COURT FOR THE Aug 22 2014
                        NORTHERN DISTRICT OF OKLAHOMA      Phil Lombar
                                                                       di,               Clerk

    UNITED STATES OF AMERICA,                  )
                                               )
             Plaintiff/Respondent,             )
                                               )
    vs.                                        )    Case Nos. 09-cr-0043-SPF and
                                               )              13-cv-0145-SPF-TLW
    LINDSEY KENT SPRINGER,                     )
                                               )
             Defendant/Movant.                 )

                                         JUDGMENT
             In accordance with the court’s first-stage order entered on March 4, 2014, at
    doc. no. 537, and the court’s second-stage order entered today at doc. no. 584, all
    grounds for relief presented by Lindsey Kent Springer in support of his motion to
    vacate, set aside, or correct his sentence under 28 U.S.C. §2255 have been rejected.
    Judgment in these proceedings is entered in favor of the Plaintiff/Respondent, the
    United States of America, and against the Defendant/Movant, Lindsey Kent Springer.
             Dated this 22nd day of August, 2014.




    09-0043p130.wpd




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            Case 4:09-cr-00043-SPF Document 587 Filed 08/26/14 Page 1 of 1
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 121 of 127




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA,                  )
                                               )
             Plaintiff/Respondent,             )
                                               )
    vs.                                        )    Case No. 09-cr-0043-SPF
                                               )
    LINDSEY KENT SPRINGER,                     )
                                               )
             Defendant/Movant.                 )

                                           ORDER
             Mr. Springer has filed a “Motion for Order Finding Charles A. O’Reilly Is Not
    Authorized and Was Never Authorized to Represent the United States of America.”
    Doc. no. 586. As Mr. Springer’s filing indicates, the court has previously found that
    Mr. Springer’s attacks on Mr. O’Reilly’s authority are frivolous. Furthermore, Mr.
    Springer’s motion for relief under 28 U.S.C. § 2255 has been ruled on and is closed.
    The motion is DENIED.
             Dated this 26th day of August, 2014.




    09-0043p131.wpd




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            Case 4:09-cr-00043-SPF Document 588 Filed 09/12/14 Page 1 of 6
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 122 of 127




                                                                                  122
            Case 4:09-cr-00043-SPF Document 588 Filed 09/12/14 Page 2 of 6
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 123 of 127




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            Case 4:09-cr-00043-SPF Document 588 Filed 09/12/14 Page 3 of 6
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 124 of 127




                                                                                  124
            Case 4:09-cr-00043-SPF Document 588 Filed 09/12/14 Page 4 of 6
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 125 of 127




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            Case 4:09-cr-00043-SPF Document 588 Filed 09/12/14 Page 5 of 6
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 126 of 127




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            Case 4:09-cr-00043-SPF Document 588 Filed 09/12/14 Page 6 of 6
Case 4:09-cr-00043-SPF Document 589-1 Filed in USDC ND/OK on 09/16/14 Page 127 of 127




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